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             IN THE UNITED STATES DISTRICT COURT
             FOR THE SOUTHERN DISTRICT OF TEXAS
                      HOUSTON DIVISION


GABRIEL PAUL HALL,                     Case No. 4:24-CV-627
   Petitioner,
  v.                                   District Judge George C. Hanks, Jr.

ERIC GUERRERO, Director,
     Texas Department of
Criminal Justice,
Correctional Institutions Division,
     Respondent.


             PETITION FOR WRIT OF HABEAS CORPUS
                  PURSUANT TO 28 U.S.C. § 2254

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                       THIS IS A CAPITAL CASE
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             PETITION FOR WRIT OF HABEAS CORPUS
                  PURSUANT TO 28 U.S.C. § 2254

     Petitioner Gabriel Paul Hall, through counsel and pursuant to all rights

available under the Constitution, laws, or treaties of the United States,

respectfully petitions this Court for a writ of habeas corpus declaring

unconstitutional and invalid his conviction for capital murder as well as the

resulting death sentence.




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                   RECORD CITATION CONVENTION 1

Record of trial proceedings, No. AP-77,062:

100 volumes of Reporter’s Record                                    ___ RR ___

28 volumes of Exhibits (101 RR–128 RR)                            ___ RR ___**

      **(page numbers reflect PDF page numbers)

13 volumes of Clerk’s Record                                       ___ CR ___

16 volumes of Amended Clerk’s Record                      ___ Amend. CR ___

1 volume First Supplemental Clerk’s Record                1 Supp. ___ CR ___

28 volumes Second Supplemental Clerk’s Record             2 Supp. ___ CR ___

      2 volumes corrected                           2 Corr. Supp. ___ CR ___

12 volumes Third Supplemental Clerk’s Record               3 Supp. ___ CR ___

1 volume Fourth Supplemental Clerk’s Record                4 Supp. ___ CR ___

1 volume Fifth Supplemental Clerk’s Record                 5 Supp. ___ CR ___




1 Portions of the record, not exemplified herein, are cited individually by

pleading.

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Supplemental Clerk’s Record dated June 29, 2023           1 Supp. SHCR ___

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Reporter’s Record, January 30, 2023 proceedings                    SHRR ___

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                       JURISDICTION AND VENUE

      This Court has jurisdiction pursuant to 28 U.S.C. §§ 1331, 2241(a), and

2254(a). Venue is proper in the United States District Court for the Southern

District of Texas under 28 U.S.C. § 2241(d) because it is the court for the

district within which Mr. Hall was convicted and sentenced.

                                  PARTIES
      Petitioner Gabriel Paul Hall is an inmate of the Texas Department of

Criminal Justice (TDCJ). Mr. Hall’s TDCJ number is 999599, and he is housed

at the Polunksy Unit in Livingston, Texas.

      Respondent Eric Guerrero is the Director of TDCJ’s Correctional

Institutions Division and an agent of the state that has custody of Mr. Hall. He

has custody pursuant to the judgment and sentence of death entered against

Mr. Hall on October 8, 2015, in Texas v. Gabriel Hall, No. 11-06185-CRF-272

(Tex. 272nd Dist. Ct.—Brazos County).

                         PROCEDURAL HISTORY
      Gabriel Hall was convicted of capital murder and sentenced to death in

the 272nd District Court of Brazos County, Texas, on October 7, 2015. 100 RR

132. At trial, Mr. Hall was represented by the Regional Public Defender Office

(RPDO). He timely filed a brief on direct appeal in the Texas Court of Criminal

Appeals (CCA), raising fifteen points of error under the United States

Constitution, Texas Constitution, and Texas Code of Criminal Procedure. See

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Brief of Appellant, Hall v. Texas, No. AP-77,062 (Tex. Crim. App. July 23, 2019).

The CCA heard oral argument on September 18, 2019, and affirmed Mr. Hall’s

conviction and death sentence on December 8, 2021. Hall v. Texas, 663 S.W.3d

15 (Tex. Crim. App. 2021).

      Mr. Hall filed an Application for Postconviction Writ of Habeas Corpus

by a Person Sentenced to Death in the convicting court on October 17, 2019. 1

SHCR 1–105. He raised seven claims for relief. Id. On December 29, 2022, the

convicting court designated Mr. Hall’s sixth ground for relief—ineffective

assistance of counsel for failing to call expert Dr. Ruben Gur, id. at 73—as

raising controverted issues of material fact and ordered that an evidentiary

hearing be held on this claim. Id. at 307. At that evidentiary hearing, Mr. Hall

called trial counsel John Wright and Jim Drummond. See id. at 471. Thereafter,

the parties each filed Proposed Findings of Fact and Conclusions of Law on

March 15, 2023. Id. at 314–89, 390–456.

      On March 16, 2023, Mr. Hall filed a Motion to Find Applicant’s Right to

Due Process in This Proceeding Was Violated Due to Article 26.052 of the

Texas Code of Criminal Procedure. Id. at 457. This motion was based on trial

counsel John Wright’s statements to the convicting court at the evidentiary

hearing that he would be seeking appointment in capital appeals and asking

the convicting court to bear him in mind for such appointments. Id. at 457–58.



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      Mr. Hall argued that trial counsel’s statements revealed interests

adverse to his client because any finding of ineffectiveness by the convicting

court in Mr. Hall’s case would prohibit his appointment to capital appeals. See

id. at 462–63. Mr. Hall also filed a motion in the CCA asking that the

convicting court be ordered to amend the Reporter’s Record from the

evidentiary hearing so that it would include Mr. Wright’s adverse statements

to the convicting court. See Ex parte Hall, No. WR-86,568-02, 2023 WL 4874423

(Tex. Crim. App. July 28, 2023).

      Following the convicting court’s refusal to rule on his Due Process Motion,

Mr. Hall sought mandamus from the CCA, and the CCA ordered the convicting

court to rule on Mr. Hall’s Motion. See Ex parte Hall, No. WR-86,568-02, 2023

WL 8798032 (Tex. Crim. App. Dec. 20, 2023). The convicting court denied Mr.

Hall’s Due Process Motion, and Mr. Hall unsuccessfully appealed that denial.

See Hall v. Texas, No. AP-77,121, 2024 WL 1295782 (Tex. Crim. App. March

27, 2024). The CCA also found that the state habeas Reporter’s Record should

not be amended. Ex parte Hall, No. WR-86,568-01, 2024 WL 467871, at *2 (Tex.

Crim. App. Feb. 7, 2024).

      The convicting court signed its Findings of Fact and Conclusions of Law

on May 18, 2023. 1 SHCR 596. The CCA adopted the convicting court’s

Findings and Conclusions with exceptions and denied relief on February 7,

2024. Ex parte Hall, 2024 WL 467871, at *3.

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       On March 21, 2024, this Court appointed the Federal Public Defender’s

Office for the Northern District of Texas (FPD) to represent Mr. Hall pursuant

to 18 U.S.C. § 3599. ECF No. 5; see also ECF No. 3. In anticipation of seeking

federal habeas corpus relief, Mr. Hall sought from this Court an order to

compel the Texas Department of Criminal Justice (TDCJ) to uncuff him during

an expert visit, in accordance with TDCJ Polunsky Unit’s unwritten policy

requiring such an order. ECF No. 11. The Respondent opposed Mr. Hall’s

motion. ECF No. 12. This Court denied Mr. Hall’s motion for uncuffing on

November 6, 2024. ECF No. 14. This Court has ordered that Mr. Hall shall

have 120 days from the date of filing this Petition to file any amended petition.

See ECF No. 16.

                          STATEMENT OF FACTS
       “Gabriel Hall killed Mr. Shaar and he badly wounded his wife, Linda

Shaar.” 44 RR 239. These are some of the first words trial counsel spoke to the

jurors who deliberated in Mr. Hall’s capital trial. The State objected; these

comments directly violated a motion in limine. Id. at 239–41. The trial court

instructed the jurors to disregard. Id. at 242. Trial counsel began seemingly

anew: “[W]hat this case is about is what should happen to Gabriel Hall.” Id. at

242.

       From inception, Mr. Hall’s case was about what should happen to Mr.

Hall—whether he would live or die. On October 20, 2011, police responded to


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a 9-1-1 call at the Shaar residence. 78 RR 117–18. Once there, they found

Edwin Shaar lying dead on his back in the garage. Id. at 123. He bore multiple

stab wounds and a gunshot wound to the forehead. Id. at 165; 79 RR 74. Linda

Shaar was in the kitchen, seated in her wheelchair. 78 RR 128. She also bore

multiple stab wounds. Id. at 128. Her throat had been slit. Id.

      High-school classmate Forrest King first identified Mr. Hall based on a

news description of the suspect as Asian or Hispanic. 78 RR 256–57. Mr. King

said that he had seen Mr. Hall heading in the direction of the Shaar residence

shortly before the homicide occurred. 4 Amend. CR 753, 758; 78 RR 212, 249–

50.

      In the early morning hours on October 21, police appeared at the Hall

residence to interview Mr. Hall. 78 RR 284. At the time, Mr. Hall was eighteen

years old and lived with his adoptive parents, Karen and Wesley (Wes) Hall,

both of whom were out of town. Id. at 280, 284; 79 RR 68. Wes Hall, a licensed

attorney and former justice of the peace, listened to his adopted son’s initial

interview with police and appeared to safeguard Mr. Hall’s rights during

questioning. See 79 RR 69.

      The following day, Wes Hall picked his adopted son up from school and

drove him to the Brazos County Sheriff’s Office to give a DNA sample and be

fingerprinted. See 79 RR 75–77, 102. As police questioning of Mr. Hall grew

accusatory, Wes Hall encouraged officers to Mirandize his son. Id. at 82. Wes

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Hall did so to ensure that his son’s confession was admissible in court. See 129

RR 178. After police Mirandized his adopted son, Wes Hall abandoned Mr. Hall

to police interrogation. 79 RR 82–83; 129 RR 78.

      Mr. Hall thereafter gave a series of detailed confessions describing how

he had killed Mr. Shaar and attempted to kill Mrs. Shaar. 79 RR 83. At the

conclusion of the initial interrogation, law enforcement placed Mr. Hall under

arrest. See 129 RR 78. Mr. Hall’s confessions ultimately led police to the attic

of another home that the Halls owned. See 79 RR 99. There, Mr. Hall had

hidden the weapons he had used in the attack. Id. at 96–97.

      The trial court appointed the Regional Public Defender Office (RPDO) to

represent Mr. Hall on November 2, 2011. 1 Amend. CR 21. At the time, RPDO

“provide[d] trial level legal representation of Texas capital defendants for

approximately 160 subscribing Texas counties.” 2 Amend. CR 292. Brazos

County was a new subscriber to RPDO when it first appointed the entity to

represent Mr. Hall. Id. at 292.

      Counsel expended significant funds representing Mr. Hall. Counsel’s

final accounting indicates counsel expended more than $700,000 in county

funds in Mr. Hall’s case. The County Auditor placed that total at more than

$800,000. Counsel’s expenditure was highly publicized. E.g., Ex. 12 at 161,

Jake Walker, Hall Trial Moving Ahead, BRYAN-COLLEGE STATION EAGLE, July

1, 2015, at A9. But this dollar amount belies the case’s lack of coherence.

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Counsel’s efforts to investigate and prepare for the punishment phase of Mr.

Hall’s capital trial were chaotic and disorganized. Counsel’s trial preparations

lacked the coherence necessary to identify or follow up on any leads or red flags

unearthed. See, e.g., Rompilla v. Beard, 545 U.S. 374, 392 (2005).

      Because Mr. Hall was adopted from the Philippines when he was eleven,

mitigation preparations would have to include investigation of his life there.

Counsel’s multiple international trips only added to the case’s price tag. See 2

Amend. CR 304–05, 421–22, 432; 6 Amend. CR 1375. Trial counsel relied on

numerous and oft-changing investigators to unpack Mr. Hall’s complex and

multi-faceted history. Nonetheless, the team lacked a qualified and

experienced mitigation specialist to identify themes and potential leads from

interactions with Mr. Hall, document review, and interviews with family and

other witnesses. See, e.g., 7 Amend. CR 1480.

      This fractious effort meant that, among other things—despite multiple

memoranda and communications suggesting Mr. Hall had a developmental

disorder such as autism spectrum disorder—trial counsel never sought to have

him evaluated for this condition. And though trial counsel retained an expert

in fetal alcohol spectrum disorder, they failed to adequately investigate

whether Mr. Hall’s mother consumed alcohol while pregnant with him. See 97

RR 110. Trial counsel similarly failed to adequately investigate Filipino culture

or otherwise ensure that their team was culturally competent to effectively

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interview Mr. Hall’s biological family. Nor did counsel investigate the cultural

displacement of coming to Texas from the Philippines after adoption by a white

family, and at a formative age. See 2 Amend. CR 422.

      As the case approached trial, lead counsel was absent and unavailable

for prolonged periods of time due to other capital proceedings and personal-

health issues. E.g., 8 Amend. CR 1681–88, 1712. Importantly, lead counsel was

the sole capitally qualified attorney on Mr. Hall’s case. Other counsel gave

little direction to the rest of the trial team.

      On top of this, RPDO limited stateside travel funding. Much of the

investigation needed in College Station and elsewhere screeched to a standstill.

As a result, counsel failed to identify, interview, or follow-up with countless

witnesses or conducted only truncated interviews on the eve of trial. As trial

unfolded, counsel expended the last of their court funding but did not request

more. This left the defense team without appropriate expert assistance to

scrutinize the State’s future-dangerousness and mental-health evidence. The

resulting punishment-phase presentation was chaotic, disorganized, and

inconsistent. Moreover, it failed to present an individualized picture of Mr.

Hall’s developmental trajectory and impairments. This picture is “a

constitutionally indispensable part of the process of inflicting the penalty of

death.” See Woodson v. North Carolina, 428 U.S. 280, 304 (1976).



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      The State piled onto a largely unrebutted case for guilt and case future

dangerousness. As the case approached trial, inmates incarcerated with Mr.

Hall came out of the woodwork to relay statements he had supposedly made in

custody. E.g., 7 Amend. CR 1634–37, 1666–67; 11 Amend. CR 2499-500; 3 Supp.

6 CR 1050-51. In all, the State trotted out a line of jailhouse witnesses to urge

the to jury find that Mr. Hall was a future danger. 82 RR 235–51; 85 RR 7–24,

46–68; 99 RR 20–33. The State argued that each of these uncorroborated

informant statements supported their case for death. 100 RR 34–36, 112-15.

      Most glaringly, the State opened wide the doors of the Brazos County

Jail to insult comedian Jeff Ross and his video-camera-laden crew. See 65 RR

56–57, 78–79, 95. Though the jail had originally admitted Mr. Ross to film a

series of stand-up comedy shows and planned interviews, id. at 38, 53, it

altered this scheme at the last moment, id. at 57–59, 61–62. Without warning,

the jail granted Mr. Ross and his crew near-unfettered access to its dormitories

and the inmates living there. Id.

      As part of its standard practice, RPDO had informed the jail that it was

to have no contact with Mr. Hall. 65 RR 65–66. Jail staff nonetheless escorted

Mr. Ross and the ensuing cameras to Mr. Hall’s dormitory. Id. at 41, 78, 98;

89 RR 40. Staff stood watching as Mr. Ross approached Mr. Hall and

interviewed him on camera. Id. at 84, 87–91. Only then did the jail warden

decry that Mr. Hall was off limits. Id. In the same breath, the warden asked

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Comedy Central for the interview tape. Id. at 46–47. The warden then

informed the State, guaranteeing them access to the footage in support of their

case. Id. at 46–48, 67. The State played this interview footage at trial and relied

on it when arguing that Mr. Hall was a future danger and should be sentenced

to death. E.g., 100 RR 44, 125.

      The crimes charged in Mr. Hall’s case are plainly horrific. When one

looks only at the price tag of Mr. Hall’s capital trial, counsel’s failures are

similarly inexplicable. But the sticker price hides the chaos and incompetence

underneath, along with the countless ways in which trial counsel failed to

conduct even the most cursory investigation. The State recognized the lack of

an adversary in Mr. Hall’s corner and assured a death sentence by building a

future-dangerousness case at the expense of Mr. Hall’s constitutional rights.

Accordingly, Mr. Hall respectfully requests this Court grant the following

petition for writ of habeas corpus and order a new trial.

                            CLAIMS FOR RELIEF

Claim One: The trial court allowed the jury to hear statements from
Mr. Hall that the State obtained in violation of the Sixth Amendment.
      Mr. Hall’s Sixth Amendment right to counsel had attached by the time

that Jeff Ross entered the Brazos County Jail to film a comedy special. Once

this right had attached, the State was barred from knowingly circumventing

it. The State nonetheless did exactly that when—without notifying counsel—


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it invited a celebrity insult comic in to film a special in which its inmates—

including Mr. Hall—were the butt of the joke. In doing so, the State violated

Mr. Hall’s Sixth Amendment right to counsel.

      This claim was raised as Claim One on direct appeal. This claim was

adjudicated on the merits by the CCA, Hall v. Texas, 663 S.W.3d 15, 30 (Tex.

Crim. App. 2021), but this Court can review it de novo because Mr. Hall can

meet 28 U.S.C. § 2254(d).

        A. Statement of Facts

             1. Defense counsel sent Brazos County Jail a no-contact
                letter.

      Shortly after being appointed to Mr. Hall’s case, the Regional Public

Defender Office (RPDO) sent a letter to the Brazos County Jail (the jail)

requesting that law enforcement “make no further contact via phone, writing,

or in person with Gabriel Hall, without the express written approval of my

office.” 114 RR 143–44. The letter stated that “all future communication with

Gabriel Hall must first be approved by my office.” Id.

             2. The jail allowed Jeff Ross to film a stand-up Comedy
                Central special inside the facility.

      In the year before Mr. Hall’s trial, Warden Wayne Dicky responded to a

query that Comedy Central producers were looking for a jail to host a comedy

special for Jeff Ross. 65 RR 36–37, 40. Jeff Ross is a celebrity insult comic. Seth

Abramovitch, Comedian Jeff Ross Goes Inside Texas Prison for Most


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“Dangerous” Roast Yet, THE HOLLYWOOD REPORTER (May 30, 2015),

https://www.hollywoodreporter.com/news/comedian-jeff-ross-goes-inside-

798750. Mr. Ross is known for his “roasts,” which are a brand of humor in

which a group of people gather to make embarrassing and unflattering jokes

about a specific person in front of an audience. See id.; Jessica Contrera,

“Where My Murderers at?": How Jeff Ross and Comedy Central Tried to Make

Incarceration    Funny,      WASHINGTON       POST      (Jun.     14,     2015),

https://www.washingtonpost.com/news/arts-and-entertainment/wp/2015/06/

14/where-my-murderers-at-how-jeff-ross-and-comedy-central-tried-to-make-

incarceration-funny/?utm_term= .31a3460fb225.

      Warden Dicky felt that hosting this show at the jail would incentivize

good inmate behavior. 65 RR 37. The Brazos County Sheriff agreed with

Warden Dicky’s decision to invite Comedy Central and Jeff Ross to the jail. Id.

at 39–40.

      The show’s producers toured the jail before agreeing to film the special

there. Id. at 37. Warden Dicky and Bill Ballard of the Brazos County Attorney’s

Office reviewed the contract between the jail and the production company

Viacom and finalized it on February 16, 2015. Id. at 41–42; 10 Amend. CR

2343–50. The contract required Viacom to compensate the jail for any

“reasonable, actual, direct, verifiable overtime pay” issued as part of the

filming process, but the jail otherwise received no compensation. 65 RR 42; 10

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Amend. CR 2344. No one raised concerns regarding inmate access to counsel

or possible self-incrimination. 65 RR 42. At no point did Warden Dicky, the

Sheriff, or anyone in their agency consider the implications for inmates’ right

to counsel. Id. at 43.

             3. The jail informed inmates of the stand-up Comedy
                Central special.

      Originally, the jail intended for inmates to attend the show only if both

they affirmatively requested to and the jail approved. 65 RR 38. Inmates were

informed of the show via dorm officers and posters stating that Mr. Ross

planned to roast inmates for the show. Id. at 38, 52. The dorm posters

additionally stated that “if you are willing to let me interview you on camera,

please sign up.” 114 RR 142. But although Mr. Ross expected at least 150

inmates to attend per show, only half that number were interested in attending.

65 RR 102–03. Inmates declined to attend out of concern that Mr. Ross was

“going to portray me as a horrible person that I’m not.” Id. at 103.

      This low interest spurred Mr. Ross to ask if he could tour the dorms to

gin up interest for the special. Id. at 102–03. He wanted to explain to the

inmates that “he just wanted to make them laugh, try to inspire them, stuff

like that.” Id. The jail approved this new filming plan. See id. at 105. But to

Warden Dicky’s knowledge, no one warned the inmates that statements made

during filming could be used against them. Id. at 43.


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             4. Mr. Ross and his Comedy Central crew entered the jail
                dorms and filmed an interview with Mr. Hall.

      The stand-up performance took place on February 28, 2015. 65 RR 95.

Over the two preceding days, Mr. Ross went into various jail dorms 2 and filmed

conversations with inmates there. Id. at 62, 95, 102. One of those conversations

was with Mr. Hall. Id. at 64.

      The footage shows that Mr. Ross enters the 64-man dorm and

immediately walks to Mr. Hall’s table and sits down to Mr. Hall’s left. 125 RR

10 at 0:07. The camera is positioned to Mr. Ross’s left so that it centers on

Mr. Hall’s face and captures Mr. Ross in profile. Id. Early in the conversation,

one of the other men at the table identifies himself as a Dirty White Boy. Id.

at 1:03–1:18. The Dirty White Boys are a known white supremacist gang. See

101 RR 83 (identifying the Dirty White Boys as Aryan Brotherhood affiliates

and airing interviews with Nazi inmates at the jail).

      Although the other men at the table talk to Mr. Ross for most of the video,

Mr. Ross repeatedly directs questions to Mr. Hall. Those questions include

several categories of information relevant to the claims raised here:




2 A jail dorm is also referred to as a pod.


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 1) Discussion of Mr. Hall’s Case, Including the Death Penalty:

       • Mr. Ross asks Mr. Hall if he is on trial. 125 RR 0:31. Mr. Hall

          replies that “legally, I can’t discuss about the case,” but Mr. Ross

          presses that Mr. Hall “must’ve done something crazy.” Id. at 0:34-

          0:44. Mr. Hall agrees that the allegations against him are serious.

          Id. at 0:46. The camera then zooms in on Mr. Hall, and Mr. Ross

          confronts him, asking, “Do you ever laugh?” Id. at 2:05. Mr. Hall

          demurs, stating, “On special occasions.” Id. at 2:10.

       • Mr. Ross asks if Mr. Hall was “in here for . . . hacking somebody

          else’s computer?” Id. at 15:26–15:34. The other inmates laugh; one

          states, “Hacking being the operative word!” Id. Mr. Hall attempts

          to play along, stating, “yeah, I used a machete on someone’s screen.”

          Id. at 15:37.

       • Mr. Ross brings up the death penalty. Id. at 5:08. Mr. Hall

          responds that, “They’ll hang you . . . well, they’ll basically screw

          you over, over the most petty shit.” Id. at 5:27–5:35.

       • Mr. Ross brings up the death penalty a second time, offering

          creative ways in which people might be executed. Id. at 8:32–9:49.

       • Mr. Ross expressly asks Mr. Hall, “what are you in here for?” Id.

          at 15:34.



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  2) Evidence Suggesting Mr. Hall is a Future Danger:

        •   Mr. Ross states that Mr. Hall “seems like a fucking scary dude, I

            don’t know what it is.” Id. at 15:44. Mr. Hall responds that he

            “wouldn’t hurt a fly,” but jokes that “humans are annoying” and

            should be left “to their own devices.” Id. at 15:49–16:01.

        • Mr. Ross asks Mr. Hall if he has any advice for his show. Mr. Hall

            replies, “Don’t get caught—don’t get in trouble, I mean.” Id. at

            6:41–6:46. Confused, Mr. Ross attempts to correct Mr. Hall, stating,

            “No, I mean for my show.” Id. at 6:46. Hall laughs. Id.

        • Mr. Ross hopes aloud that the other inmates have a better sense

            of humor than Mr. Hall, who hasn’t laughed “since fucking God

            knows when.” Id. at 6:53. Mr. Hall jokes that he was born frowning.

            Id. at 6:57. Mr. Ross states that Mr. Hall “seems very fucking zen

            right now.” Id. at 7:05.

  3) Racial Jokes and Stereotypes about Asians: 3

        • When Mr. Hall states that he laughs “on special occasions,” the

            professed Dirty White Boy repeats “oh-kasian,” dragging out the



3 Historically, Filipinos have not always considered themselves Asian. Due to

significant ethnic and colonial differences, many identify instead as Pacific
Islander or even Hispanic. This pleading refers to Mr. Hall as Asian in this
instance because the racial jokes directed at him stem from an assumption that
he is Asian.

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             ending of the word. “Asian,” he then says again. The camera pans

             to this inmate, who gives Mr. Ross a knowing look. Id. at 2:10–2:27.

           • One inmate suggests that Mr. Hall share one of his own jokes with

             Mr. Ross. Mr. Hall then tells a series of pejorative jokes about

             Asians. Id. at 7:37–8:14.

           • The Dirty White Boy asks Mr. Ross what he would do “if you was

             in the woods and you saw an Asian dude wearing a black cowboy

             hat?” Id. at 16:02–17:14. The inmates urge Mr. Hall to recount how

             he would dress as a cowboy on Fridays to scandalize his high-

             school classmates, who thought it was “just wrong” for an Asian to

             dress as a cowboy. Id. Mr. Hall then refers to himself as a

             “yellowneck.” Id.

           • “This guy, Slim Sushi over here?” asks Mr. Ross. The men

             surrounding Mr. Hall burst out laughing. “Yeah, Slim Sushi!” says

             one. “Good one!” says another. “That’s excellent.” Id. at 16:07–

             16:17.

Mr. Ross excuses himself from the group after 17 minutes and 50 seconds of

filming.

              5. Jail staff watched Mr. Ross interview Mr. Hall.

      Quartermaster Courtney Waller was responsible for escorting Mr. Ross

and his team throughout the jail. 65 RR 95. She informed Warden Dicky of

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Mr. Ross’s filmed interview with Mr. Hall minutes after the conversation

occurred. Id. at 46. She allegedly did so out of concern that Mr. Hall’s trial had

“already gotten enough publicity, and it’s been pushed back so many times.”

Id. at 84. Although Quartermaster Waller had seen Mr. Ross approach Mr.

Hall in the dorm, she did not stop the conversation or filming because it “was

not my job description.” Id. at 87.

      This news of Mr. Hall’s interview made Warden Dicky uncomfortable. Id.

at 46. He immediately contacted the film crew and told them that they needed

to provide him with the raw footage of the interview with Mr. Hall. Id. at 46–

47. He did not notify Mr. Hall’s counsel that the filmed interview had occurred.

Id. at 50–51.

                6. Mr. Hall was the only capital defendant barred from
                   attending the comedy show.

      Neither Mr. Hall nor multiple other inmates had signed releases before

speaking with Mr. Ross. Quartermaster Waller therefore worked with dorm

officer Sergeant Preston to make sure releases were signed for all dorm

inmates. 65 RR 81; 101 RR 87–89. Mr. Hall and the other inmates were told

that they could not attend Mr. Ross’s comedy special unless they signed a

release. 65 RR 38–39. In relevant part, the release advised the inmates that

the film crew might collect information of a “personal, private, disparaging,

embarrassing, and/or unfavorable nature.” 101 RR 87–89.


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      Warden Dicky barred Mr. Hall from attending the comedy show, even

though he had signed the release. 65 RR 44. Warden Dicky did not think it was

in anyone’s best interest for Mr. Hall to attend the show because Mr. Hall had

“a high-profile case.” Id.

      Warden     Dicky       nevertheless    allowed   Christian    Olsen,   another

presumably “high-profile” jail inmate facing capital murder charges, to attend

the special. Id. at 54. Warden Dicky did not remove Mr. Olsen because he

“wanted to make available as many people as possible.” Id.

             7. The State obtained Mr. Ross’s interview footage.

      Viacom refused to provide Warden Dicky with a copy of Mr. Hall’s

interview footage without a subpoena. 65 RR 47. Warden Dicky forwarded that

notice to the District Attorney’s Office because he “felt like it was something

they needed to be aware of.” Id. at 47–48. Warden Dicky did not inform

Mr. Hall’s counsel of the filmed interview, and they did not receive an

opportunity to move to quash the subpoena. 71 RR 235.

      Warden Dicky stated that, when he notified the District Attorney’s Office

of the footage, he did not consider whether they might use the footage against

Mr. Hall at trial. 65 RR 48–49. Warden Dicky conceded, however, that he was

used to providing the District Attorney with material from inmate phone calls

and letters. Id. Warden Dicky did not inform Mr. Hall’s counsel that the State

had obtained footage of the interview. Id. at 50–51.

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            8. The taped special showed Mr. Ross discussing the death
               penalty and information about violent offenders with
               Warden Dicky and Quartermaster Waller, respectively.

      The final cut of the Comedy Central special aired on June 13, 2015. It

included several clips in which Mr. Ross interviewed Warden Dicky and

Quartermaster Waller. Warden Dicky told Mr. Ross that “there are people in

here who could be subject to the death penalty.” 101 RR 83 at 26:08–26:21.

Quartermaster Waller told Mr. Ross that dorm 3A “is maximum security

inmates” who were incarcerated for “assault with deadly weapons, murder.” Id.

at 5:00–5:38.

            9. The State presented           the   tape    to    show    future
               dangerousness.

      The defense moved to suppress the Comedy Central tape on August 10,

2015, 10 Amend. CR 2331–56, and the trial court held a hearing on the motion,

see 65 RR 1. Both Warden Dicky and Quartermaster Waller testified at the

suppression hearing. Id. at 36, 77. They testified that, to their knowledge, no

one informed Mr. Ross about the charges against Mr. Hall before his interview.

Id. at 40, 97–98. Warden Dicky stated that he never asked Mr. Ross or another

Comedy Central representative to target any particular inmate. Id. at 57–58.

He and Quartermaster Waller similarly stated that they never asked Mr. Ross

or other Comedy Central representatives to gather incriminating evidence. Id.




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at 61, 97. Warden Dicky also stated that he did only as the producers and crew

members requested. Id. at 40.

       The court denied the motion to suppress on August 26, 2015. In doing so,

the court noted that Mr. Ross’s conduct and that of the other filmed inmates

was “pretty detestable.” 71 RR 254–55. It had “a little problem with” the jury

hearing Mr. Ross’s opinion of Mr. Hall, or the aggravating jokes that other

inmates made about him. Id. at 262–63. It expressed concern “that some of

what they did is going to rub off on [Mr. Hall],” id. at 255, and that the video

“gets a thought into a jury’s mind [sic] that is coming from Jeff Ross,” id. at

261.

       The court asked that the State cut down the video to remove the most

problematic parts, but otherwise denied the defense’s motion to suppress. Id.

at 263–64. The State offered the video during the punishment phase of trial.

89 RR 45. At closing arguments, the State repeatedly cited to Mr. Hall’s

comments in the video to show future dangerousness. 100 RR 44, 125–26.

        B. Legal Standard

       The Sixth Amendment guarantees that a defendant “need not stand

alone against the State at any stage of the prosecution, formal or informal, in

court or out, where counsel’s absence might derogate from the accused’s right

to a fair trial.” Estelle v. Smith, 451 U.S. 454, 470 (1981) (quoting United States

v. Wade, 388 U.S. 218, 226–27 (1967)) (internal quotation marks omitted). A

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“critical stage[]” of prosecution is any confrontation in which a defendant’s

rights may be inherently and substantially prejudiced, and where counsel

could help prevent that prejudice. Wade, 388 U.S. at 227. The potential for

substantial prejudice arises when suggestive influences are inherent to the

context of the confrontation. Id.

      This stands in contrast to non-critical stages like the collection or

analysis of the defendant’s fingerprints, blood, clothing, or hair. Id. These

stages are non-critical because variations in techniques for carrying out those

analyses are “few enough[] that the accused has the opportunity for a

meaningful confrontation of the Government’s case at trial” through cross-

examination and rebuttal evidence. Id. at 227–28. Put differently, non-critical

stages are distinct because there is “a minimal risk that his counsel’s absence

might derogate from his right to a fair trial.” Id. at 228.

      Once the right to counsel has attached, the Sixth Amendment compels

the State to respect and preserve a defendant’s choice to seek assistance. Maine

v. Moulton, 474 U.S. 159, 171 (1985). The State may not circumvent a

defendant’s choice to seek assistance of counsel. Id. at 176. When the State

exploits an opportunity to confront a defendant in the absence of counsel, it

breaches its Sixth Amendment obligations just as if it had intentionally created

that opportunity. Id. A defendant will seldom have direct proof that the State

knowingly circumvented the right to counsel. Id. at 176 n.12 (quoting United

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States v. Henry, 447 U.S. 264, 271 (1980)). It is therefore enough for a petitioner

to show that “the State ‘must have known’ that its agent was likely to obtain

incriminating statements from the accused in the absence of counsel.” Id.

(citation omitted).

      The State’s “affirmative obligation not to act in a manner that

circumvents” Sixth Amendment protections gives rise to certain notice

requirements. Moulton, 474 U.S. at 176. Specifically, the State cannot admit

at trial the results of a confrontation with the accused unless the defendant

and his counsel received prior notice of the nature and scope of the

confrontation. See Estelle, 451 U.S. at 470–71; Wade, 388 U.S. at 237. The

State’s notice must be actual, not constructive. See Satterwhite v. Texas, 486

U.S. 249, 255 (1988). And the timing and substance of the notice must be

sufficient to allow defense counsel the opportunity to consult with the

defendant about the uses to which the confrontation could be put. Id.; Crawford

v. Epps, 531 Fed. App’x. 511, 517 (5th Cir. 2013); see also Gholson v. Estelle,

675 F.2d 734, 743 (5th Cir. 1982).

      Actions can be attributed to the State even if the person eliciting the

incriminating statements is not a state agent at the time that they confront

the defendant. At the time of the confrontation, it does not matter whether the

defendant is questioned by a police officer or by a neutral party facilitated by

the State. Estelle, 451 U.S. at 467. But once a party goes beyond its originally

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stated purpose and contributes to the case against the accused, the party’s role

changes and becomes “essentially like that of an agent of the State recounting

unwarned statements made in a postarrest custodial setting.” Id.

      Of course, a defendant may waive his right to consult with counsel.

Faretta v. California, 422 U.S. 806, 835 (1975). But that waiver must be

knowing and intelligent. Id. The defendant “should be made aware of the

dangers and disadvantages of self-representation, so that the record will

establish that ‘he knows what he is doing and his choice is made with eyes

open.’” Id. (quoting Adams v. United States ex rel. McCann, 317 U.S. 269, 279

(1942)).

      The sufficiency of a waiver is evaluated pragmatically by asking “what

purposes a lawyer can serve at the particular stage of the proceedings in

question, and what assistance he could provide to an accused at that stage.”

Iowa v. Tovar, 541 U.S. 77, 90 (2004) (quoting Patterson v. Ill., 487 U.S. 285,

298 (1998)). The kind of admonishment required therefore depends on the

totality of the circumstances. Id. at 88. A court must consider a defendant’s

education, sophistication, the complexity of the charge, and the stage of the

proceeding when evaluating the sufficiency of a waiver admonishment. Tovar,

541 U.S. at 88. This allows a court “to determine the scope of the Sixth

Amendment right to counsel, and the type of warnings and procedures that



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should be required before a waiver of that right will be recognized.” Id. at 90

(quoting Patterson, 487 U.S. at 298).

      A Texas court can only sentence a person to death if a jury finds beyond

a reasonable doubt that the defendant would probably “commit criminal acts

of violence that would constitute a continuing threat to society.” Tex. Code

Crim. Proc. art. 37.071 § 2(b)(1). The State may present “any evidence that the

court deems relevant” to sentencing, insofar as that evidence does not violate

the federal constitution. Tex. Code Crim. Proc. art. 37.071 § 2(a)(1).

      A federal habeas petitioner must show that the trial error resulted in

actual prejudice in order to be entitled to habeas relief. Brecht v. Abrahamson,

507 U.S. 619, 637 (1993). The test is “whether the error ‘had substantial and

injurious effect or influence in determining the jury's verdict.’” Id. (quoting

Kotteakos v. United States, 328 U.S. 750, 776 (1946)).

       C. Argument

      The State violated Mr. Hall’s Sixth Amendment right to counsel. It did

so when it allowed Mr. Ross to interview Mr. Hall without warning him or his

counsel, or otherwise permitting them to consult before Mr. Ross entered the

jail. The State cemented that this confrontation was a critical stage of the

proceedings when the State sought possession of the interview footage between

Mr. Ross and Mr. Hall. Because Mr. Hall did not waive his Sixth Amendment



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rights, the footage was admitted in violation of his Sixth Amendment right to

counsel.

            1. Mr. Ross’s interview of Mr. Hall was a confrontation
               within the meaning of the Sixth Amendment.

      Mr. Ross and his film crew confronted Mr. Hall when they sat at his table

with cameras rolling. Although Mr. Hall told Mr. Ross that he did not wish to

discuss his case, 125 RR 10 at 0:34, Mr. Ross persisted in asking him questions

about the death penalty and the seriousness of the offense with which Mr. Hall

was charged, id. at 0:07–0:46, 5:08, 15:26–16:01. This confrontation violated

Mr. Hall’s Sixth Amendment rights. Because the poster was the only

information that inmates had before filming, neither Mr. Hall nor his counsel

knew that Mr. Ross planned to enter the jail dorms. 65 RR 51; see also 114 RR

142. This precluded Mr. Hall and his counsel from consulting about the

interview. The effect was that Mr. Hall’s counsel did not have the opportunity

to prevent the resulting harm.

      Indeed, it is hard to imagine how any conversation could be more

suggestively influenced than the one that took place between Mr. Ross and

Mr. Hall. The quartermaster escorted Mr. Ross into the dorm with a camera

crew of nine other people. 65 RR 78. Once in the dorm, Mr. Ross gravitated

toward Mr. Hall. Mr. Hall was a very slight Filipino youth in a dorm of older,

larger men—many of whom were open white supremacists. 125 RR 10 at 1:03–

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1:18; 101 RR 83. And critically, Mr. Ross’s claim to comedic fame was his ability

to insult or mock virtually anything. It is not surprising, then, that Mr. Hall

submitted to self-deprecating humor in Mr. Ross’s presence. Suggestive

influences were therefore inherent to the context of Mr. Ross’s confrontation of

Mr. Hall.

      Mr. Ross’s confrontation of Mr. Hall stands in stark contrast to non-

critical stages like fingerprint analysis or blood collection. This is because,

unlike fingerprints or blood, the permutations under which celebrities can be

brought into a jail to elicit inculpatory evidence are not “few enough.” See Wade,

388 U.S. at 227–28. There are an infinite number of ways in which a jail could

bring in celebrity performers to film defendants as “incentives for positive

behavior” that would similarly implicate a defendant’s rights. 65 RR 37. For

example, the jail could bring in Pastor Joel Osteen so that jailed defendants

could confess their sins; or documentarian Michael Moore to accuse them; or

any number of other political commentators or reality stars could film their

own specials.

      If Mr. Ross’s filmed and unnoticed conversation with Mr. Hall was

acceptable, these examples must be acceptable as well. Mr. Ross’s entry into

the dorms therefore presented a substantial and predictable risk that

Mr. Hall’s inability to consult with counsel might derogate from his right to a

fair trial. Although a defendant is responsible for what he communicates when

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he reaches out to the free world, it goes too far to say that the State may bring

a flame into a cage of moths and then blame them for burning.

               2. The State failed to provide Mr. Hall adequate notice of
                  the pending confrontation.

         At the time Mr. Ross entered the jail, Mr. Hall had already been indicted

and was months away from trial; his Sixth Amendment right to counsel had

attached long ago. This meant that the State was compelled to preserve

Mr. Hall’s ability to avail himself of his Sixth Amendment right to the

assistance of counsel. Once the State decided to facilitate Mr. Ross’s off-the-

cuff interviews with the men in the jail, it was required to provide both

Mr. Hall and his counsel with prior notice of the nature and scope of Mr. Ross’s

presence. It did not do so, and Mr. Hall did not have an opportunity to consult

with counsel about how his taped interview with Mr. Ross could be used at

trial.

         This was not a situation in which the State obtained Mr. Hall’s filmed

statements by luck or happenstance. Mr. Ross and his film crew appeared

because jail officials brought them there. In doing so, the State intentionally

created a situation that was likely to induce incriminating information in the

absence of counsel. This violates the Sixth Amendment.

         The posters announcing Mr. Ross’s comedy show as well as his desire to

“interview” inmates at the jail did not provide Mr. Hall and his counsel with


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adequate notice. The law does not construe notice simply because Mr. Hall’s

counsel could have theoretically walked past one of these flyers during a visit

in the jail. Cf. 71 RR 252; see Satterwhite, 486 U.S. at 255.

      Moreover, the posters informed readers that Mr. Ross would only

interview those who signed up. 114 RR 142. This announcement did not

provide Mr. Hall with notice that Mr. Ross might enter his dorm with cameras

rolling and attempt to interview him. By failing to provide Mr. Hall or his

counsel with advance notice of Mr. Ross’s filming in the dorm, the State acted

in a manner that circumvented Mr. Hall’s Sixth Amendment protections.

             3. Mr. Ross was a government agent.

      The State knowingly exploited the opportunity to film Mr. Hall’s

misguided attempts at humor and thus obtained evidence in support of its

future dangerousness presentation. As the Supreme Court anticipated,

Mr. Hall has struggled to obtain direct proof that the State that knew Mr. Ross

would likely obtain incriminating statements in the absence of counsel. See

Moulton, 474 U.S. at 176 n.12. Yet, sufficient evidence shows that the State

must have or should have known that Mr. Ross would do so:

      • the jail requested a copy of the footage as soon as Mr. Ross finished

          filming the conversation, 65 RR 46;

      • after the conversation was filmed, the jail obtained Mr. Hall’s

          signature on a release as a condition of attending the comedy show,

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         yet the jail 1) knew Mr. Hall would be barred from attending the

         comedy show, id. at 44, 81, and 2) immediately admonished the film

         crew to refrain from airing the footage, thus obviating any need for a

         release, id. at 59; and

      • the jail regularly forwards materials about inmates to the District

         Attorney’s office if it feels it may assist the prosecution of a case, id.

         at 48–49.

      A person can be a state agent without being a paid government

informant. See Estelle, 451 U.S. at 467. Nor need there be an explicit

agreement between the State and the third party for the latter to be deemed a

state agent. Mr. Ross and his film crew were neutral parties at the time the

jail guided them into Mr. Hall’s dorm. But the group’s role changed and became

“essentially like that of an agent of the State” when Mr. Ross went beyond his

originally stated purpose of creating comedy. See id. This moment is apparent

from the footage. There, Mr. Ross:

      • repeatedly asks about his charges after Mr. Hall states that he does

         not want to discuss his case, 125 RR 10 at 0:44, 15:26;

      • asks Mr. Hall about the death penalty twice, id. at 5:08, 8:32–9:49;

      • expresses discomfort with Mr. Hall’s demeanor at least five times,

         noting that Hall “seems like a fucking scary dude,” id. at 2:05, 3:34,

         6:53, 15:06, 15:44.

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Because the film crew was taping the entire conversation, no one needed to

testify for the prosecution as to future dangerousness. The tape was admitted

instead, accomplishing the same purpose at trial. See 89 RR 45; 125 RR 10.

             4. Mr. Hall never waived his Sixth Amendment right to
                consult with counsel.

      Mr. Hall was not made aware of the scope of the dangers or

disadvantages before speaking with Mr. Ross. Mr. Hall attempted to protect

his case from the very beginning, when he told Mr. Ross that he couldn’t talk

about his case. 125 RR 10 at 0:44. Neither the release nor anything else

indicated that, by talking to Mr. Ross, Mr. Hall could undermine his case even

without talking about charges. See 101 RR 87–89. Moreover, Mr. Hall had not

seen the release until after he was interviewed by Mr. Ross. He therefore could

not have decided to talk to Mr. Ross “with eyes wide open.” Faretta, 422 U.S.

at 835 (quoting Adams, 317 U.S. at 279).

      As noted supra, if Mr. Hall had been able to consult with his defense

counsel prior to the encounter with Mr. Ross, counsel could have warned

Mr. Hall not to speak to Mr. Ross at all. And, if either counsel or Mr. Hall had

been warned, counsel also could have admonished Mr. Hall that anything he

said to Mr. Ross could likely be used against him at the punishment phase.

      On the totality of the circumstances, the State cannot show that Mr. Hall

or his counsel ever received sufficient notice of Mr. Ross’s dorm interviews.


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Mr. Hall had only recently obtained his GED at time that Mr. Ross entered the

jail dorm. Mr. Hall’s likely developmental disorder or other neurodivergence

means that, despite using sophisticated speech, Mr. Hall has a significantly

sub-average understanding of social dangers. Even when the defendant is

neurotypical, a significant role for capital-defense counsel is to advise the

defendant on the breadth of material that the State may use to show future

dangerousness. At minimum, the State was required to provide Mr. Hall with

an explicit warning against speaking to Mr. Ross. See Tovar, 541 U.S. at 89.

              5. Admitting the video at punishment was harmful.

      To sentence Mr. Hall to death, the jury had to conclude that Mr. Hall

would probably commit criminal acts of violence that would constitute a

continuing threat to society. Tex. Code Crim. Proc. art. 37.071 § 2(b)(1). But

the court erred in allowing the jury to hear Mr. Ross’s recorded interview of

Mr. Hall. This is because the State violated Mr. Hall’s Sixth Amendment right

to counsel.

      The trial court’s erroneous admission of the Comedy Central footage

prejudiced Mr. Hall. That is because the Comedy Central footage had a

substantial and injurious effect or influence on the jury’s decision that Mr. Hall

was a probable future danger and that such probability outweighed the

mitigation presentation such that Mr. Hall should be sentenced to death.



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Brecht, 507 U.S. at 637. Mr. Hall is therefore entitled to a new punishment-

phase proceeding.

        D. This Court can review the merits of this claim de novo.

      Mr. Hall raised this claim as Claim One on direct appeal. Brief of

Appellant at 29–64, Hall v. Texas, No. AP-77,062 (Tex. Crim. App. July 23,

2019). Although this claim was adjudicated on the merits, Mr. Hall can meet

both § 2254(d)(1) and § 2254(d)(2). He can meet § 2254(d)(1) because the state

court adjudication resulted in a decision that was contrary to, or involved an

unreasonable application of, clearly established federal law. Moulton, 474 U.S.

159; Estelle, 451 U.S. 454; Henry, 447 U.S. 264; Wade, 388 U.S. 218; Massiah,

377 U.S. 201. He can also meet § 2254(d)(2) because the state court’s decision

is based on an unreasonable determination of the facts based on the record

before it.


Claim Two: Mr. Hall’s death sentence violates the Fourteenth
Amendment’s Due Process Clause because the State premised the
Comedy Central tape’s admissibility on false testimony from jail
employees.

      Jail officials testified falsely about the role they played in ensuring that

Mr. Ross interviewed Mr. Hall. They also testified falsely as to Mr. Hall’s

advance notice that the interview would occur. This false testimony violated

the Fourteenth Amendment’s Due Process Clause.



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      Mr. Hall raised this as Claim One on state habeas. SHCR 38–59. The

CCA dismissed this claim as procedurally barred, stating that it should have

been raised on direct appeal. Ex Parte Hall, WR-86,568-01, 2024 WL 467871,

*2 (Tex. Crim. App. Feb. 7, 2024); see also SHCR 144–47. This bar is neither

adequate nor independent in that it is neither “firmly established [nor]

regularly followed.” Lee v. Kemna, 534 U.S. 362, 376, 385 (2002). Moreover,

Mr. Hall effectively complied with established Texas procedural rules. In the

alternative, Mr. Hall can show cause and prejudice to excuse any procedural

default. See Coleman v. Thompson, 501 U.S. 722, 750 (1991).

       A. Statement of Facts

      The facts of Claim One, supra, are incorporated here by express

reference and applied to this claim. Additional relevant facts are reproduced

below. Notably, Mr. Hall has never received copies of the rest of Comedy

Central’s raw footage in the jail, which may include additional evidence of false

testimony besides that pleaded here.

               1. Warden Dicky and Quartermaster Waller falsely
                  testified that no one influenced the Comedy Central
                  crew to talk to Mr. Hall.

      At the suppression hearing, Warden Dicky testified that, to his

knowledge, Mr. Ross was not informed about the charges against Mr. Hall

before he filmed the special. 65 RR 40. But in his aired comedy special

interview footage with Mr. Ross, Warden Dicky discussed the use of capital

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punishment in Texas. 101 RR 83. He also stated that some of the jail inmates

are facing the death penalty. Id.

      Quartermaster Waller testified that nobody asked her to direct Mr. Ross

to ask inmates incriminating questions while in the jail. 65 RR 97. She added

that she never discussed Mr. Hall with Mr. Ross. Id. To her knowledge, neither

Mr. Ross nor anyone else at Comedy Central “even knew who Gabriel Hall was.”

Id. at 98. But in her aired interview footage with Mr. Ross for the comedy

special, Quartermaster Waller told him about the various units and the types

of inmates they contained. 101 RR 83.

               2. Warden Dicky and Quartermaster Waller falsely
                  characterized that, outside of safety escorts, they
                  acted as neutral observers during the Comedy
                  Central filming.

      When asked if he conferred “in detail about the content of the program

and the format of the program with Mr. Ross or any other crew member,”

Warden Dicky stated that “we were doing what they asked us to do.” 65 RR 40.

He added that, once the crew arrived, Warden Dicky “didn’t have any

particular agenda” and listened to the crew’s conversations with inmates

“[j]ust to see how things were going.” Id. at 41.

      When asked whether he was personally present during filming, Warden

Dickey only described “walk[ing] down into the special housing unit when they

were shooting a piece of footage.” Id. at 40. He detailed that he “just watched


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[the crew] move around.” Id. He stated that none of the guards or personnel

under his command were advised to listen to inmate responses “in case

information about crimes came out in any interviews.” Id. But Warden Dickey’s

testimony elided that he was present during filming because he provided an

interview to Mr. Ross and the crew. 101 RR 83.

      In her testimony, Quartermaster Waller indicated that she immediately

understood the import of Mr. Ross’s interview with Mr. Hall. When she saw

the interview occurring, she understood that it might make “Comedy

Central . . . part of his trial.” 65 RR 84. In the suppression hearing, she testified

that she was concerned that this would also further delay Mr. Hall’s trial. Id.

at 84–85.

      Nonetheless, Quartermaster Waller did not stop the interview. Id. at 87.

She instead waited until the interview concluded before reporting the

interview to Warden Dicky. Id. at 88–89. This testimony was false—both

Warden Dicky and Quartermaster Waller, as detailed below, had far more

significant interactions than their testimony disclosed.

               3. Warden Dicky falsely testified that Mr. Hall had
                  notice as to whether he wanted to be interviewed.

      Warden Dicky testified that “the releases were provided so people could

have the opportunity review those and decide whether they wanted to

participate in the show or not.” 65 RR 74–75. But in her testimony,


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Quartermaster Waller stated that she made “sure that the officer in the dorm

had release forms for the other inmates that Jeff Ross was trying to get to come

[to the comedy show].” Id. at 81. She stated that she did this after Mr. Ross

had arrived at the jail. Id. Indeed, many inmates in fact had neither seen nor

signed a release until after speaking with Mr. Ross in the dorms.

      Moreover, the posters put up around the jail stated that prisoners who

wished to be interviewed should sign up. 114 RR 142. These posters were “the

primary way” that the jail informed prisoners and jail officers about the show.

65 RR 38. The posters did not say anything about Mr. Ross entering the dorms

and filming impromptu interviews with any inmate who happened to be there.

Cf. 114 RR 142.

       B. Legal Standard

      A state may not knowingly use or fail to correct false testimony to obtain

a conviction or sentence. Napue v. Illinois, 360 U.S. 264, 269 (1959) (citations

omitted). Doing so violates the Fourteenth Amendment’s Due Process Clause.

Id. To establish a Napue violation, a petitioner must show that 1) the witness

testified falsely, 2) the government knew or should have known that the

testimony was false, and 3) the testimony was material. Giglio v. United States,

405 U.S. 150, 153–54 (1972).

      Knowledge of falsity is imputed to the State. Id. False testimony is

material if there is a reasonable likelihood that it affected the jury’s judgment.

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Id. at 154. A reasonable likelihood exists if “the nondisclosure places the case

in a different light as to undermine confidence in the verdict.” In that case, a

new trial is required. Id.

        C. Argument

      The State violated the Fourteenth Amendment’s Due Process Clause

when it used false testimony to secure the admissibility of the Comedy Central

footage as evidence of Mr. Hall’s future dangerousness. The State used false

testimony on three occasions to argue that the tape did not violate Mr. Hall’s

Sixth Amendment rights. First, the State used false testimony to claim that

jail employees never informed the Comedy Central crew about the charges of

specific inmates. Second, the State used false testimony to claim that jail

employees acted as neutral observers while the Comedy Central team collected

footage in the jail. Third, the State used false testimony to claim that Mr. Hall

had advance notice of Mr. Ross’s jail interviews and had time to decide if he

wanted to participate in them.

      The State knew or should have known that this testimony was false. Jail

employees are part of the Brazos County Sheriff’s Office, which investigated

and assisted in Mr. Hall’s prosecution. The State was therefore responsible for

learning of these falsities. The State should have known that it had presented

false testimony regarding the creation of the Comedy Central video, and it was

required to correct that testimony.

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      It is also reasonably likely that the Comedy Central interview of Mr. Hall

would have been suppressed in the absence of this false testimony. Information

that jail officials orchestrated his interview was material to whether the State

had violated Mr. Hall’s Sixth Amendment rights. See Claim One, supra.

Moreover, evidence that Mr. Hall did not have advance warning of Mr. Ross’s

dorm appearance was material to questions of whether Mr. Hall could have

consulted with counsel beforehand or knowingly and voluntarily waived his

right to counsel. See Claim One, supra.

      The State relied on Mr. Hall’s videotaped statements during his

interview with Mr. Ross to demonstrate future dangerousness, rebut the

defense’s mitigation case, and urge the jury that the mitigation did not

outweigh future dangerousness such that Mr. Hall should be sentenced to

death. See Claim One, supra. Because the State relied on the fruits of this false

testimony—namely, the tape—to obtain a death sentence, there is a reasonable

likelihood that the false testimony affected the outcome. See Giglio, 405 U.S.

at 154. Mr. Hall is entitled to a new punishment-phase proceeding

       D. This Court can review the merits of the claim de novo.

      The state habeas court dismissed this claim as procedurally barred on

grounds that this claim could have been raised on direct appeal. See Ex Parte

Hall, 2024 WL 467871, at *2. But 28 U.S.C. § 2254(d) deference does not apply

to this claim because the state court did not afford Mr. Hall a full and fair

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opportunity for review. See Panetti v. Quarterman, 551 U.S. 930, 952 (2007).

He is therefore entitled to de novo review of this claim.

      Alternatively, the state procedural bar is not adequate in that it is

neither “firmly established [nor] regularly followed,” and Mr. Hall effectively

complied. See Lee v. Kemna, 534 U.S. 362, 376, 385 (2002). The CCA often

allows petitioners to bring false-testimony claims on state habeas. See Ex parte

De La Cruz, 466 S.W.3d 855, 865 (Tex. Crim. App. 2015); In re M.P.A., 364

S.W.3d 277, 284–85 (Tex. 2012) (citations omitted); Estrada v. Texas, 313

S.W.3d 274, 288 (Tex. Crim. App. 2010). Should this Court determine that this

claim is nevertheless procedurally defaulted, Mr. Hall can also show cause and

prejudice sufficient to excuse any procedural default. See Coleman v.

Thompson, 501 U.S. 722, 750 (1991).


Claim Three: The trial court violated Mr. Hall’s Eighth and Fourteenth
Amendment rights when it admitted the Comedy Central video as
evidence of future dangerousness.
      The Comedy Central video rendered the punishment phase inherently

unreliable and demeaned Mr. Hall’s human dignity in violation of the Eighth

Amendment. It also rendered the punishment proceedings fundamentally

unfair in violation of the Fourteenth Amendment.

      This claim was raised as Claim Three on direct appeal. Brief of Appellant

at 83–86, Hall v. Texas, No. AP-77,062 (Tex. Crim. App. July 23, 2019). The


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CCA dismissed Mr. Hall’s due process claim in full and partly dismissed his

Eighth Amendment claim as inadequately briefed. Hall v. Texas, 663 S.W.3d

15, 34–35 (Tex. Crim. App. 2021). It dismissed the remainder of the Eighth

Amendment claim on the grounds that it was not preserved at trial. Hall, 663

S.W.3d at 34–35. Mr. Hall can demonstrate that both proffered procedural bars

were neither adequate nor independent. This Court can therefore review this

claim on the merits de novo.

       A. Statement of Facts

      The facts of Claim One, supra, are incorporated here by reference and

applied below. Trial counsel objected to the admission of the video on Eighth

Amendment and due process grounds, and the trial court granted them a

running objection. 87 RR 37–38.

       B. Legal Standard

      “[T]here is no perfect procedure for deciding in which cases” a

government may impose death. Lockett v. Ohio, 438 U.S. 586, 605 (1978). But

because death is different, capital-sentencing procedures are subject to

heightened standards of reliability. Johnson v. Mississippi, 486 U.S. 578, 584

(1988) (internal citations omitted); Zant v. Stephens, 462 U.S. 862, 884–85

(1983) (quoting Woodson v. North Carolina, 428 U.S. 280, 305 (1976)).

      Within the body of law outlining permissible capital-sentencing

procedure, the Eighth and Fourteenth Amendments are often cited together

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and are best understood as operating in tandem. See, e.g. Herrera v. Collins,

506 U.S. 390 (1993); Whitley v. Albers, 475 U.S. 312, 327 (1986); Lockett, 438

U.S. at 604–06. The Fourteenth Amendment’s Due Process Clause establishes

when process is due and the minimum contours of that protection. Because

death sentences must meet higher standards of reliability, the Eighth

Amendment establishes a floor of permissible behavior within the contours of

the Fourteenth Amendment’s Due Process Clause.

      A defendant “has a legitimate interest in the character of the procedure”

leading to the death penalty, even if he has “no right to object to a particular

result of the sentencing process.” Gardner v. Florida, 430 U.S. 349, 358 (1977)

(citations omitted). Unlike some legal rules, due process “is not a technical

conception with a fixed content unrelated to time, place and circumstance.”

Cafeteria Workers v. McElroy, 367 U.S. 886, 895 (1961) (citations omitted). Due

process is flexible and calls for whatever procedural protections a situation

demands. Morrissey v. Brewer, 408 U.S. 471, 481 (1972).

      In identifying what process the Constitution requires, courts must

consider 1) the private interest at stake, 2) the risk that a person will be

erroneously deprived of that interest, and 3) the value of additional procedural

safeguards. Mathews v. Eldridge, 424 U.S. 319, 334–35 (1976). Under the

Eighth Amendment, a decision to impose death “cannot be predicated on mere

caprice or factors that are constitutionally impermissible or totally irrelevant

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to the sentencing process.” Johnson, 486 U.S. at 585 (quoting Zant, 462 U.S.

at 884–85, 887 n.24) (internal quotation marks omitted).

      Finally, due process requires that courts consider the government’s

interest, including the function involved and the burdens that an additional

procedural requirement would entail. Mathews, 424 U.S. at 335. Importantly,

it cannot be said that the State has an interest in obtaining a death sentence.

Rather, the Supreme Court has identified two government interests in this

area, inter alia. The first is the government’s interest in treating defendants

with basic fairness. See Morrissey v. Brewer, 408 U.S. 471, 484 (1972).

      The second rationale is the government’s interest in maintaining a

dignified judicial process. Deck v. Missouri, 544 U.S. 622, 631–32 (2005). This

is embodied in the courtroom’s formal dignity. Id. It “reflects the importance of

the matter at issue” and “the gravity with which Americans consider any

deprivation of an individual’s liberty through criminal punishment.” Id. at 631.

And the forum’s dignity “reflects a seriousness of purpose that helps to explain

the judicial system’s power to inspire the confidence and to affect the behavior

of the general public.” Id. This interest applies with equal force during both

guilt- and punishment-phase proceedings. Id. at 632.

      The Eighth Amendment sets another floor when considering the dignity

and respect afforded to death-sentencing procedures. Wellons v. Hall, 558 U.S.

220, 220 (2010). Specifically, the punishment-phase process should facilitate

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the responsible and reliable exercise of sentencing discretion. Caldwell v.

Mississippi, 472 U.S. 320, 329 (1985) (citations omitted). And the sentence

imposed should reflect a reasoned moral response to the defendant’s

background, character, and crime. Penry v. Lynaugh, 492 U.S. 302, 319 (1989)

(citing California v. Brown, 479 U.S. 538, 545 (1987)), abrogated in part on

other grounds by Atkins v. Virginia, 536 U.S. 304 (2002).

      A federal habeas petitioner must show that the trial error resulted in

actual prejudice to be entitled to habeas relief. Brecht v. Abrahamson, 507 U.S.

619, 637 (1993). The test is “whether the error ‘had substantial and injurious

effect or influence in determining the jury's verdict.’” Id. (quoting Kotteakos v.

United States, 328 U.S. 750, 776 (1946)).

       C. Argument

      Due process and the Eighth Amendment apply to Mr. Hall’s capital-

sentencing proceedings. The admission of the Comedy Central video violated

the process due to Mr. Hall and injected unreliability at punishment in

violation of the Fourteenth and Eighth Amendments. Because the demands of

due process are flexible, the Court must identify the procedural protections

that Mr. Hall’s capital-sentencing proceedings demand. In doing so, the Court

must consider the three Eldridge factors. In other words, it must consider 1)

that the private interest affected is Mr. Hall’s interest in his life; 2) the risk

that admitting the Comedy Central video might erroneously deprive Mr. Hall

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of his life; and 3) the value of other procedural safeguards at trial. See Eldridge,

424 U.S. at 335. And it must do so in a manner that comports with the Eighth

Amendment’s dignity and reliability requirements.

      The Comedy Central video erroneously deprived Mr. Hall of his interest

is his life in two different ways. First, the racist humor throughout the Comedy

Central video repeatedly invokes racial prejudices. Second, the video presents

Mr. Ross’s assessment of Mr. Hall’s character as testimony to the jury without

affording Mr. Hall the opportunity for cross-examination to test its reliability.

Finally, admitting the video also abridged the Due Process Clause’s guarantee

of fundamental fairness.

                1. The Comedy Central video injected racial prejudice
                   into the punishment-phase proceedings.

      Early in the video, another inmate—an admitted white supremacist, see

125 RR 10 at 1:03–1:18—encourages Mr. Hall to tell jokes that play up

stereotypes of disease-ridden Asians, id. at 7:37–7:50. Mr. Hall obliges,

cracking: “If an Asian person catches yellow fever, would it be just called fever

to that person?” Id. at 7:37–7:50. “Yes!” Mr. Ross exults. “That’s good. That’s

not bad.” Id.

      Later, Mr. Ross doubles down on the humor, calling Mr. Hall “Slim

Sushi.” Id. at 16:02–17:14. In response, Mr. Hall then jokes that he is a

“yellowneck,” noting that others have thought this was “just wrong.” Id. These


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comments present an unacceptable risk that the jury was influenced to hand

down a death sentence based on Mr. Hall’s race.

      The pointed racialized comments called the jury’s attention to Mr. Hall’s

race and resultant stereotypes. Against the Eighth Amendment’s mandate of

heightened reliability in death penalty sentencing, the Comedy Central video

introduced and inflamed constitutionally impermissible racial considerations.

See Johnson, 486 U.S. at 584 (quoting Zant, 462 U.S. at 887 n.24). Racism at

capital sentencing is a toxin that “can be deadly in small doses.” See Buck v. Davis,

580 U.S. 100, 122 (2017).

             2. The Comedy Central video inserted Mr. Ross’s opinions
                of Mr. Hall into punishment-phase proceedings.

      In the video, Mr. Ross repeatedly expressed discomfort with Mr. Hall,

referring to him as “a fucking scary dude.” 125 RR 10 at 15:44. These comments

capitalized on Mr. Hall’s seemingly aloof affect on the tape. Yet this product is

attributable to Mr. Hall’s neurological impairments and Mr. Ross’s discomfort

as he toured the dorms to speak with prisoners. See Claim One, supra and

Claim Four, infra. Although Mr. Hall’s interview with Mr. Ross never aired,

even third-party reviewers of the comedy special noted that Ross is “not always

at ease [in the jail], especially during the time he spends hanging out with

inmates before the show or touring the facility.” Contreras, Jessica, “Where My

Murderers at?” How Jeff Ross and Comedy Central Tried to Make Incarceration

Funny,          WASHINGTON            POST          (Jun.           14,       2015),
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https://www.washingtonpost.com/news/arts-and-entertainment/wp/2015/06/1

4/where-my-murderers-at-how-jeff-ross-and-comedy-central-tried-to-make-

incarceration-funny/.

      As to the clip with Mr. Hall, the State exhibited the video as a sincere

and discrete interaction between Mr. Ross and Mr. Hall, and as an accurate

representation of Mr. Hall’s character and opinions. But the video was neither

of these. Instead, the video was created for the exclusive purpose of

entertaining a television audience. The resulting footage portrays a

neurodevelopmentally disabled and mentally impaired young man who

expresses bravado after being suddenly ambushed by a camera crew and a

celebrity insult comic—all while surrounded by older, more seasoned inmates.

But paired with Mr. Ross’s unexamined commentary, the video urges an

inflammatory jury response. See Gardner, 430 U.S. at 362 (holding due process

is violated where “the death sentence was imposed, at least in part, on the basis

of information which [petitioner] had no opportunity to deny or explain”). And

the State capitalized on this as well, quoting Mr. Hall’s words in the video

throughout their closing argument at punishment. 100 RR 44, 125–26.

             3. The State’s interests cannot justify the tape’s admission.

      Finally, the video also undermines the State’s interest in maintaining a

dignified judicial process. See Deck, 544 U.S. at 631–32. By injecting racialized

perceptions of Mr. Hall into the punishment phase, the State undermined the

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gravity with which the jurors should consider a death sentence. Both the racial

tones of the video and its unexplained context undermine the confidence that

the general public should properly have in a death sentence. As a result, the

video cannot comply with the responsible and reliable exercise of sentencing

discretion required by the Eighth Amendment.

      Moreover, the Comedy Central video undermined all constitutionally

permissible state interests. The video does not meaningfully represent whether

Mr. Hall is a future danger to society. Instead, it risks denying him a

fundamentally fair proceeding and is incongruous with a dignified judicial

process. Yet, the State pointed to this depiction of Mr. Hall and replayed

excerpts in closing argument. In doing so, the State applied its own

interpretation to his videotaped commentary. See 100 RR 125 (“They will screw

you over the most petty shit. Ed’s life is petty”). And they injected their own

response to inflame the jury. Id. at 126 (“I’m sorry. I’m getting mad. This is not

petty”).

      The introduction of this inflammatory and disingenuous evidence

instead strikes a “foul [blow]” inconsistent with the State’s obligations. See

Berger v. United States, 295 U.S. 78, 88 (1935) (reversing conviction where

government inserted gratuitous evidence into proceedings, holding that “while

[prosecutor] may strike hard blows, he is not at liberty to strike foul ones”).

Mr. Ross’s assertion that Mr. Hall was “a fucking scary dude,” 125 RR 10 at

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15:44, was an irrelevant opinion based on his brief exchange with Mr. Hall and

purportedly nothing else.

             4. The video had a substantial and injurious effect on
                punishment-phase proceedings.

      To the extent the Brecht standard of harm applies, these themes from

the Comedy Central footage, alone and combined, had a substantial and

injurious effect on the jury. See Brecht, 507 U.S. at 637. The jury’s answer to

the special issues of whether 1) a person is a future danger to society and 2)

mitigating circumstances weigh in favor of life, further demonstrate the video’s

substantial and injurious effect. See Tex. Code Crim. Proc. art. § 37.071.

       D. The Court can review the merits of this claim de novo.

      The CCA dismissed Mr. Hall’s Due Process Clause claim as inadequately

briefed and the Eighth Amendment claim as inadequately briefed and

unpreserved. Hall, 663 S.W.3d at 35. These bars are neither adequate nor

independent in that they are neither “firmly established [nor] regularly

followed,” and Mr. Hall effectively complied. See Lee v. Kemna, 534 U.S. 362,

376, 385 (2002). Alternatively, Mr. Hall can show cause and prejudice

sufficient to excuse any procedural default. See Coleman v. Thompson, 501

U.S. 722, 750 (1991).




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Claim Four: Counsel rendered ineffective assistance in violation of
the Sixth Amendment when they failed to adequately investigate and
present mitigating evidence and rebut the State’s future-
dangerousness case at Mr. Hall’s punishment phase.

      Mr. Hall’s trial counsel was ineffective because they failed to adequately

investigate, identify and consult experts, prepare witnesses, present evidence,

and rebut State witnesses in the punishment phase of his capital trial. These

failures violated Mr. Hall’s Sixth, Eighth, and Fourteenth Amendment rights.

Strickland v. Washington, 466 U.S. 668, 685–88 (1984); Woodson v. North

Carolina, 428 U.S. 280, 301, 305 (1976); Jurek v. Texas, 428 U.S. 262, 271

(1976). Mr. Hall was prejudiced by counsel’s failures as there is a reasonable

probability that, had counsel performed effectively, at least one juror would

have answered the special issues in a way not resulting in death. See Wiggins

v. Smith, 539 U.S. 510, 537 (2003). This claim is unexhausted.

       A. Statement of Facts

      The Regional Public Defender Office (RPDO) was appointed to represent

Mr. Hall in this case shortly after his arrest in 2011. 1 Amend. CR 21. Over

the nearly four years leading up to Mr. Hall’s trial, the trial team experienced

significant turnover. This turnover affected every component of the team, from

attorneys and investigators, to those assigned to work as mitigation specialists.

In addition, RPDO assigned personnel from multiple office locations across




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Texas to work on Mr. Hall’s case. The result was a fractious and incoherent

team that struggled to effectively represent Mr. Hall.

      Among other shortcomings, trial counsel failed to:

         • adequately investigate mitigation evidence,

         • pursue red flags of mental health and neurodevelopmental

            diagnoses,

         • secure and safeguard Mr. Hall’s right to compulsory process,

         • prepare lay and expert witnesses,

         • develop a coherent mitigation presentation, and

         • effectively present evidence and argument to the jury.

      Trial counsel’s overly narrow approach, among other difficulties, led to

their failure to adequately investigate Mr. Hall’s background. This is true even

though trial counsel hired numerous expert witnesses and spent considerable

funds. By failing to adequately investigate, counsel additionally failed to

identify and develop relevant themes, including those implicating multiple

generations of Mr. Hall’s social history. Counsel’s failure to investigate also

precluded them from developing the factual support that defense experts

needed for analyses, and it precluded counsel from adequately preparing

expert testimony. The result was a punishment phase that lacked a compelling,

coherent narrative and that failed to rebut the State’s evidence.



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       B. Legal Standard

      To establish ineffective assistance of counsel in violation of the Sixth

Amendment, the petitioner must show that trial counsel’s performance was

deficient and that he was prejudiced by trial counsel’s deficiencies. Strickland,

466 U.S. at 687. Counsel’s performance must be assessed “under prevailing

professional norms.” Id. at 688.

      Counsel in capital cases have an “obligation to conduct a thorough

investigation of the defendant’s background” for “all reasonably available

mitigating evidence.” Wiggins, 539 U.S. at 522 (quoting Williams v. Taylor, 529

U.S. 362, 396 (2000)); see also Porter v. McCollum, 558 U.S. 30, 39–40 (2009).

Prevailing norms dictate that counsel must conduct a prompt investigation and

explore all avenues leading to facts relevant to the punishment phase.

Rompilla v. Beard, 545 U.S. 374, 387 (2005) (citing 1 ABA Standards for

Criminal Justice 44.1 (2d ed. 1982 Supp.)); see also American Bar Association,

Guidelines for the Appointment and Performance of Defense Counsel in Death

Penalty Cases, Guideline 10.7, 31 HOFSTRA L. REV. 913, 1015 (2003) (ABA

Death Penalty Guidelines); ABA Mitigation Guideline 10.11, Supplementary

Guidelines for the Mitigation Function of Defense Teams in Death Penalty

Cases, 36 HOFSTRA L. REV. 677, 689 (2008) (ABA Mitigation Guidelines).

      The defense team should interview witnesses, retain and prepare

experts, and request and review various records related to the client. Rompilla,

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545 U.S. at 389. Counsel should seek records include medical, criminal, and

correctional records, among others. Id.; see also ABA Death Penalty Guidelines,

Guideline 10.7 [Commentary] at 1019–20, 1022–23, 1025–27. Failure to

conduct a thorough investigation constitutes deficient performance. See

Wiggins, 539 U.S. at 521–23.

      Although courts must defer to trial counsel’s decisions, those decisions

made after a less-than-complete investigation “are reasonable precisely to the

extent that reasonable professional judgments support the limitations on

investigation.” Strickland, 466 U.S. at 691. Where counsel truncates their

inquiry down a particular investigative path, counsel’s choice “must be directly

assessed for reasonableness in all the circumstances.” Id.

      The petitioner is prejudiced by trial counsel’s deficiencies where there is

a “reasonable probability” that, but for counsel’s deficient performance, the

result of the proceeding would have been different. Id. at 693–94. Strickland

“specifically rejected the proposition that the [petitioner] had to prove it more

likely than not that the outcome would have been altered.” Woodford v.

Visciotti, 537 U.S. 19, 22 (2002) (citations omitted). Instead, a reviewing court’s

adjudication of an ineffective-assistance claim should ultimately focus on “the

fundamental fairness of the proceeding whose result is being challenged.”

Strickland, 466 U.S. at 696.



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      With respect to the punishment phase, the prejudice inquiry looks to the

“‘the totality of available mitigation evidence—both that adduced at trial, and

the evidence adduced in the habeas proceeding[s]”—and evaluates how the

difference would have affected the punishment phase. Porter, 558 U.S. at 41

(quoting Williams, 529 U.S. at 397–98). Counsel’s deficient performance

prejudices the petitioner when, upon examining the new mitigating evidence,

there is a reasonable probability that “at least one juror would have struck a

different balance.” Wiggins, 539 U.S. at 537.

       C. Argument

            1. Deficiency: Trial counsel failed to conduct a thorough
               and constitutionally adequate investigation and failed
               to provide Mr. Hall with an individualized mitigation
               presentation and rebuttal to the State’s case.

      Early in Mr. Hall’s case, trial counsel had already decided what

mitigation picture they would present at trial. Counsel approached Mr. Hall

and the investigation with this fixed narrative in mind and retained experts

that could promote it. The defense team was so focused on this narrative that

it failed to investigate Mr. Hall’s background beyond what that narrative

required. In particular, counsel failed to conduct a multigenerational

investigation into Mr. Hall’s family history, the circumstances and cultural

influences of his life in the Philippines, the impact of his transnational and




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transcultural adoption, and the confluence of those factors and others on his

life and development in College Station, Texas.

               a. Failure to Conduct a Thorough, Culturally Sensitive,
                  and Constitutionally Adequate Investigation

      The mitigation investigation in Mr. Hall’s case fell far below the

constitutionally required standard of care. This was largely because members

of the defense team tasked with supervising and/or conducting the mitigation

investigation did not have the requisite experience, training, or qualifications

to investigate for the punishment phase of a capital trial. Those assigned as

mitigation specialists to Mr. Hall’s case were unprepared to conduct a complex,

multi-generational, transnational, and transcultural mitigation investigation.

They were similarly unprepared to identify relevant mental-health and

mitigation themes, or to synthesize information so that it would be consistently

and comprehensively presented to the jury.

      Prevailing professional norms establish that counsel must retain and

consult with qualified mitigation specialists to adequately identify a client’s

impairments and conduct the necessary investigation. On numerous occasions,

the Supreme Court has considered whether defense counsel abided by these

norms when determining whether counsel performed deficiently. E.g., Andrus

v. Texas, 590 U.S. 806, 818 (2020); Bobby v. Van Hook, 558 U.S. 4, 9–10 (2009);

Ayestas v. Davis, 584 U.S. 28, 54–56 (2018) (Sotomayor & Ginsburg, JJ.,


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concurring). Mitigation specialists are critical because they “possess clinical

and information-gathering skills and training that most lawyers do not have.”

ABA Death Penalty Guidelines, Guideline 4.1 [Commentary] at 959 (emphasis

added). The mitigation specialist is also key to “insur[ing] that the presentation

to be made at the penalty phase is integrated into the overall preparation of

the case.” Id. In Mr. Hall’s case, however, no member of the defense team had

that experience. Counsel was ineffective for not remedying that team

deficiency.

      The absence of a qualified mitigation specialist contributed to counsel’s

failure to identify and act upon red flags that appeared in their investigation.

Although counsel may not “ignore[] pertinent avenues for investigation of

which he should have been aware,” Porter, 558 U.S. at 40, that is precisely

what occurred in Mr. Hall’s case. Additionally counsel failed to ensure that

information was properly documented and shared across the team. This

prevented the team from identifying either the fruits of its investigation or

potential red flags warranting further exploration.

      Repeated turnover in the mitigation specialist role exacerbated the

effects of counsel’s incoherence. The trial team unjustifiably restricted the

scope of its investigation and failed to conduct a thorough and multi-

generational investigation into Mr. Hall and his family. Rather than follow up

on unearthed leads—such as ASD and other neurodevelopmental disabilities—

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trial counsel limited their investigation to prejudgments and correspondingly

limited their themes about Mr. Hall’s life. Because of this, counsel failed to

pursue red flags from the investigation they did conduct, interview family

members beyond Mr. Hall’s nuclear family, consider any witness’s reluctance

for disclosure, and examine the information they collected for a cohesive

narrative. And despite multiple trips to the Philippines, trial counsel had

limited visits with witnesses, confined the investigation of Mr. Hall’s family to

questioning of immediate family members; limited the direction and scope of

the investigation before conducting requisite foundational investigation; and

failed to develop significant mitigation evidence—including mental health,

trauma, and protective factors—with Philippines lay witnesses. Nor did trial

counsel adequately prepare these witnesses to testify at trial.

      Further, the trial team neglected to hire adequate consulting and/or

testifying experts to educate the trial team and the jury regarding Filipino

culture. See ABA Death Penalty Guidelines, Guideline 4.1 [Commentary] at

957–58 (describing need in appropriate case to retain expert regarding cultural

context). Nor did they hire any expert that could explain the mental and

emotional impact of a transnational and transcultural adoption from the

Philippines to the United States. See id.




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      Importantly, the trial team recognized that the issues in Mr. Hall’s case

were “complicated by the racial and cultural differences between the Asian 4

Mr. Hall and the white Caucasian lawyers and investigators that comprise his

defense team.” 3 Supp. 1 CR 25. But to fill this void, trial counsel retained

Dr. Walter Quijano—a grossly unqualified and resoundingly discredited

forensic psychologist. See Buck v. Davis, 580 U.S. 100, 121 (2017) (describing

Dr. Quijano’s racially prejudiced testimony). This fell far short of counsel’s duty

to ensure that the investigation, witness preparations, and trial testimony

were culturally competent. Trial counsel’s failure to retain a qualified expert

constitutes ineffective assistance of counsel.

      Of the witnesses in the Philippines that trial counsel did identify, they

unreasonably acceded to trial court pressure that counsel select only some

witnesses for travel to Texas. 21 RR 4–23. Rather than object that the trial

court’s limitations denied Mr. Hall his rights to compulsory process and to

present necessary mitigation in his capital trial, counsel acquiesced and

curtailed their list of requested prospective witnesses. 22 RR 7–40. This

acquiescence was similarly deficient and deprived Mr. Hall of a full mitigation

presentation.



4 As described in Claim Three, supra, many Filipino people do not identify as

Asian. Counsel’s resort to this descriptor for Mr. Hall underscores that counsel
needed to retain an appropriate cultural competency expert.

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      Finally, trial counsel did not thoroughly or adequately investigate

Mr. Hall’s background in the United States. Although trial counsel had

secured extensive funds to retain experts and travel to the Philippines, funding

for investigation in College Station and elsewhere in the United States came

from RPDO’s coffers. And because travel to College Station from various RPDO

office locales required a specific expenditure of time and resources, the cost of

the stateside investigation became an issue.

      In 2013—while Mr. Hall’s trial was pending—Brazos County declined to

renew its contract with RPDO. This meant that RPDO was now expending

internal resources in a county that was no longer paying into RPDO’s budget.

RPDO limited the ability of investigators and those attorneys working as

mitigation specialists to investigate the case in College Station and

surrounding areas. As a result, counsel’s investigation in Texas was belated,

truncated, and piecemeal. Numerous important potential witnesses were not

spoken to at all. And what few leads they did develop, they did not follow up

on.

      Trial counsel did not request additional court funding to conduct the

investigation required in Mr. Hall’s case. Counsel thus did not “fulfill their

obligation to conduct a thorough investigation of defendant’s background.” See

Williams, 529 U.S. at 396 (citations omitted).



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               b. Failure to Investigate Mental-Health Diagnoses and
                  Retain and Then Consult with Relevant and Qualified
                  Experts

      Counsel’s failures as described above had a cascading effect. It caused

counsel’s failure to properly scrutinize the evidence they did collect. It caused

counsel’s failure to amass enough evidence to identify, retain, and consult with

appropriate experts. It caused counsel’s failure to provide the proper materials

to experts. And, at bottom, it caused counsel’s failure to develop expert

testimony so that the jury could receive an individualized picture of Mr. Hall’s

life and developmental trajectory.

      Though trial counsel expended substantial court funds, they did so

without the results of an appropriate baseline investigation. Trial counsel

missed multiple red flags that should have been examined, including whether

Mr. Hall has autism spectrum disorder (ASD) or another developmental

disorder; whether he exhibited plainly identifiable brain impairments; and

whether he has fetal alcohol spectrum disorder (FASD) or a related disorder

linked to in-utero alcohol and drug exposure.

      Numerous red flags existed that Mr. Hall had ASD or a related

developmental disorder; 5 yet, counsel never investigated this possibility.



5 Examples of related conditions include Pervasive Developmental Disorder-

Not Otherwise Specified, Childhood Disintegrative Disorder, and Sensory
Processing Disorder.

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Multiple members of the trial team recognized symptoms of ASD and noted it

in various team memoranda and correspondence. Nonetheless, trial counsel

did not investigate whether Mr. Hall manifested symptoms of these disorders

or consult with an appropriate expert to consider collected evidence and/or

evaluate Mr. Hall.

      Counsel was deficient for disregarding this repeatedly flagged

symptomology. Indeed, counsel failed to conduct even a cursory examination

into this possibility. See Andrus, 590 U.S. at 815–16 (counsel deficient for

disregarding rather than exploring multiple red flags). Trial counsel also failed

to address these topics with lay witnesses in both the Philippines and in the

United States. This unreasonably narrowed the scope of their investigation in

connection with neurodevelopmental disorders and mental health. Given the

mitigating effect of mental-health testimony, it is plain that counsel’s “failure

to investigate thoroughly resulted from inattention, not reasoned strategic

judgment.” Id. at 816–17 (citing Wiggins, 539 U.S. at 536).

      Trial counsel’s investigation was also deficient as it related to

establishing Mr. Hall’s brain functioning. Counsel expended significant

resources to conduct neuroimaging of Mr. Hall. This neuroimaging included

magnetic resonance imaging (MRI), positron emission tomography (PET),

diffusion tensor imaging (DTI), and electroencephalogram testing (EEG).

Through consultation with expert Dr. Susan Stone, trial counsel requested

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that the testing be conducted to “confirm and better establish the damaged

condition of the Defendant’s body and brain.” 3 Supp. 3 CR 493. Moreover, trial

counsel described that “[t]he demonstration that Mr. Hall’s brain is damaged

is essential to the presentation of a high quality defense.” 3 Supp. 3 CR 495.

The trial court granted counsel’s request to conduct this testing. 3 Supp. 3 CR

508–11.

      Initially, trial counsel sent the data obtained from the scans to Dr. Ruben

Gur, who was asked to conduct a quantitative analysis of the MRI and PET

scans. 3 Supp. 4 CR 678. Because trial counsel did not intend to call Dr. Gur if

they could avoid it, see Claim Fifteen, infra, they also relied on Dr. Richard

Adler to relay Dr. Gur’s conclusions to the jury. 3 Supp. 6 CR 1018; 3 Supp. 10

CR 1855. Belatedly, trial counsel obtained Dr. William Orrison to review the

MRI and DTI scans. 3 Supp. 9 CR 1709. But neither Dr. Adler nor trial counsel

consulted with Dr. Orrison after he had reviewed the imaging and testing

conducted on Mr. Hall. Ex. 4 at 98–101. This failure to consult amounted to a

deficient investigation.

      Trial counsel was also deficient for failing to adequately investigate

FASD. Trial counsel retained Dr. Richard Adler to examine whether Mr. Hall

suffered from FASD. 3 Supp. 10 CR 1857. By retaining, consulting with, and

presenting Dr. Adler’s testimony, trial counsel demonstrated that they

recognized the significance and import of an FASD diagnosis. But their

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deficient and truncated investigation sabotaged that effort. See Strickland, 466

U.S. at 690–91 (where counsel truncates his inquiry down a particular

investigative path, such a choice “must be directly assessed for reasonableness

in all the circumstances”).

      Dr. Adler noted there were clear indications both that Mr. Hall had a

neurodevelopmental disorder that existed before he was born and that it may

have been caused by prenatal alcohol exposure. 97 RR 18–99. Nonetheless,

Dr. Adler testified that he could not provide a formal FASD diagnosis because

he lacked information about maternal alcohol consumption during pregnancy.

96 RR 232. He could only conclude there were “features that are consistent

with what the DSM-V calls neurodevelopmental disorder prenatal alcohol

exposed.” Id. On cross-examination, Dr. Adler was even more hesitant, stating

that his “conclusions do not pivot or rely on the issue of fetal alcohol itself,”

while stating that Mr. Hall had some “neurodevelopment disorder.” 97 RR 109.

Because of counsel’s failure to investigate red flags of FASD or another related

neurodevelopmental disorder, they were unable to provide Dr. Adler with the

evidence to support an FASD diagnosis.




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               c. Failure to Investigate and Challenge the State’s
                  Future-Dangerousness    and  Mitigation-Rebuttal
                  Evidence at Punishment by Consulting with
                  Appropriate Experts

      Mr. Hall’s counsel was ineffective in using their retained experts to

challenge the State’s expert witnesses in the punishment phase. This was due

in part to a problem of funding. As trial began, Mr. Hall’s counsel had expended

much of its court funding allocated for experts. It expended the remainder of

these funds on the travel and fees for the experts it called at Mr. Hall’s trial.

This left trial counsel in the position of being unable to examine the need for

specialized, corroborative, or surrebuttal testimony in response to the State’s

cross-examination or State expert rebuttal testimony

      Trial counsel provided their experts with copies of testimony from State

expert Dr. Timothy Proctor, but advised the experts there was no funding and

that they, “[i]f interested [could] read for your own purposes.” Ex. 5 at 102.

Trial counsel performed deficiently in failing to request additional funding so

that counsel could consult further with retained experts. See Hinton v.

Alabama, 571 U.S. 263, 273–74 (2014) (trial counsel deficient for failure to

request necessary funding). Counsel could not know what they did not know.

Because they had not adequately consulted with these experts regarding the

State’s rebuttal evidence, they could not render a strategic decision about

whether to present additional testimony. See Williams, 529 U.S. at 395


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(counsel’s decisions not strategic where requisite investigation not conducted).

Mr. Hall’s trial counsel acted unreasonably and deficiently when they failed to

adequately investigate or cross-examine the State’s case at punishment.

      Trial counsel failed to adequately utilize was Dr. John Edens, a

psychologist specializing in clinical training. Counsel retained Dr. Edens to

testify at a pre-trial hearing regarding the testing that the State’s expert

Dr. Proctor planned to conduct. Dr. Edens testified at that hearing regarding

the Minnesota Multiphasic Personality Inventory (MMPI) and Hare

Psychopathy Checklist Revised (PCL-R). 36 RR 19–20. He testified to problems

with both measures, issues with PCL-R administration and scoring, and risks

that merely mentioning the PCL-R would bias the jury. Id. at 34–73. The trial

court denied counsel’s request to preclude the State’s expert’s administration

of the MMPI and PCL-R. Id. at 133.

      Dr. Proctor ultimately testified in rebuttal at punishment that he

administered multiple personality measures, including various forms of the

MMPI and the Personality Assessment Inventory (PAI) as well as two

measures of psychopathy. 99 RR 69–70. Dr. Proctor did not “diagnose” Mr. Hall

as a psychopath because it was not supported by the test results. Id. at 71. But

Dr. Proctor opined that Mr. Hall was exaggerating his symptoms when

responding to test questions because Mr. Hall responded to these measures “in

a way that is unusual with people who have genuine mental difficulties.” Id. at

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85, 102–03. On cross-examination, he rejected trial counsel’s suggestion that

overreporting was consistent with Mr. Hall’s significant history of adverse

childhood experiences and testified that he had consulted “multiple sources” to

account for any culture-related diagnostic issues. Id. at 134–36. Dr. Proctor

relied on characteristics he identified chiefly from MMPI reports to ultimately

diagnose Mr. Hall with a personality disorder with mixed features. Id. at 74.

Dr. Proctor rejected the PTSD, DID, and major depressive disorder diagnoses

offered by defense experts. Id. at 72–73, 89–98, 108. Following the State’s

rebuttal, trial counsel presented a sole lay witness on surrebuttal before

resting. Id. at 177.

      Despite Dr. Edens’s expertise, trial counsel failed to conduct an adequate

and thorough investigation into Dr. Proctor’s evaluations, testing, conclusions,

and testimony by appropriately consulting with this already-retained expert.

Counsel retained Dr. Edens chiefly for his expertise on the PCL-R in

anticipation of the need to cross-examine and/or rebut Dr. Proctor on this score.

But Dr. Proctor testified that he lacked sufficient PCL-R scores to “diagnose”

Mr. Hall as a psychopath. Id. at 71. Instead, Dr. Proctor relied chiefly on data

obtained from personality measures—including various MMPI forms and the

PAI—to claim that Mr. Hall was exaggerating his symptoms, did not suffer

from any significant mental disorder, and had a personality disorder. Id. at

72 –77, 84–87. Because trial counsel only considered Dr. Edens as an expert

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for a limited purpose—to rebut PCL-R results—they failed to adequately

consult with him on other aspects of Dr. Proctor’s testimony. By failing to

explore Dr. Proctor’s testimony with Dr. Edens, trial counsel was ill-prepared

to counter any of it at trial. Counsel’s failure to call Dr. Edens to testify in

surrebuttal or consult with him to prepare for cross-examination of Dr. Proctor

constituted ineffective assistance of counsel under Strickland.

      Similarly, trial counsel retained but failed to adequately consult with

Dr. Nancy    Nussbaum,     who    was    hired   to   conduct     a   battery   of

neuropsychological testing with Mr. Hall. 91 RR 118. Based on her testing,

Dr. Nussbaum testified that the disparity in Mr. Hall’s scores across different

areas indicates “subtle organic dysfunction affecting the right hemisphere or

right side of the brain.” Id. at 128–29. In rebuttal, the State called

neuropsychologist Dr. Randall Price, who reviewed Dr. Nussbaum’s testing.

98 RR 165–66. Dr. Price concluded that Mr. Hall’s test results appeared

normal and showed no evidence of traumatic brain injury, contradicting

Dr. Nussbaum. Id. at 166–67. The defense did not call Dr. Nussbaum back to

the stand to rebut Dr. Price’s opinions, nor did they further consult with her

before cross-examination of Dr. Price to explore why his conclusions were

wrong.

      Trial counsel was deficient in being unprepared to mount a response to

Dr. Price’s testimony through Dr. Nussbaum. Following an initial meeting,

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trial counsel spent one hour meeting with and preparing Dr. Nussbaum for her

testimony. Although she had conducted two days of neuropsychological testing

on Mr. Hall in February 2013, see 91 RR 141, trial counsel did not obtain these

test results until three weeks before opening statements—more than two

weeks after voir dire commenced. Lead counsel, John Wright, conducted direct

examination of Dr. Nussbaum. Mr. Wright met with Dr. Nussbaum for thirty

minutes six days before she testified. That meeting was the sole time trial

counsel met with Dr. Nussbaum after she completed testing on Mr. Hall. At

the time, Dr. Nussbaum had yet to complete the slideshow presentation to

accompany her testimony. Counsel who cross-examined Dr. Price never met

with Dr. Nussbaum at all.

      By the time Dr. Price testified, counsel had expended all expert funds

and declined to request more from the trial court. Ex. 5. Trial counsel therefore

lacked qualified expert assistance to evaluate this testimony. Counsel was

ineffective for failing to request additional funds when they were needed to

appropriately investigate and defend Mr. Hall. See Hinton, 571 U.S. at 274–

75; see also Ake v. Oklahoma, 470 U.S. 68, 86–87 (1985)

               d. Failure to Adequately Investigate and Impeach State
                  Future-Dangerousness Witnesses

      Trial counsel was ineffective for failing to adequately investigate and

challenge the State’s numerous jail snitches that it called to testify in the


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punishment phase. On December 15, 2014, the State provided Mr. Hall’s trial

counsel with a lengthy recitation of purported unadjudicated offenses it

intended to introduce at trial, most of which relied on jailhouse informant

testimony. 7 Amend. CR 1635–37. Two days later, trial counsel subpoenaed jail

records for those informants named in the unadjudicated offense notices.

7 Amend. CR 1638–61; 8 Amend. CR 1705–08. Trial counsel then requested a

continuance, based in part on their need to “investigate the veracity” of the

allegations and “to investigate the backgrounds, biases, and criminal histories

of those witnesses [who are] providing the State with this information.”

7 Amend. CR 1663. The trial court granted the continuance. 8 Amend. CR

1724. Trial counsel thereafter continued to subpoena and request documents

pertaining to each informant witness, e.g., id. at 1904–18, and attempted to

interview each informant. But the record suggests counsel did not actually

review the materials they requested.

      Trial counsel’s responsibility was to “counter the State’s evidence of

aggravated culpability,” which included “mak[ing] all reasonable efforts to

learn what they could” about the informants the State intended to rely on for

future dangerousness. Rompilla, 545 U.S. at 380–81, 385; accord Andrus,

590 U.S. at 818–21. And trial counsel recognized the importance of zealously

countermanding the swell of informants who had “rush[ed] to testify like

vultures to rotting flesh or sharks to blood.” 7 Amend. CR 1663 n.1. As trial

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counsel attested, jailhouse witnesses needed to be “managed and carefully

watched.” Id.; see also 100 RR 7–10 (request for Jailhouse Informant jury

instruction); 15 Amend. CR 3393–96 (same).

      But counsel had “acquired only rudimentary knowledge” of each

informant “from a narrow set of sources,” namely defense-investigator

interviews and court-disposition summaries. See Wiggins, 539 U.S. at 524.

They failed to review the court and jail files they had subpoenaed. These

deficiencies are evident in trial counsel’s cross-examinations, which skimmed

the surface of evidence contained in their files.

      For example, State’s witness Zachary Dukes had attended school with

Mr. Hall. Trial counsel asked Mr. Dukes about interactions with Mr. Hall at

school and specifics from the recording of Mr. Dukes’s interview with the

District Attorney. But trial counsel never asked about Mr. Dukes’s extensive

mental-health history, which included psychosis. 85 RR 18–23. The record

shows that counsel similarly failed to cross-examine other state-informant

witnesses on matters beyond counsel’s own summary documents. E.g., 82 RR

242–44; 85 RR 54–64.

             2. Prejudice: There is a reasonable probability that at
                least one juror would have voted for life had trial
                counsel performed effectively.

      Trial counsel’s multiple failures precluded them from uncovering a

wealth of information that would have painted a substantially different and

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comprehensive picture of Mr. Hall’s life. This, in turn, would have affected

every aspect of his punishment-phase proceeding. There is a reasonable

probability that this comprehensive picture would have caused at least one

juror to strike a different balance on the special issues, requiring the court to

sentence Mr. Hall to life in prison. See Wiggins¸ 539 U.S. at 537.

                   a. Failure to Conduct a Thorough, Culturally Sensitive,
                      and Constitutionally Adequate Investigation

      Trial counsel would have scratched far below the surface of Mr. Hall’s

life had they appropriately expended resources, retained qualified mitigation

specialists, and sought appropriate expertise to navigate cultural differences

between themselves and Filipino witnesses. Far from presenting a trope of a

young man being rescued from third-world poverty by a pious white American

family, this narrative would have accurately presented the complex reality of

Mr. Hall’s life.

      Trial counsel would have identified impactful themes, including

          1) the multi-generational trauma impacting Mr. Hall’s life,

          2) familial and residential instability,

          3) repeated head traumas, and

          4) trauma and developmental disorder sequelae evident from an

             early age.




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This information would have upended the State’s arguments that Mr. Hall had

experienced life in the same way as his siblings who “lived in the slums longer

than the Defendant did” and others who came from “bad places” but had not

been charged with capital crimes. See 100 RR 47–49. A culturally competent

expert would have further provided testimony about the trauma of Mr. Hall’s

transnational and transcultural adoption.

      Moreover, it would have shown a more complex picture of Mr. Hall’s life

in College Station, including his academic and social struggles there. It would

have shown how he was subjected to a multitude of additional harms inside

the Hall home that compounded his complex mental-health sequelae. This

would have undermined the State’s arguments that life at the Hall residence

was “somewhere in the middle. . . . We’re not saying they’re all great; but you

know what? It wasn’t all bad.” Id. at 50. And it would similarly have countered

the State’s arguments that nothing about the offense was related to the

defense’s mitigation picture by contextualizing the offense within that complex

picture. Id. at 50–52. There is a reasonable probability that the outcome of the

punishment phase would have been different had trial counsel provided the

jury with a complete mitigation picture. See Strickland, 466 U.S. at 692–94.




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               b. Failure to Adequately Investigate, Prepare Witnesses,
                  and Present Evidence Related to Mental Illness,
                  Neurodevelopment, and Brain Functioning

      Trial counsel’s failures to pursue red flags of Mr. Hall’s notable

impairments prejudiced him because it prevented the jury from considering

Mr. Hall’s individualized and real-world functional impairments. First, there

is a reasonable probability that Mr. Hall’s sentence would have been different

if trial counsel had adequately investigated and presented evidence of

Mr. Hall’s ASD or related disorder. A neurodevelopmental disorder like ASD

would have humanized Mr. Hall. More importantly, it would have explained

evidence that the State most effectively wielded against Mr. Hall—e.g.,

testimony about his affect, the facts and circumstances of the capital crime, his

recorded interrogations with the police, the Comedy Central video, the State’s

expert descriptions of his demeanor, and the statements Mr. Hall allegedly

made to fellow inmates while awaiting trial in the jail.

      Similarly, trial counsel’s failure to consult with their retained

neuroradiologist, Dr. Orrison or another qualified witness, impeded their

defense of Dr. Gur’s algorithmic-mapping results through their strawman

witness, Dr. Adler. See Claim Fifteen, infra. Had trial counsel consulted with

a qualified neuroradiologist, they would have learned that brain damage—

including white-matter hyperintensities—was apparent from the UTMB

scans. Ex. 6 at 103. But trial counsel failed to present this evidence. This in

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turn allowed the State to suggest the jury could disregard Dr. Adler’s brain-

scan testimony: “And you know the MRI that’s done in Texas at UTMB, the

place they actually go to figure out if you have a problem or a concussion, says

that the MRIs are unremarkable; and the PET scan is normal.” 100 RR 46.

      So too, trial counsel’s deficient investigation prejudiced Mr. Hall by

failing to provide sufficient evidence of in-utero alcohol exposure. This allowed

State expert Dr. Proctor to conclude that Mr. Hall did not have FASD. 99 RR

97. In doing so, Dr. Proctor pointed to trial counsel’s failure to show that

Mr. Hall’s mother consumed alcohol or drugs while pregnant with Mr. Hall. Id.

      But witnesses in the Philippines would have testified that Mr. Hall’s

mother consumed alcohol and/or drugs during her pregnancies, including when

she was pregnant with Mr. Hall. Family members, neighbors, and friends could

have testified to this. Nonetheless, Mr. Hall’s trial team either failed to talk

with them or failed to ask whether Mr. Hall’s mother had used alcohol or

substances while pregnant—despite red flags that she had. A competent

mitigation investigation would have uncovered these witnesses. Had counsel

adequately investigated this issue in the Philippines and presented that

evidence, the jury would have heard that Mr. Hall did have FASD instead of

Dr. Adler’s speculation that he might have been exposed to drugs and alcohol

in utero. There is a reasonable probability that a definitive diagnosis of a

neurodevelopmental disorder, instead of Dr. Adler’s amorphous description,

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would have resulted in a different outcome. See Rompilla, 545 U.S. at 392

(noting prejudice from trial counsel’s failure to investigate and present

evidence of “fetal alcohol syndrome”).

               c. Failure to Investigate and Prepare to Rebut State
                  Experts.

      Trial counsel’s failure to request additional funds to consult with their

retained experts left trial counsel with a cursory-at-best understanding of all

the experts’ conclusions. This undermined any choices trial counsel made

about the scope of their expert direct examination, cross-examination of the

State’s experts, or rebuttal testimony. As a result, their failure to request

additional funds prejudiced Mr. Hall.

      First, trial counsel allowed Dr. Proctor’s damaging testimony to stand by

failing to rebut it or prepare for cross-examination through Dr. Edens.

Dr. Proctor’s testimony relied heavily on data obtained from personality

measures, including various MMPI forms and the PAI. He claimed that

Mr. Hall was exaggerating his symptoms, did not suffer from any significant

mental disorder, and had a personality disorder. 99 RR 72–77, 84–87. These

conclusions went largely unrebutted.

      Because trial counsel had only considered Dr. Edens as an expert for the

limited purpose of rebutting PCL-R results, counsel was ill-prepared to counter

other aspects of Dr. Proctor’s testimony. Trial counsel could have used


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Dr. Edens to mute Dr. Proctor’s testimony in either of two ways: they could

have had Dr. Edens testify in rebuttal, or they could have consulted with

Dr. Edens to prepare trial counsel to cross-examine Dr. Proctor. Trial counsel’s

failure to do either likely impacted the outcome of punishment-phase

proceedings.

      Trial counsel also prejudiced Mr. Hall by failing to adequately consult

with Dr. Nussbaum and/or another qualified expert regarding her or Dr. Price’s

testing and conclusions. Trial counsel’s mitigation narrative hinged heavily on

whether Mr. Hall’s prematurity, malnutrition, environmental, and/or

traumatic injuries had caused organic brain impairments. See Porter, 558 U.S.

at 42–43 (holding it was error when state court did not consider mitigating

effect of “brain abnormality and cognitive defects”); Rompilla, 545 U.S. at 392

(identifying brain damage as mitigating). And information about the functional

impact of brain impairments is particularly mitigating. See Porter, 558 U.S. at

41 (brain abnormality testimony tied to functional impairments); accord

Rompilla, 545 U.S. at 392 (detailing that “Rompilla ‘suffers from organic brain

damage, an extreme mental disturbance significantly impairing several of his

cognitive functions’” (emphasis added)) (citation omitted).

      Dr. Price testified that relying on test-score disparities across verbal and

performance areas was not an appropriate way of identifying brain damage.

98 RR 166–67. But Dr. Price’s testimony was wrong because it only considered

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test-score disparities taken alone. Trial counsel could have had Dr. Nussbaum

or another qualified expert explain that test-score disparities accompanied by

something else could identify a traumatic brain injury. Specifically, test-score

disparities corroborate a traumatic brain injury and its effects if accompanied

either by reports of a head injury or by neuroimaging that showed evident

impairment. And Mr. Hall had both. 6 93 RR 203; 97 RR 36.

       Dr. Price also testified that the variability in Mr. Hall’s test scores could

be attributed to a variety of benign causes, including lack of effort, underlying

psychological problems, fatigue, and test anxiety. But trial counsel could have

used Dr. Nussbaum or another qualified expert to counter this testimony as

well. Dr. Nussbaum or another qualified expert could have explained how

Mr. Hall’s consistent pattern of strengths and weaknesses across measures

indicated that organic injuries had caused his impairments.

       Instead, the State proclaimed that Mr. Hall’s sub-average scores on

approximately five percent of the measures did “not suggest or support

neuropsychological impairment that we would see after a traumatic brain



6 As  alleged above, supra, trial counsel was also ineffective in failing to
adequately investigate and present testimony that: 1) Mr. Hall suffered from
multiple head injuries and 2) neuroimaging not enhanced by algorithmic
evaluation showed evidence of Mr. Hall’s diffuse brain damage. Cumulation of
the results of such errors “alter[s] the entire evidentiary picture” as to whether
Mr. Hall’s brain impairments altered his functioning. See Strickland, 466 U.S.
at 696.

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injury.” 98 RR 166–68; see also id. at 162–63. And in closing, the State

capitalized on counsel’s failure to rebut Dr. Price’s testimony when it urged the

jury to disregard Dr. Nussbaum’s testimony. The State stated that the defense

“think[s] his brain is damaged because of some psychological tests. . . . Dr. Price

pulls out the book and says: No. The actual book for the test says that is a

misconception that was changed in the early ‘80s.” 100 RR 45.

      As the State’s remarks make clear, trial counsel’s lack of preparedness

further permitted the State to cast the defense’s experts as unreliable or less

authoritative than the State’s own experts’ testimony. Trial counsel’s failure

to adequately consult with experts therefore prejudiced Mr. Hall. See

Rompilla, 545 U.S. at 390–93 (prejudice from counsel’s failure to present

evidence responsive to state case for death).

               d. Failure to Adequately Investigate and Impeach State
                  Jailhouse Witnesses for Future Dangerousness

      Had trial counsel reviewed the jail and court records they had collected

for each informant, they would have been able to call each witness’s testimony

into doubt. Indeed, cross-examination “is the principal means by which the

believability of a witness and the truth of his testimony are tested.” Davis v.

Alaska, 415 U.S. 308, 316 (1974). Trial counsel’s failure to “examin[e] the

readily available file . . . seriously compromis[ed] their opportunity to respond

to a case for aggravation.” Rompilla, 545 U.S. at 385.


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        Stanley Catalino testified that Mr. Hall offered him a homemade knife

when he was having issues with other inmates. 82 RR 242. Incident reports

from the jail show that Mr. Catalino had been found in possession of a large,

manufactured weapon after officers intercepted a letter from him bragging

about the weapon. Ex. 8 at 123–24. He admitted that the weapon was his. Id.

at 124. In the letter, Mr. Catalino claimed that Mr. Hall also possessed a

“shank” or homemade knife. Id. at 125. But jail staff did not find any such

weapons when searching Mr. Hall’s bunk and belongings. Id. This readily

available information would have undermined Mr. Catalino’s credibility to the

jury.

        The State’s next informant, Zachary Dukes, 7 claimed in jail records that

he had previously acted as an informant for the College Station Police

Department and for the Drug Enforcement Administration (DEA). E.g., Ex. 7

at 107 These records further disclose that he was being treated for bipolar

disorder and schizophrenia but had ceased taking psychiatric medications at

the time of arrest. Id. at 119–21. On arrest, he reported wanting to kill himself




7 Mr. Dukes testified that his name was Zachary Dukes, 85 RR 8, but his jail

and court records reveal that his legal name was Jeffrey Chancelor Dukes. E.g.,
108 RR 260. Though he testified that he was forty-one years old, he also
testified that he went to school with Mr. Hall, who was twenty-two years old
at the time of trial. 85 RR 8–10. Court records show Mr. Dukes was twenty-
one years old. 108 RR 260.

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and everyone around him. Id. at 116, 118 Shortly thereafter, Mr. Dukes

reported to jail medical staff that he was experiencing auditory hallucinations.

Id. at 113, 121. Jail staff prescribed chlordiazepoxide—a medication reported

to cause changes in mental health, memory and sleep problems, and loss of

touch with reality 8—for substance-use withdrawal. Id. at 110, 112. Had they

known this, the jury would have questioned Mr. Dukes’s credibility and the

accuracy of his testimony.

      Jimmy Blackstone testified that Mr. Hall made statements relating to

future dangerousness to around August of 2013. 85 RR 49–50; see also 7

Amend. CR 1636 (the State’s notice alleged on or about August 27, 2013). Jail

records show that he was in the same unit as Mr. Hall for less than four days

around this time. Mr. Blackstone also testified that Mr. Hall had made his

statements in front of multiple other inmates. 85 RR 50. But the State did not

present any corroborating testimony. The State then attempted to bolster

Mr. Blackstone’s credibility by sharing that he had attained trustee status. 85

RR 49. But Mr. Blackstone wasn’t elevated to trustee status until conveniently

after his four days in Mr. Hall’s unit. Information about Mr. Blackstone’s




8 Chlordiazepoxide, Medline Plus,

https://medlineplus.gov/druginfo/meds/a682078.html#:~:text=Chlordiazepoxid
e%20is%20used%20to%20relieve,electrical%20activity%20in%20the%20brain
. (last visited Jan. 14, 2025).

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trustee status would have shown his motivation to provide information to and

testify favorably for the State. See Arizona v. Fulminante, 499 U.S. 279, 300

(1991) (recognizing jury might have found informant witness “motivated by her

own desire for favorable treatment”).

      Mr. Blackstone also testified that he did not know about Mr. Hall’s case

because he could neither read nor write. 85 RR 66–67. Yet, Mr. Blackstone’s

jail records denote he had obtained a GED and been previously employed as an

underwater welder—both facts indicating literacy. Ex. 9 at 129–30. Trial

counsel’s failure to impeach Mr. Blackstone’s claim of illiteracy allowed the

State to falsely present him as a disinterested party who could only have

garnered information directly from Mr. Hall. See Rhodes v. Vannoy, 751 Fed.

App’x. 524, 530 (5th Cir. 2018).

      Mr. Blackstone also had approximately three years remaining on his

probation at the time that he testified. 107 RR 14, 21, 32. But trial counsel did

not question him about his probationer status, his hope for favorable

treatment, or the coercive effects of his continuing relationship with the

criminal legal system. See Davis, 415 U.S. at 317–18. This type of “particular

attack” is distinct from evidence of Mr. Blackstone’s prior convictions, 85 RR

47–48, as it suggests his ongoing motivations for testifying against Mr. Hall.

Davis, 415 U.S. at 316–17. But because Mr. Blackstone’s bias was not made

apparent, the jury found him credible.

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      Justin Pressler’s testimony about his shock probation status also left the

jury with an inaccurate picture of his motivation to testify. He stated that

although his charges were eligible for ten years in prison, he had been released

on probation after six months of “shock probation.” 88 RR 187–88. He stated

that he “went to jail after I got sentenced before I ever met Gabriel [Hall]” and

that the shock probation he received “was agreed upon before” he was

sentenced.” Id.

      In truth, Mr. Pressler’s conviction shows that the court agreed to

“consider[]” shock probation after 180 days incarceration. 110 RR 94. The court

ultimately considered and granted shock probation after Mr. Pressler had gone

to jail, where he met Mr. Hall and purportedly gained useful information for

the State. And though Mr. Pressler testified that no one had moved to revoke

his probation, 88 RR 189, the District Attorney had done so before opting to

modify the terms of probation instead. 108 RR 212–31. 9

      Counsel did not present this impeachment evidence that would have

undercut the jailhouse informant testimony. As a result, the State relied

heavily on it in closing argument. It asserted that the jailhouse informants had

shown Mr. Hall’s future dangerousness and that the jury should therefore




9 Mr. Pressler’s pre-sentencing report lists that DDA Baker was involved in the

case in some capacity. 111 RR 16.

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sentence Mr. Hall to death. 100 RR 36 (claiming Mr. Hall stated “he is going

to take some people out”), id. at 36–37 (“he’s still [sic] can wreak havoc outside

of jail. Future danger? Future danger?”); id. at 112–15 (“He’s going to kill

whoever he can.”). And the State bolstered the jailhouse informants’ credibility

by arguing that they had no reason to testify other than an altruistic desire to

protect others. 100 RR 36 (“There is no reason for [Zachary Dukes] to testify

other than the fact that it’s the truth”), id. at 37 (arguing “the actual people in

jail . . . have no reason to come and lie to you”).

             3. Cumulative Prejudice

      The pervasive effect of trial counsel’s deficiencies alters the evidentiary

picture presented during the punishment phase of Mr. Hall’s capital trial and

undermines confidence in the death sentence. See Strickland, 466 U.S. at 695–

96 (describing requirement that courts evaluate prejudice cumulatively);

accord Williams, 529 U.S. at 397–98; Richards v. Quarterman, 566 F.3d 553,

564 (5th Cir. 2009); Dodson v. Stephens, 611 F. App’x 168, 179 (5th Cir. 2015).

If counsel had performed adequately, there is a reasonable probability that at

least one juror would have concluded that Mr. Hall would not pose a future

danger to society if imprisoned for life. See Wiggins¸ 539 U.S. at 537; Tex. Code

Crim. Proc. art. 37.071, § 2(b)(1). If counsel had performed adequately, there

is also a reasonable probability that at least one juror would have concluded

that mitigating circumstances warranted life imprisonment without parole

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rather than death. See Wiggins¸ 539 U.S. at 537; Tex. Code Crim. Proc.

art. 37.071 § 2(e)(1). Because counsel provided ineffective assistance at

punishment phase in violation of the Sixth Amendment, Mr. Hall is entitled to

a new punishment phase.

       D. This claim is unexhausted.

     This claim is unexhausted. Mr. Hall anticipates filing a motion to stay

and abey these federal habeas proceedings so that he may return to the state

court to exhaust this and any other unexhausted claims. See Rhines v. Weber,

544 U.S. 269, 278–79 (2005). If the Court determines that this claim is

procedurally defaulted, Mr. Hall can also establish cause and prejudice to

excuse that default. See Coleman v. Thompson, 501 U.S. 722 (1991).


Claim Five: The State violated Mr. Hall’s due process rights when it
elicited testimony from Dr. Proctor that it knew or should have known
was false and misleading.

     The State presented testimony from forensic psychologist Dr. Timothy

Proctor during the punishment phase. Dr. Proctor had conducted multiple

tests of Mr. Hall, including numerous personality measures. During his

testimony, Dr. Proctor pointed to the results of these measures to prove two

conclusions. First, he concluded that Mr. Hall did not suffer from any major

mental disorder, including post-traumatic stress disorder (PTSD) and

dissociative identity disorder (DID)—both of which defense experts had


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diagnosed. Second, he concluded that Mr. Hall only had a personality disorder.

Dr. Proctor expressly rejected that he had seen anything supporting the

defense-proffered diagnoses in his examinations of Mr. Hall.

      But this testimony was false. Data and reports from Dr. Proctor’s testing

show numerous diagnostically significant factors consistent with both PTSD

and DID. The State was in possession of these documents; therefore, it knew

or should have known that the testimony it elicited was false. And the question

of whether Mr. Hall suffered from a major mental disorder—and not a

treatment-resistant personality disorder—was material to both the defense

and State arguments at punishment.

      This claim is unexhausted.

       A. Statement of Facts

      Dr. Bethany Brand testified for Mr. Hall during the punishment phase.

After three days of interviews and psychological tests, she diagnosed Mr. Hall

with PTSD, 10 DID, and major depression. 93 RR 194, 229; 94 RR 7. Dr. Brand

testified that, when dissociated, people with DID may appear cold-blooded or

lacking emotion. 93 RR 247. During her interview with him, Mr. Hall described




10 Dr. Adler corroborated this diagnosis, describing impairments to Mr. Hall’s

amygdala—a finding consistent with PTSD diagnosis. 97 RR 45.

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dissociative experiences in which he felt “like [he was] watching himself from

behind like watching a movie of himself.” Id.

      These conditions exacerbated Mr. Hall’s hopelessness and inability to

escape from the Hall home. 94 RR 33–34. Dr. Brand observed that Mr. Hall’s

PTSD symptoms had improved post-arrest. Id. at 27. She explained that DID

symptoms also tend to improve once patients learn of the diagnosis and

avenues for treatment. 93 RR 243–44; 94 RR 115–56. She expected that, even

in prison, Mr. Hall’s conditions and symptoms would improve. 94 RR 53–56.

This would place him at a lower risk of offending in prison. Id.

      Psychologist Dr. Jolie Brams also testified on behalf of Mr. Hall. She

testified to Mr. Hall’s extreme trauma history, which she garnered from

records and interviews of his family, friends, and acquaintances. 93 RR 24–25.

She described how this complex trauma history, accompanied by parental

neglect and abandonment, left Mr. Hall grossly impaired. Id. at 25–80. She

also explained that these impairments went untreated and were exacerbated

by the Halls following his adoption. Id. She testified to the resulting

impairments that individuals like Mr. Hall were apt to experience. Id. at 88–

109, 137–38. Like Dr. Brand, Dr. Brams described potential treatment steps

available for people like Mr. Hall who have experienced such severe privations

and trauma. Id. at 82–87. Her testimony corroborated and amplified

Dr. Brand’s diagnoses and findings that Mr. Hall’s conditions were treatable.

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      Dr. Proctor, who testified on behalf of the State, reviewed records

pertaining to Mr. Hall. 99 RR 57–71. He also interviewed and tested Mr. Hall.

Id. Specifically, Dr. Proctor administered both an initial screening and a more

extensive symptom-reporting measure, as well as multiple personality

instruments, and two psychopathy measures. Id. at 66–70. He did not diagnose

Mr. Hall as psychopathic, nor did he agree with Dr. Brand’s PTSD and DID

diagnoses. Id. at 71–73. Instead, he diagnosed Mr. Hall with a “mixed

personality disorder [with] Cluster A traits.” 11 Id. at 72. He further opined, “I

didn’t find evidence of posttraumatic stress disorder.” Id. at 73. The State

elicited the following further exchanges:

      DDA Baker: . . . you didn’t see any signs of dissociative identity disorder?

      Dr. Proctor: No, I did not.

Id. at 89.

      Q: Did you find any evidence of dissociative identity disorder?




11 The Diagnostic Manual of Mental Disorders defines “Other Specified
Personality Disorder” as one where “symptoms characteristic of a personality
disorder” exist but the symptoms “do not meet the full criteria for any of the
disorders in the personality disorders diagnostic class.” American Psychiatric
Association, Diagnostic Manual of Mental Disorders 684 (5th ed. 2013) (DSM-
V). “Cluster A includes paranoid, schizoid, and schizotypal personality
disorders. Individuals with these disorders often appear odd or eccentric.”
DSM-V at 646. This diagnosis is typically inconsistent with PTSD and/or
depressive disorders, which can mimic personality disorder symptomology.
DSM-V at 648–49.

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      A: I did not.

      Q: From your interviews with him?

      A: No.

      Q: Or [from] anywhere else?

      A: No.

Id. at 94.

      Q: After you’ve talked to him a second time and you’re really looking for

      it, do you see anything that’s on the dissociative spectrum?

      A: No . . . .

Id. at 108.

      The State pointed to Dr. Proctor’s testimony in closing argument,

expressly relying on his testimony to argue that because Mr. Hall had an

intractable personality disorder and not a major mental disorder, he was a

future danger who should be sentenced to death. See 100 RR 42, 53, 112, 122.

Accordingly, the jury answered “yes” to Special Issue Number 1—whether

there was a probability beyond a reasonable doubt that Mr. Hall would commit

criminal acts of violence constituting a continuing threat to society. 15 Amend.

CR 3478. The jury also answered “no” to Special Issue Number 2—whether

there were sufficient mitigating circumstances to warrant a sentence of life

rather than death. Id. at 3479.



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        B. Legal Standard

      The Fourteenth Amendment prohibits the State from eliciting false

testimony or failing to correct testimony that is misleading. Napue v. Illinois,

360 U.S. 264, 269 (1959). Mr. Hall is entitled to relief upon showing that

1) false testimony was presented, 2) the State knew or should have known it

was false, and 3) there is a reasonable likelihood that the false testimony

affected the judgment. See United States v. Mason, 293 F.3d 826, 828 (5th Cir.

2002) (citing Giglio v. United States, 405 U.S. 150, 153–54 (1972)).

      The State unconstitutionally uses false testimony if it “should have

known” that the testimony was false. See United States v. Agurs, 427 U.S. 97,

103 (1976); United States v. O’Keefe, 169 F.3d 281, 292 (5th Cir. 1999). Whether

the State intended to elicit Dr. Proctor’s false statements or simply failed to

correct them is immaterial; the State meets Napue’s criterion merely by

allowing false testimony to go uncorrected. See Napue, 360 U.S. at 269. And

the State entrenches false testimony by relying on it in closing argument or

where it creates the false picture through its misleading questioning. United

O’Keefe, 128 F.3d at 894–95 (citing United States v. Sanfilippo, 564 F.2d 176,

178 (5th Cir. 1977) and United States v. Barham, 595 F.2d 231, 243 n.17 (5th

Cir. 1979)).




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       C. Argument

             1. Dr. Proctor’s testimony was false.

      Contrary to his testimony that he “didn’t find evidence of posttraumatic

stress disorder,” 99 RR 73, Dr. Proctor’s testing reports show that he knew

Mr. Hall was experiencing multiple clinically significant symptoms consistent

with PTSD. These are reproduced in the table below:

 DSM-V PTSD Diagnostic Criteria                Mr. Hall’s Corresponding
        DSM-V at 271–72                               Symptoms
                                Criterion B 12
Recurrent, involuntary, and                 Intrusive ideation; is troubled by
intrusive distressing memories              past memories of bad experience.
Recurrent, distressing dreams in
which the context and/or affect of
the dream are related to the
traumatic event(s)                          Nightmares so bad they scare him.
Dissociative reactions (e.g.,
flashbacks) in which the
individual feels or acts as if the          Reliving something horrible that
traumatic event(s) were recurring           had happened to him.
                                 Criterion C
Avoidance of or efforts to avoid
distressing memories, thoughts,
or feelings about or closely                Questions on these measures don’t
associated with the traumatic               appear to be responsive to this
event(s)                                    criterion



12 Criterion A is the “[e]xposure to actual or threatened death, serious injury,

or sexual violence in one (or more)” delineated ways. DSM-V at 271. Testimony
about Mr. Hall’s exposure to such qualifying events was presented at trial, e.g.,
83 RR 52–53; 84 RR 120–22, and Dr. Proctor did not dispute that these events
occurred, 99 RR 118–24.

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                              Criterion D:
Inability to remember an            Questions on these measures don’t
important aspect of the traumatic   appear to be responsive to this
event(s)                            criterion
                                    Feeling hopeless and useless and
Persistent and exaggerated          that life is a strain, he cannot be
negative beliefs or expectations    helped, and he got a raw deal from
about oneself, others, or the world life.
                                    A generally harsh, negative self-
                                    evaluation. He is prone to be self-
                                    critical and pessimistic, dwelling
                                    on past failures and lost
                                    opportunities. Plagued by
                                    thoughts of worthlessness,
                                    hopelessness, and personal failure.
                                    Beliefs that others were plotting
Persistent and exaggerated          against him and talking about him
negative beliefs or expectations    and believing he was often
about oneself, others, or the world punished without cause.
                                    Described himself as no longer
Markedly diminished interest or     interested in things that he used
participation in significant        to enjoy and having no interest in
activities                          life.
                                    Described himself as feeling blue
Persistent inability to experience most of the time and not feeling
positive emotions                   that life is worthwhile.
                              Criterion E
                                         Described himself as high strung
                                         and frequently feeling as though
                                         something dreadful was about to
                                         happen and experiencing periods
                                         of great restlessness such that he
Hypervigilance                           cannot sit long in a chair.

Problems with concentration              Confusion.
                                         Fatigue and low energy; does not
                                         awaken feeling fresh and rested
Sleep disturbance                        most mornings; feels tired a good
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                                           deal of the time; cannot typically
                                           sleep without thoughts or ideas
                                           bothering him.

      Similarly, though Dr. Proctor testified he did not see “anything on the

dissociative spectrum” or “any signs of dissociative identity disorder,” 99 RR

89, 94, 108, his testing results show Mr. Hall was experiencing symptoms

consistent with DID:



   DSM DID Diagnostic Criteria,               Mr. Hall’s Corresponding
          DSM-V at 292                               Symptoms
                                Criterion A:
Disruption of identity that
involves marked discontinuity in
sense of self and sense of agency,         Peculiar odors come to him at
accompanied by related                     times; he hears strange things
alterations in affect, behavior,           when he is alone; sometimes
consciousness, memory,                     hears his thoughts being spoken
perception, cognition, and/or              aloud; hears voices and palms
sensory-motor functioning                  begin to sweat
                                Criterion B:
Recurrent gaps in the recall of
everyday events, important
personal information, and/or
traumatic events that are                  Questions on these measures don’t
inconsistent with ordinary                 appear to be responsive to this
forgetting                                 criterion
                                           Describes having peculiar and
Recurrent gaps in the recall of            strange experiences; blank spells
everyday events, important                 after which he did not know what
personal information, and/or               was going on around him,
traumatic events that are                  sometimes carried on activities
inconsistent with ordinary                 but later did not know what he
forgetting                                 had been doing, and at other

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                                           times having attacks in which he
                                           was unable to control his
                                           movement or speech.
                                Criterion C:
                                     Mr. Hall likely to experience
The symptoms cause clinically        strain in relationships and
significant distress or impairment characterized his reported
in social, occupational, or other    relationships as distant because
important areas of functioning       of these sequelae.
            2. The State knew or should have known that Dr. Proctor’s
               testimony was false.

      Prior to his testimony, the State received Dr. Proctor’s testing, reports,

data, and notes and turned those over to the trial court. See 34 RR 26, 86 RR

160–61. The State also received all the materials from Drs. Brand, Brams, and

Adler before trial; the State provided those materials to Dr. Proctor for his

review. See 86 RR 161. Accordingly, the State was well aware, or should have

been aware, that Dr. Proctor had reviewed mounds of evidence supporting

PTSD and DID. Yet, the State asked Dr. Proctor misleading questions to elicit

false testimony about the results of Dr. Proctor’s evaluation. O’Keefe, 128 F.3d

at 894–85. And it capitalized on that testimony in closing arguments. Id.

             3. Dr. Proctor’s false testimony was material.

      There is a reasonable likelihood that Dr. Proctor’s testimony disclosing

the PTSD- and DID-consistent symptomology would have affected the jury’s

punishment-phase verdict. See Giglio, 405 U.S. at 154. To sentence Mr. Hall to

death, the jury had to find that there was insufficient mitigating evidence in


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his background and character to warrant a life sentence. Tex. Code Crim. Proc.

§ 37.071(e)(1). Dr. Proctor’s testimony was particularly relevant to this

question as it encouraged the jury to doubt that Mr. Hall was suffering from

treatable conditions, as Mr. Hall’s experts had testified. See 93 RR 83–84, 87;

94 RR 50, 53–56, 242–43. Dr. Proctor’s testimony instead asserted that

Mr. Hall suffered from an intractable personality disorder. 99 RR 74–75

(describing personality disorders as “steady,” “rather fixed,” difficult to change,

“who a person is”), id. at 144 (agreeing personality disorder can be part of who

person is).

      Because of the future-dangerousness and mitigation special issues, the

purported intransigence of any diagnosed mental disorder is a key inquiry for

Texas capital jury deliberations. Where the jury determines that the accused

can be treated, it may give some effect to the mental-health mitigating

evidence “within the context of the future-dangerousness special issue.” Nelson

v. Quarterman, 472 F.3d 287, 307 (5th Cir. 2006); accord Cullen v. Pinholster,

563 U.S. 170, 201 (2011) (recognizing evidence that accused suffers from

impairments rendering him “beyond rehabilitation” may be construed as

aggravating rather than mitigating). The opposite is also true. See id.

      In closing argument, the State relied on Dr. Proctor’s statements that

Mr. Hall suffered from an intractable personality disorder instead of PTSD or

DID. 100 RR 42, 53; see also id. at 42 (“And the scariest thing about [Mr. Hall]

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is that there is nothing wrong with him”). The State’s arguments focused on

the intransigence of the personality disorder as evidence that Mr. Hall was a

future danger. Id. at 42 (“There’s no self-help books that can solve that. . . He

finds pleasure in your pain. That is what he does. There’s no cure for that.”),

112 (“We can’t change that, guys. I’m sorry. We can’t change that. It’s his

personality. It’s who he is.”), 122 (“The doctors have told you . . . . That’s part

of who he is. That’s not changing.”).

      The jury’s verdict mirrored this argument. It first found a reasonable

probability that Mr. Hall would be a future danger. This accorded with the

State’s arguments that Mr. Hall suffered from an untreatable personality

disorder. The jury then found that the mitigation evidence—now hollowed by

Dr. Proctor’s false testimony—did not weigh in favor of a life sentence. Given

the centrality of this mental-health evidence to the jury’s consideration of the

special issues, there is a reasonable likelihood that Dr. Proctor’s false

testimony affected the judgment. Mr. Hall is entitled to a new punishment-

phase proceeding

        D. This claim is unexhausted.

      This claim is unexhausted. Mr. Hall anticipates filing a motion to stay

and abey these federal habeas proceedings so that he may return to the state

court to exhaust this and any other unexhausted claims. See Rhines v. Weber,

544 U.S. 269, 278–79 (2005). If the Court determines that this claim is

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procedurally defaulted, Mr. Hall can also establish cause and prejudice to

excuse that default. See Coleman v. Thompson, 501 U.S. 722 (1991).


Claim Six: The State suppressed favorable evidence of Mr. Hall’s
mental condition.
      In conducting its investigation into Mr. Hall’s background and preparing

the capital case for trial, the State identified and spoke with Mr. Hall’s former

teachers. The State’s notes from these interviews show that at least one former

teacher believed Mr. Hall had autism spectrum disorder (ASD) and/or learning

disabilities. The State did not provide this information to Mr. Hall’s counsel.

But this information was favorable to Mr. Hall in that the jury could consider

it in mitigation, and it was material as it would have shown impairments in

Mr. Hall’s functioning evident during his time living in Texas and established

deficits that explained Mr. Hall’s behaviors and affect.

      This claim is unexhausted.

       A. Statement of Facts

      On April 16, 2012, Mr. Hall’s counsel filed a motion for the State to

produce “all exculpatory, impeach[ing,] and mitigating evidence.” 1 Amend. CR

51. Within this motion and with citation to Brady, Mr. Hall requested the State

produce “[a]ny information that tends to diminish culpability,” delineating that

this included evidence favorable to punishment. Id. at 53–54 (citing Brady v.

Maryland, 373 U.S. 83, 87 (1963)); see also id. at 56 (requesting “any . . .

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mitigating evidence”). The trial court granted this motion on June 11, 2012. Id.

at 87–91.

      The trial court entered an additional discovery order on August 2, 2012,

requiring the State to disclose “[a]ny exculpatory and/or mitigating evidence

within the possession, custody, or control of the State.” 1 Amend. CR 97. The

State signed this order before it was filed, acknowledging its contents. Id. The

court entered another order compelling production of the same on July 25,

2014. 7 Amend. CR 1507. Again, the State signed the order in

acknowledgment. Id. On the same date, the State averred that it would

voluntarily provide discovery in accordance with the Michael Morton Act. Tex.

Code Crim. Proc. art. 39.14 (2014). This statute requires the State to permit

the accused to make copies of “any designated documents, papers, written or

recorded statements of . . . a witness.” Id.

      But sometime after July 31, 2013, in the roughly two years preceding the

capital trial, the State received a list of Mr. Hall’s teachers during his

freshman, sophomore, and junior year from the high-school assistant principal.

Ex. 10. The State began contacting these witnesses, and the notations “JP”

appear on the document, indicating that District Attorney Jarvis Parsons

spoke with at least five listed teachers. Id. Handwritten notations on the same

page read “Autism” and “Learning Disabilities.” Id. The District Attorney did

not provide any information about these interviews to Mr. Hall or his counsel,

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including mitigating or exculpatory information they learned. The State also

did not provide information that any of Mr. Hall’s teachers believed he had

ASD and learning disabilities.

       B. Legal Standard

      In Brady v. Maryland, the Supreme Court held that “suppression by the

prosecution of evidence favorable to an accused upon request violates due

process where the evidence is material either to guilt or to punishment,

irrespective of the good faith or bad faith of the prosecution.” 373 U.S. at 87.

Evidence meets the materiality standard when “there is a reasonable

probability that, had the evidence been disclosed to the defense, the result of

the proceeding would have been different.” United States v. Bagley, 473 U.S.

667, 682 (1985). This standard parallels the prejudice requirement from

Strickland for prevailing on an ineffective assistance of counsel claim. Id.

       C. The State suppressed favorable evidence about Mr. Hall’s
          mental condition.

      The evidence the State withheld was favorable in that it bore relevance

to the mitigation picture before Mr. Hall’s capital jury as 1) witness(es) to

Mr. Hall’s real-world impairments and functioning and 2) diagnoses for which

to evaluate Mr. Hall. Both a learning disability and/or an ASD diagnosis would

have altered the picture of Mr. Hall’s functioning and interactions with others.




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      The Individuals with Disabilities Education Act (IDEA), which is

applicable in academic settings (and therefore likely the scheme with which

Mr. Hall’s teachers were familiar), defines a learning disability to include a

disorder of the “basic psychological processes involved in understanding or

using language, spoken or written, which disorder may manifest itself in the

imperfect ability to listen, think, read, write, spell, or do mathematical

calculations.” 20 U.S.C. § 1401(30)(A). 13 This term includes multiple etiologies

and diagnoses, including brain injuries and perceptual disabilities. Id. at

§ 1401(30)(B). The IDEA also includes under this heading a traumatic brain

injury “resulting in total or partial functional disability or psychosocial

impairment, or both, that adversely affects a child’s educational performance.”

34 C.F.R. 300.8(c)(12).

      ASD is characterized by “persistent deficits in social communication and

social interaction,” including impairments in social and emotional reciprocity

and “failure of normal back-and-forth conversation.” DSM-V at 50. It also




13
  Although not expressly contained in the DSM-V, learning disabilities most
closely relate to the broader neurodevelopmental disorders category. See
generally American Psychiatric Association, Diagnostic and Statistical
Manual of Mental Disorders, 31–85 (5th ed. 2013) (DSM-V). These disorders
“are characterized by developmental deficits that produce impairments of
personal, social, academic, or occupational functioning.” Id. at 31. And they
range from “specific limitations of learning or control of executive functions to
global impairments of social skills or intelligence.” Id.

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implicates deficits in nonverbal communication, such as “abnormalities in eye

contact and body language or deficits in understanding and use of gestures”

and includes “difficulties adjusting behavior to suit various social contexts.” Id.

Difficulties in nonverbal speech may “give the impression of odd, wooden, or

exaggerated ‘body language’ during interactions.” Id. at 54. Those with ASD

also exhibit “[e]xtreme difficulties in planning, organization, and coping with

change.” Id. at 57. The IDEA echoes the DSM-V’s ASD criteria, characterizing

the disorder as “a developmental disability significantly affecting verbal and

nonverbal communication and social interaction . . . . Other characteristics

often associated . . . are . . . stereotyped movements [and] resistance to

environmental change or change in daily routines.” 34 C.F.R. 300.8(c)(1)(i).

      Evidence of ASD or a similar disorder was important for the jury to hear

in rendering its punishment verdict as “a reasoned moral response” in light of

Mr. Hall’s background and character. Penry v. Lynaugh, 492 U.S. 302, 319

(1989). It also provided further evidence that Mr. Hall was neglected because,

though at least one teacher had suggested Mr. Hall had discernable

impairments, he had not received a special education referral or evaluation, let

alone appropriate intervention and supports. See 82 RR 190–93 (Chrissy

Hestor testified there is no indication in Mr. Hall’s file he received counseling,

special education, or similar services). And whether the evidence directly

relates to the crime committed does not alter that such evidence “may

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nevertheless ‘be mitigating in the sense that [it] might serve as a basis for a

sentence less than death.’” McGowen v. Thaler, 675 F.3d 482, 490 (5th Cir.

2012) (alteration in original) (quoting Tennard v. Dretke, 542 U.S. 274, 285

(2004) (internal citations omitted)). Texas law echoes this sentiment,

permitting the accused to present (and the jury to thus consider) “evidence of

the defendant’s background or character . . . that mitigates against the

imposition of the death penalty.” Tex. Crim. Proc. art. 37.071 § 2(a)(1). 14

       D. Evidence that at least one of Mr. Hall’s former teachers
          believed he had autism spectrum disorder and/or a learning
          disability was material.

      This evidence was material in that there is a reasonable probability it

would have altered the jury’s determination that Mr. Hall was a future danger,

their perception of the mitigation marshalled in favor of a life sentence, and

whether the balance of this evidence favored life over death. See Claim Four.

      Absent such evidence, the State capitalized on Mr. Hall’s evident

functional deficits and instead used them to urge the jury to both find Mr. Hall

a future danger and reject the mitigation evidence. The State emphasized



14 Mr. Hall has raised a claim that, based on the facts of his case, the jurors

were unconstitutionally led to believe that mitigating evidence needed to be
tied to the offense in order to warrant consideration. See Claim Seventeen. To
the extent this Court determines Texas’s capital sentencing scheme was
unconstitutionally applied to Mr. Hall because the State urged the nexus
requirement abhorred in Tennard v. Dretke, 542 U.S. 274 (2004), it does not
alter the analysis that such evidence should have been considered favorable.

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Mr. Hall’s affect as evidence that he “likes killing. . . . His emotions are the

same. His tastes are different.” 100 RR 42; see also 79 RR 84 (Det. Kirk Webb

describing Mr. Hall’s affect); id. at 100 (Det. Webb describing Mr. Hall’s “blank

stare” as evidence that he was “happy to explain what he did”). The State

encouraged the jury to “watch him. We’re going to go through a few clips here,

and I want you to watch what the Defendant feels.” 100 RR 124. And the State

offered a video of Mr. Hall being interviewed by insult comedian Jeff Ross to

further focus the jury on Mr. Hall’s demeanor. See 89 RR 45. An ASD and/or

learning-disability diagnosis would have rebutted the State’s arguments that

Mr. Hall did not have remorse or empathy because it was not outwardly visible

or expressed in the way one would expect. See 100 RR 38. (“Dr. Proctor told you

there is no remorse. None. . . . No remorse. No empathy”); id. at 39 (“no

empathy and no remorse are personality traits. They don’t change”); id. at 109

(“And he has never once said that he’s worried about Linda Shaar, that he

worried about Ed Shaar, that he cares about anything.”).

      Evidence that at least one of Mr. Hall’s teachers noted his impairments

would have also refuted the State’s arguments that Mr. Hall, defense counsel,

and defense experts were fabricating, biased, or plain wrong in their diagnoses.

The State argued that if Mr. Hall was really impaired, “you would have issues

in school. You would have issues. Something. You don’t go from fourth grade

to your senior year in high school with all of this and not a single teacher –

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everyone says: Good, nice.” 100 RR 121. And the State presented testimony

from Ms. Hestor, the Director of Student Services at College Station

Independent School District, that Mr. Hall “doesn’t have any sort of

educational issues that were documented.” 82 RR 193 (emphasis added); see

also, e.g., 100 RR 42 (“And the scariest thing about him is that there is nothing

wrong with him”); id. (“Chrissy Hestor [sic] told you that, the head person at

College Station ISD. . . . There’s nothing [in Mr. Hall’s school records]”). But

teachers did notice something in school; the State concealed it. Mr. Hall is

entitled to a new punishment-phase proceeding.

       E. This claim is unexhausted.

      This claim is unexhausted. Mr. Hall anticipates filing a motion to stay

and abey these federal habeas proceedings so that he may return to the state

court to exhaust this and any other unexhausted claims. See Rhines v. Weber,

544 U.S. 269, 278–79 (2005). If the Court determines that this claim is

procedurally defaulted, Mr. Hall can also establish cause and prejudice to

excuse that default. See Coleman v. Thompson, 501 U.S. 722 (1991).


Claim Seven: Counsel rendered ineffective assistance in violation of
the Sixth Amendment when they failed to move to suppress Mr. Hall’s
confession.

      Mr. Hall’s adoptive father—an attorney—collaborated with detectives

during their interrogations to manipulate Mr. Hall into confessing. This


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confession     should   have   been   suppressed    under   Texas    and   federal

constitutional law. If the confession had been suppressed, critical additional

evidence would also have been suppressed as fruit of the poisonous tree. There

was no strategic reason to avoid challenging the legality of the confession, and

Mr. Hall’s counsel were ineffective under the Sixth Amendment for failing to

do so.

         This claim is unexhausted.

          A. Statement of Facts

               1. Gabriel Hall lacked prior experience with law
                  enforcement, in contrast with his adoptive father.

         Mr. Hall was born in the Philippines, where he lived until he was

adopted at age eleven. He had no arrests prior to this incident, nor had he ever

been investigated by the police. Mr. Hall is a person with autism spectrum or

similar neurodevelopmental disorder, post-traumatic stress disorder, and

dissociative identity disorder. At the time of his interrogation, Mr. Hall was 18

years old and in high school.

         Wes Hall is Gabriel Hall’s adoptive father. 15 He is also an attorney who

had served as a justice of the peace for twelve years and routinely represented

the family in legal matters. 94 RR 167; e.g., 125 RR 79–83 (e.g., handling court




15 Because both the Petitioner and his adoptive father have the same last name,

their first names will be used in this claim for clarity.

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proceedings for adoption of another child). As a justice of the peace, Wes

oversaw misdemeanor proceedings, held probable cause hearings, signed

search warrants, and frequently interacted with law enforcement officers. 94

RR 167–68.

             2. Wes orchestrated Gabriel’s confession to the crime.

      This crime occurred on Thursday, October 20, 2011. 78 RR 86–87. Wes

and Karen Hall were out of town in San Antonio with another of their adopted

children. 95 RR 66. At 3 a.m. on Friday, police arrived at the Hall residence to

interview Gabriel. 95 RR 68. His sister Yana immediately called Wes. 78 RR

284. After speaking privately with Gabriel on the phone, Wes agreed to allow

the police to speak with Gabriel on the condition that Wes be on speakerphone

for the entire conversation. 78 RR 284–85; 95 RR 69. Gabriel denied

involvement in the crime during that interview. 79 RR 70.

      On Friday afternoon, Wes and Karen drove directly to the College

Station police station to talk with the detectives. 95 RR 69–70. Wes already

knew Detective Wilson on a first-name basis. Id. at 71. Detectives had not

requested this interview; it was nonetheless recorded. Id. at 70–72.

      During that discussion, Wes and Karen repeatedly expressed concern for

whether Gabriel might have used any of their personal firearms to commit the

crime. See 128 RR 37; 95 RR 71. Wes and Karen stated that they would

absolutely cooperate with the police if Gabriel was a suspect. See id.

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      After this meeting with police, Wes knew that Gabriel was a suspect in

the murder. 95 RR 88, 93. That afternoon, Wes picked up Gabriel from school.

Id. at 88. Wes then drove Gabriel to the police station so police could collect his

DNA and fingerprints. Id. at 88–89. Wes did not consult with Gabriel on how

to interact with the police. Id. at 93. Gabriel likely did not know that Wes was

taking him to the police station until they had arrived there. Id. at 103–04.

      Once at the police station, Detective Wilson began to interrogate Gabriel

with Wes in the room. Id. at 80–81. Gabriel initially continued to deny his

involvement in the crime. Id. at 82–83. After a few minutes, Wes interrupted

the police interrogation and suggested that the detectives Mirandize Gabriel.

95 RR 89–90. “I would hate to have anything that would be inadmissible

because of some procedural problem here,” Wes told police. Id. at 90–91.

      Police Mirandized Gabriel. 95 RR 92. In doing so, police warned Gabriel

that he was entitled to an attorney during his interrogation. 95 RR 91. Wes,

an attorney, remained in the room as Gabriel was Mirandized. Id. at 89–91.

After the interrogation resumed, Wes left the room. Id. at 92. Gabriel waived

his Miranda rights, 123 RR 178, and he confessed shortly after, 79 RR 83.

             3. Police relied on Gabriel’s             confession     to   obtain
                additional physical evidence.

      After the confession, the police turned their attention to locating the

weapons used in the attack. 79 RR 98–99. Initially, Gabriel stated that he had


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thrown the weapons in Brothers Pond, near the victims’ residence. Id. at 98–

99. Three days after Gabriel’s initial confession, Wes went with Karen’s

daughter, Sarah Bosse, to Brothers Pond Park, where police were already there

searching the pond for the murder weapons. See 95 RR 94. Wes and Sarah met

with Detective Wilson while there. Id. at 95. They discussed the case, and Wes

speculated as to what might happen if “that guy makes bond.” Id. at 96. By

“that guy,” Wes meant his son Gabriel. Id. Wes told Detective Wilson that he

and Sarah were searching the house for evidence they could give police to use

against Gabriel. Id. at 100. Detective Wilson cautioned that they could run into

evidentiary issues at trial if Wes was not careful. See 128 RR 39. But Wes

dismissed this: “We’re on the same team here, Robert,” Wes said. “We got him

by surprise on Friday.” 95 RR 97; 128 RR 39.

      On the same day that Wes had that conversation with Detective Wilson,

Gabriel told police that he had hidden the weapons in the garage attic at a

second residence owned by the Halls that was next door to their primary home.

85 RR 92–93. Based on Gabriel’s statement, the detectives secured a search

warrant, 82 RR 251, searched the residence, and found the murder weapons,

85 RR 73–74.

       B. Legal Standard

      To establish ineffectiveness under the Sixth Amendment, Mr. Hall must

show that trial counsel’s performance was deficient and that this deficient

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performance prejudiced his case. Strickland v. Washington, 466 U.S. 668, 687

(1984). Counsel’s performance is to be assessed “under prevailing professional

norms.” Id. at 688.

      To establish prejudice, Mr. Hall must show that “there is a reasonable

probability that, but for counsel’s unprofessional errors, the result of the

proceeding would have been different.” Id. at 694. A reasonable probability is

“a probability sufficient to undermine confidence in the outcome.” Id. Failure

to file a meritorious motion to suppress can constitute ineffective assistance of

counsel. See Morris v. Thaler, 425 Fed. App’x. 415, 422–24 (5th Cir. 2011)

(remanding for an evidentiary hearing to determine whether counsel was

ineffective for failing to move to suppress confession); Smith v. Dugger, 911

F.2d 494, 498 (11th Cir. 1990) (granting federal habeas relief from capital

conviction based on Strickland claim for trial counsel’s failure to move to

suppress confession).

      Under the Fifth and Fourteenth Amendments, a custodial confession

may not be used against a defendant unless the confession was voluntary.

Miranda v. Arizona, 384 U.S. 436, 444 (1966). A confession is voluntary when

1) the defendant made an independent and informed choice to confess as a

product of the defendant’s own free will; 2) the defendant was capable of

making this choice; and 3) the defendant’s will was not overborne by the

pressures and circumstances of the situation. Jurek v. Estelle, 623 F.2d 929,

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937 (5th Cir. 1980). Confessions that are “the product of coercion, either

physical or psychological, cannot stand.” Rogers v. Richmond, 365 U.S. 534,

540 (1961). Coercive police activity “is a necessary predicate to the finding that

a confession is not voluntary.” Colorado v. Connelly, 479 U.S. 157, 167 (1986)

(internal citation omitted).

      Courts must consider the totality of the circumstances when assessing

the voluntariness of a confession. Blackburn v. Alabama, 361 U.S. 199, 206

(1960). Relevant factors may include


         • the defendant’s youth, Gallegos v. Colorado, 370 U.S. 49, 54 (1962);

         • whether the defendant is a foreigner, Spano v. New York, 360 U.S.

            315, 323 (1959);

         • the defendant’s mental condition, Connelly, 479 U.S. at 164; and

         • whether the defendant knew the interrogating officer and had a

            relationship of trust, see Spano, 360 U.S. at 323.

      Any Miranda waiver must be knowingly, intelligently, and voluntarily

made. See Hopkins v. Cockrell, 325 F.3d 579, 582–83 (5th Cir. 2003). To be

knowing and intelligent, a Miranda waiver “must have been made with a full

awareness both of the nature of the right being abandoned and the

consequences of the decision to abandon it.” Moran v. Burbine, 475 U.S. 412,

421 (1986). A court may properly conclude that a defendant waived his



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Miranda rights only if the totality of the circumstances reveal “both an

uncoerced choice and the requisite level of comprehension.” Id.

      Texas law further protects a person’s right to be free from a pressured

confession. Under Tex. Code Crim. Proc. art. 38.21, “A statement of an accused

may be used in evidence against him if it appears that the same was freely and

voluntarily made without compulsion or persuasion[.]” This provision is more

protective than its federal corollary; it “may also be construed as protecting

people from themselves because the focus is upon whether the defendant

voluntarily made the statement. Period.” Oursbourn v. Texas, 259 S.W.3d 159,

172 (Tex. Crim. App. 2008). Under the Texas provision, claims of

involuntariness need not be predicated on police overreach. Id. And

involuntary-confession claims can involve sweeping inquiries into the criminal

defendant’s state of mind when confessing, even if those factors were not

apparent to the police. Id.

      The Oursbourn decision further held that police behavior may or may

not be a factor: “A confession given under the duress of hallucinations, illness,

medications, or even a private threat, for example, could be involuntary under

Article 38.21 and the Texas confession statute.” Id. The CCA elaborated that

“‘evidence of a defendant’s psychological abnormality’” has “full logical

relevance under Texas law.” Id. (citing George E. Dix, “Voluntariness” and

“Intelligence” of Confessions as “Independent” Texas Law Issues, 20 TEX. TECH

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L. REV. 1017, 1080, 1091 (1989)) (internal quotation marks omitted); see also

Sandoval v. Texas, 665 S.W.3d 496, 526 (Tex. Crim. App. 2022).

      Even if a Texas trial court declines to suppress a confession, a defendant

can still argue to the jury that the statement is involuntary and should be

disregarded and may receive an instruction to that effect. Tex. Code Crim.

Proc. art. 38.22 §§ 6, 7.

        C. Argument

             1. Trial counsel was deficient in failing to move to
                suppress Gabriel’s confession.

      Trial counsel performed deficiently by failing to adequately investigate,

research, and litigate whether to suppress Gabriel’s confession, based on a

challenge to whether Gabriel’s confession and waiver of his rights were

knowingly, intelligently, and voluntarily made. Strickland, 466 U.S. at 688.

There was substantial evidence that Gabriel’s confession should have been

challenged; a motion to suppress therefore would not have been “futile.”

Morris, 425 Fed. App’x. at 419 (internal citation and quotation marks omitted).

      Gabriel’s confession does not pass the three elements set forth in Estelle,

listed supra. Gabriel did not make an independent and informed choice to

confess based on his own free will. He did not do so because he was not capable

of doing so. And to the extent that Gabriel was capable of voluntarily

confessing, his will was overborne by the combination of police pressure and



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the circumstances of his situation. In sum, Gabriel’s will was overborne by the

circumstance of his adoptive father serving him up for a death sentence on a

silver platter.

      In other words, Gabriel’s confession was the product of psychological

coercion, as was his waiver of his rights under Miranda. The totality of the

circumstances supports this conclusion. Gabriel was eighteen years old; his

youth therefore cautioned a particular susceptibility to coercion. As a

transnational adoptee, Gabriel is and was a foreigner. And, as his erratic

behavior indicates on the confession tape, Gabriel had a fragile mental

condition.

      But most importantly, Gabriel had a relationship of trust with Wes. See

Spano, 360 U.S. at 323; Hopkins, 325 F.3d at 584 (police officer’s friendship

with Hopkins created relationship of trust and officer’s conduct “went beyond

mere emotionalism, trickery or confusion and passed the line into the sort of

lying that deprives a defendant of the knowledge essential to his ability to

understand the nature of his rights and the consequences of abandoning them”

(internal quotation and citation omitted)). He trusted Wes as a parent to

protect him from exposure. After he was Mirandized, he trusted Wes—an

attorney and former justice of the peace—to protect his legal interests. And

because Wes knew Detective Wilson, Gabriel’s trust extended to the detective,

as well.

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      Wes’s later assertion that he was not functioning then as Gabriel’s

attorney is irrelevant. See 95 RR 100. And, under Texas law, it similarly does

not matter whether police overreached their authority when interrogating

Gabriel. See Oursbourn, 259 S.W.3d at 172. Rather, what matters is how

someone in Gabriel’s shoes would have understood Wes’s role leading up to and

during the interrogation.

      Gabriel’s as-yet-undiagnosed mental illness and developmental disorder

rendered him more susceptible to both his adopted father’s influence and police

questioning. Under Texas law, all the subjective factors of Gabriel’s mental

illness and his ensuing perception of his interrogation are relevant in

determining whether his statement was free from “compulsion or persuasion.”

Tex. Code Crim. Proc. art. 38.21; see Oursbourn, 259 S.W.3d at 172. This is

true regardless of whether police were aware of those mental facts. Oursbourn,

259 S.W.3d at 172, 181–82. Given his adopted father’s secret collaboration as

essentially an agent of the police, while pretending to Gabriel to be present as

his defender, Gabriel’s statement was involuntary and his waiver of Miranda

was not voluntarily, knowingly, and intelligently made.

      Trial counsel had no strategic reason for failing to move to suppress

Gabriel’s confession. Doing so would have resulted in a tremendous pre-trial

outcome for their client. Even if the trial court had denied the motion, trial

counsel could have argued to the jury that Gabriel’s confession was not

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voluntary and should be disregarded, and they could have received an

instruction to that affect. See Tex. Code Crim. Proc. Ann. art. 38.22 §§ 6, 7.

Trial counsel’s failure to litigate this issue constitutes deficient performance

under See Strickland. 466 U.S. at 688.


             2. Trial counsel’s failure to move to suppress the
                confession prejudiced Gabriel.

      If trial counsel had moved to suppress Gabriel’s confession, there is a

reasonable probability that the motion would have been granted. The prejudice

in both the guilt and punishment phases of trial is unmistakable. See

Strickland, 466 U.S. at 694.

      The charges against Gabriel would have been reduced or altogether

dismissed if trial counsel had successfully moved to suppress Gabriel’s

confession. This is because all the additional evidence that flowed from the

confession would also have been suppressed as fruit of the poisonous tree. See

Wong Sun v. United States, 371 U.S. 471, 484 (1963). This includes: Gabriel’s

second confession, in which he revealed the location of the weapons; police

discovery of the weapons; and all statements Gabriel made to other inmates

while incarcerated in jail. See Morris, 425 Fed. App’x. at 422 (citing Wong Sun,

371 U.S. at 484) (observing that successful motion to suppress the confession

would have resulted in suppression of additional evidence as fruit of poisonous

tree). This would have derailed the State’s case against Gabriel, likely


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resulting in a dismissal of all charges. See Smith, 911 F.2d at 497 (“failure to

move to suppress the confessions was extremely prejudicial to Smith because

Smith’s confessions constituted the primary evidence in the state’s case” and

“[w]ithout the confessions, conviction for first degree murder was probably

impossible” (emphasis in original)) (internal citations omitted).

      For punishment, the recorded confessions likely constituted the most

harmful evidence that the prosecution urged the jury to consider when arguing

that Gabriel would be a future danger. E.g., 100 RR 43.

      Given the strength of the omitted motion to suppress, there is a

reasonable probability that the outcome of the guilt and punishment phases

would have been different had trial counsel litigated this issue. See Strickland,

466 U.S. at 694. Accordingly, his conviction and sentence must be vacated.


       D. This claim is unexhausted.

      This claim is unexhausted. Mr. Hall anticipates filing a motion to stay

and abey these federal habeas proceedings so that he may return to the state

court to exhaust this and any other unexhausted claims. See Rhines v. Weber,

544 U.S. 269, 278–79 (2005). If the Court determines that this claim is

procedurally defaulted, Mr. Hall can establish cause and prejudice to excuse

that default. See Coleman v. Thompson, 501 U.S. 722 (1991).




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Claim Eight: The State unconstitutionally struck people of color from
the jury, and the state courts failed to scrutinize the rationales
proffered for these strikes as required by Batson v. Kentucky.
      The State impermissibly struck three prospective jurors based on race. 16

Trial counsel objected to each of these strikes under Batson v. Kentucky, 476

U.S. 79 (1986), and the State proffered purported race-neutral reasons in

response. 61 RR 39–40, 42–44, 49, 50–52; 63 RR 69–71. Nonetheless, the trial

court ultimately denied each Batson claim. 61 RR 48,54; 63 RR 72. In doing so,

the trial court stated only that it found that the stated reasons were race

neutral. 61 RR 48,54; 63 RR 72. But the trial court failed to scrutinize the

proffered rationales as required by Batson. The result was that the strikes

were unconstitutionally exercised, and Mr. Hall was denied a constitutionally

adequate adjudication of his Batson claims.

      Mr. Hall raised this error as Claim Thirteen on direct appeal. See Brief

of Appellant at 180–91, Hall v. Texas, No. AP-77,062 (Tex. Crim. App. July 23,

2019). It was adjudicated on the merits. Hall v. Texas, 663 S.W.3d 15, 40–43

(Tex. Crim. App. 2021). As detailed below, § 2254(d) does not apply because the

state court adjudication was neither fair nor full. In the alternative, Mr. Hall




16 Mr. Hall only raises a Batson claim as to Jurors 89 and 100. He shows that

the trial court failed to properly conduct a step-three Batson adjudication as to
Jurors 80, 89, and 100.

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can meet § 2254(d) because the state court decisions relied on unreasonable

factual determinations and unreasonably applied Batson and progeny.

       A. Statement of Facts

      The State peremptorily struck Prospective Juror 80. 61 RR 39. Mr. Hall

asserted that this strike was racially motivated because Prospective Juror 80

was a Black male whom the State had disparately questioned. Id. at 39–40.

The State volunteered its rationales for the strike, claiming that Prospective

Juror 80

   1) answered “no” when asked if he was in favor of the death penalty;

   2) would raise the burden of proof in a capital case;

   3) had a girlfriend who was studying psychology, such that he would be

      disinclined to sentence someone with mental illness to death; and

   4) “actually waved at the Defendant and said hello” when introduced.

Id. at 42–44.

      Mr. Hall asked the trial court to keep Prospective Juror 80 until the end

of voir dire so that the court could examine whether the prospective juror had

been disparately questioned. Id. at 44–45. Instead, the trial court denied the

Batson claim on the spot, stating “I’m going to find that there are race-neutral

reasons,” and excusing Prospective Juror 80. Id. at 48.

      Immediately thereafter, the State accepted Juror H.M.—making a point

to note on the record that she was a Hispanic female—before proceeding to

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strike Prospective Juror 89, another Hispanic female. Id. at 49. Mr. Hall again

raised a Batson challenge. Id. And he again requested that the trial court hold

the struck prospective juror until the end of voir dire so that the court could

consider whether the State was disparately questioning minority prospective

jurors throughout voir dire. Id.

      The State defended its strike by pointing to its recent acceptance of

Hispanic Juror H.M. Id. at 50. It then stated that Prospective Juror 89

         1) had been a psychology major;

         2) felt that the death penalty was not appropriate for defendants with

            some mental health issues; and

         3) had worked at Child Protective Services (CPS).

Id. at 50–52. The State added that they had spoken with Prospective Juror 89’s

former CPS coworkers and learned information suggesting that she would “not

[be] a good juror in this case.” Id. at 52. The State asserted that this was

because “the Defense is going to do something about Karen Hall and the way

she treated the children in the household.” Id.

      Mr. Hall renewed his request that the court examine the State’s

disparate questioning at the close of voir dire proceedings. Id. at 53. He also

requested to question the former co-workers that the State alleged it had

talked to. Id. The trial court suggested that perhaps counsel could instead

cross-examine the State or review their jury selection notes. Id. Though the

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State agreed to this request, the trial court immediately rescinded the offer,

stating that the Batson challenge “will be denied. I find there are race-neutral

reasons for the strike.” Id. at 53–54.

      During voir dire the next day, Mr. Hall objected to the State’s strike of

Prospective Juror 100, a Black woman. 63 RR 69. Mr. Hall again asserted that

the State’s strike violated Batson. Id. The State counted out eight rationales

for its strike, stating that Prospective Juror 100

   1) said the best argument against the death penalty is mental illness;

   2) left the questionnaire blank regarding cases that would warrant the

      death penalty;

   3) stated that no case would warrant the death penalty, even after further

      consideration;

   4) stated life without parole (LWOP) would be the appropriate punishment

      for killing an auditorium full of people;

   5) wanted to know what made someone commit capital murder;

   6) was worried about someone being wrongfully convicted;

   7) would increase the burden of proof on the State; and

   8) would not consider the background of the accused.

Id. at 70–71.

      Mr. Hall clarified that Prospective Juror 100 had been confused about

the burden of proof, and that she had ultimately agreed that the burden of

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proof on the State was not 100 percent. Id. at 71–72. Counsel again requested

that the trial court review disparate questioning of this juror as compared to

non-minority jurors. Id. at 72. The trial court denied the Batson objection

without further question or comment, stating that “I find those are all race-

neutral reasons. I overrule your Batson objection.” Id.

        B. Legal Standard

      The Fourteenth Amendment “forbids striking even a single prospective

juror for a discriminatory purpose.” Snyder v. Louisiana, 552 U.S. 472, 478

(2008) (internal quotation marks omitted). Strikes motivated in whole or in

part by race “cast[] doubts over the obligations of the parties, the jury, and

indeed the court to adhere to the law throughout the trial.” Powers v. Ohio, 499

U.S. 400, 412 (1991). A racially motivated strike calls the integrity of the courts

into question; it “invites cynicism respecting the jury’s neutrality,” and

undermines confidence in the ultimate adjudication. Miller-El v. Dretke, 545

U.S. 231, 238 (2005) (Miller-El II) (quoting Powers, 499 U.S. at 412).

      Where a defendant objects at Batson step one and makes out a prima

facie case that the State’s strikes were exercised on an impermissible basis, the

State must next offer a race-neutral basis for striking the juror in question.

Foster v. Chatman, 578 U.S 488, 499–500 (2016). At step three, the trial court

must determine whether the defendant has proven purposeful discrimination.

Snyder, 522 U.S. at 477.

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      Neither trial nor appellate courts may turn a blind eye to “all of the

circumstances that bear upon the issue of racial animosity” in reviewing

Batson claims. Id. at 478. The Supreme Court has identified an inexhaustive

list of evidence a court should consider in conducting its step-three inquiry.

This list includes a prosecutor’s misrepresentations when defending his

strikes, comparative juror analysis, and any other relevant circumstances.

Flowers v. Mississippi¸ 588 U.S. 284, 301–02 (2019) (citations omitted).

      Although prosecutors may err on occasion when providing step-two

rationales, “a series of factually inaccurate explanations for striking black

prosecutive   jurors   can   be   telling.”   Id.   at   314.   Specifically,   these

misrepresentations are one indication that race is the true motivation for the

strike. See Foster, 578 U.S. at 510, 512; accord Flowers, 588 U.S. at 302. But

without inquiring into this evidence, courts are unlikely to produce “actual

answers to suspicions and inferences” that racial discrimination motivated the

strike. Johnson v. California, 545 U.S. 162, 172 (2005).

      Moreover, evidence tends to prove purposeful discrimination when a

“proffered reason for striking a black panelist applies just as well to an

otherwise-similar nonblack [panelist] who is permitted to serve.” Miller-El II,

545 U.S. at 241. In applying comparative juror analysis, courts must be

mindful that jurors need not be “products of a set of cookie cutters.” Id. at 247

n.6. Instead, comparative juror analysis aids in the trial court’s assessment of

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“what is really going on” in assessing the actual reasons for the challenged

strikes. Reed v. Quarterman, 555 F.3d 364, 380-81 (5th Cir. 2009). Where a

federal habeas litigant demonstrates that the State’s strike of a single juror

was motivated by purposeful discrimination, he is entitled to relief. Miller-El

II, 545 U.S. at 235, 266.

       C. Argument

      A proper step-three evaluation under Batson would have shown that the

State struck prospective Jurors 89 and 100 due to their race. This is for two

reasons. First, the State misrepresented the record during Batson’s second

step, in which it offers race-neutral reasons to support its peremptory strikes.

These misrepresentations support a step-three conclusion that the State’s

proffered reasons were pretextual. Second, the State’s proffered race-neutral

reasons do not stand up to a comparative juror analysis.

             1. In response to Mr. Hall’s Batson claims, the State
                repeatedly misrepresented the record.

   1) Misrepresentations as to Prospective Juror 80:

      Although Mr. Hall does not raise a Batson claim regarding Prospective

Juror 80, the State’s misrepresentations regarding this juror evince efforts to

conceal invidious discrimination. At Batson step two with regards to this

prospective juror, the State averred that it had exercised this strike because

Prospective Juror 80 “actually waved at the Defendant and said hello



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yesterday, which is unlike any other jurors we’ve seen.” 61 RR 43. But the

record does not reflect that this occurred. When trial counsel introduced

Mr. Hall to Prospective Juror 80, he asked “So he’s the Defendant?” to clarify

and then nodded in response to defense counsel’s statement that Mr. Hall was

the accused. 59 RR 39. The record does not reflect that Prospective Juror 80

ever waved at or spoke directly to Mr. Hall.

        The State’s additional assertions at Batson step two are similarly belied

by the record. The State asserted that it struck Prospective Juror 80 because

he stated he was not in favor of the death penalty and would raise the burden

on the State in a capital case. 61 RR 42, 44. To the contrary, Prospective

Juror 80’s questionnaire denotes that he “believe[s] that the death penalty is

appropriate in some murder cases, and I could return a verdict in a proper case

which assessed the death penalty.” 2 Supp 10 CR 2386. His remaining

responses regarding the death penalty noted that it lacks deterrent effect, e.g.,

id. at 2386, 2389, but recognized that the death penalty is the “legal way” for

victims to seek revenge, id. at 2388; see also id. at 2387, 2392. And under this

premise, he expressed no qualms about voting for the death penalty. Id. at

2393.




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  2) Misrepresentations as to Prospective Juror 89:

     The State chiefly grounded its strike of Prospective Juror 89 in her

feelings about mental-health diagnoses and treatment. Amongst these

explanations, the State claimed she had stated that a life sentence would be

appropriate for offenders with mental-health concerns. 61 RR 51. But this was

an overbroad characterization of Prospective Juror 89’s views.

     Rather, Prospective Juror 89 stated that her concern was limited to

people who “maybe don’t realize what they’re doing and the gravity of what

they’re doing.” 60 RR 21. She further elaborated that she was referring to

people who cannot distinguish right from wrong or people who “need[] another

caregiver with them to help them make any decision because they didn’t

understand how it affected another.” Id. at 32. These statements demonstrate

that she would consider a life sentence for people with a narrow subset of

diagnoseable mental illnesses—not, as the State characterized, for any person

with a mental-health concern.

     Prospective Juror 89’s questionnaire underscores that she did not think

all mental-health evidence justified a life sentence. She described that she

meant only “some with mental health issues—they deserve punishment but

not the death penalty.” 2 Supp 11 CR 2679 (emphasis added). Additionally, she

described being in favor of the death penalty because “some crimes are so



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extreme and some criminals . . . have no remorse or empathy for their actions

or the effect on others.” Id. at 2678.


   3) Misrepresentations as to Prospective Juror 100:

      In response to Mr. Hall’s Batson challenge regarding Prospective

Juror 100, the State averred that it had struck the juror because she stated the

best argument against the death penalty was mental illness, had left the

questionnaire blank when asked what cases might deserve the death penalty,

later stated that she believed no case warranted capital punishment, believed

LWOP was appropriate for someone convicted of killing an auditorium full of

people, questioned why someone would commit capital murder, expressed

concern about an innocent person being convicted, would increase the burden

on the State to prove its case and; would not consider the background of the

accused. 63 RR 70–71. These explanations are belied by the record.

       The State asked Prospective Juror 100 to explain her questionnaire

response that the best argument against the death penalty was that the person

was mentally ill. See 2 Supp 13 CR 3024. She explained that her response was

meant to implicate those who were insane at the time of the crime. 63 RR 35.

The State’s questioning on this subject ceased less than a transcript page later,

suggesting that it accepted this explanation. See id. at 35–36; see also Miller-

El II, 545 U.S. at 244 (2005) (where prosecutorial representation may have



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been misunderstanding, “we expect the prosecutor would have cleared up any

misunderstanding by asking further questions before getting to the point of

exercising a strike”).

      The State also asserted that Prospective Juror 100’s blank questionnaire

section concerning what cases might deserve the death penalty suggested that

she was unwilling to vote for death. 63 RR 70. This similarly defies credulity.

Had the State believed that her blank questionnaire section equated with

reluctance, they would have moved to strike the juror for cause. But the State

did not.

      Moreover, when the State questioned Prospective Juror 100 about her

blank response, she replied that she would “have to hear [about the crime] and

then make that decision [about whether to apply the death penalty] then.” Id.

at 17. She later stated that she was “okay” with the death penalty, id. at 18,

and “[i]t could be” the appropriate punishment for a capital murder, id. at 29.

She advised that she “would have to hear more information” to determine

whether death or LWOP would be appropriate in a given case. Id. at 21–22.

Far from excluding the death penalty from consideration, Prospective

Juror 100’s response shows she would determine the propriety of the

punishment in each case.

      Again, the State mischaracterized the record, claiming that Prospective

Juror 100 stated that LWOP would be the appropriate punishment for a person

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convicted of killing an auditorium full of people. See id. at 70–71. Prospective

Juror 100 actually stated only that LWOP would be the minimum appropriate

punishment for a person convicted of a mass killing. Id. at 17.

      The State also flagged Prospective Juror 100’s response to the

questionnaire where she stated that she wanted to know “what made someone

commit capital murder.” Id. at 71. The State asserted that this meant “that

she was looking for some cause or some reason why somebody does something

and [would] keep looking for that even if it wasn’t in the evidence.” Id. But to

the contrary, Prospective Juror 100 expounded on her response to this question

during voir dire. She explained that she meant that “[w]hen a person loses

their life, that’s just sad to me.” Id. at 20. Her response was meant to express

grief “when a human life is taken,” id., not sympathy with the accused.

      The State also claimed that Prospective Juror 100 “was worried about

somebody being innocently convicted” and that she “would increase the burden

of proof on the State.” Id. at 71. But during questioning, Prospective Juror 100

stated that, although she was concerned about wrongful convictions when she

was younger, this was no longer a paramount concern for her. Id. at 18.

Instead, she expressed that she “would just want people to be treated fairly.”

Id. at 19. She did not suggest that she would increase the burden on the State.

      Prospective Juror 100 initially stated that she believed the law required

the State to prove its case to 100 percent certainty, but then accepted that the

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law only required proof beyond a reasonable doubt. 17 Id. at 60. She moreover

agreed that she would be able to find a defendant guilty of capital murder

based on the testimony of a single eyewitness “if they proved it beyond a

reasonable doubt.” Id. at 30–31. Her responses to both State and defense

counsel questioning show her ability to follow the law as to the requisite

standard of proof.

      Finally, the State claimed that it struck Prospective Juror 100 because

she would not consider the background of the defendant in making the

appropriate sentencing determination. Id. at 71. This is also not so. Instead,

the record shows that Prospective Juror 100 initially did not understand the

role of mitigation in capital sentencing. Id. at 52–57. Nor did she understand

why facts and circumstances of the defendant’s background outside of the

offense would be relevant to sentencing. Id. But after defense counsel

explained that this fulsome consideration was consistent with the law,

Prospective Juror 100 agreed she could consider a defendant’s background. Id.

at 57. And when the State expressly asked if she would consider background



17 When questioning other jurors, the State took issue with the court
considering juror responses to defense without having first explained the
applicable law to the juror. E.g., 71 RR 77–78. The State’s willingness to rely
on similarly unwitting juror responses in validating its purported race-neutral
rationales is marked. The Supreme Court has identified such “trickery” during
voir dire as circumstantial evidence that a Batson violation has occurred.
Miller-El II, 545 U.S. at 261–62.

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evidence when answering special issue number 2, Prospective Juror 100

agreed that she could consider the defendant’s “character, background, [and]

personal moral culpability.” Id. at 34.

             2. Comparative juror analysis shows the State exercised
                its strikes on racial grounds.

   1) Prospective Juror 89:

      The State reported it struck Prospective Juror 89 because she had been

a psychology major in college, felt that a life sentence would be appropriate for

offenders with mental-health concerns, and had formerly worked for CPS. 61

RR 50–52. The State’s resort to these rationales ignores Prospective Juror 89’s

actual statements on the record.

      Although she had received a bachelor’s degree in psychology, Prospective

Juror 89 reported that her thoughts and feelings about mental-health

diagnoses did not come from that experience. 60 RR 20–21. She testified that

she took her psychology courses a “long time ago,” and her questionnaire bears

out that she had completed her undergraduate degree more than a decade prior

to trial. Id. at 21; 2 Supp. 11 CR 2696.

      Comparatively, Juror J.D., a white woman, had also obtained a

bachelor’s degree in psychology. 2 Supp. 25 CR 6367. At 28 years old, her

college experience, and thus psychology education, were far more recent than

Prospective Juror 89’s. 2 Supp. 25 CR 6349. Juror J.D. also disclosed personal



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mental-health experiences: “I received treatment for depression from May

2011 to November 2014. I was discharged from treatment by a medical

professional. . . . I believe [mental health] professionals are necessary and

provide many services to aid people in having a more stable life.” Id. at

6363– 64. But whereas the State asked Prospective Juror 89 numerous

questions about her thoughts and experiences as to mental-health

professionals and treatment, 60 RR 20–24, the State only asked Juror J.D.

whether she could listen to psychological testimony and give it the same weight

as she would give to other witnesses. 75 RR 171.

      Like Prospective Juror 89, Juror J.D. had worked at CPS. 2 Supp. 25 CR

6365. But Juror J.D. had worked there less than three years ago, id., whereas

Prospective Juror 89 had left CPS employment more than six years prior,

2 Supp 11 CR 2694. Moreover, Prospective Juror 89 had left the child

protection field entirely—by the time of trial, she worked as an enrollment

director and academic advisor for engineering students. 2 Supp. 11 CR 2693.

      By contrast, Juror J.D. worked as a Child Support Officer for the

Attorney General at the time of trial. 2 Supp. 25 CR 6364. She also frequented

websites for Scotty’s House 18 and the Child Abuse Awareness Alliance online.




18 Scotty’s House is a non-profit Child Advocacy Center serving seven Texas

counties that reports “collaborat[ing] with Child Protective Services (CPS) and
law enforcement officials on every case . . . and providing victims of child abuse
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Id. at 6370. On the other hand, Prospective Juror 89 only listed that she

checked Facebook and an online newsletter unrelated to child welfare. 2 Supp

11 CR 2699. Despite the State’s alleged concerns that a CPS affiliation might

show excessive sympathy towards Mr. Hall’s adoption and “parental issues,”

the State only asked Juror J.D. briefly about how her CPS experience might

impact her jury service. See 75 RR 145–74; see also Miller-El II, 545 U.S. at

246 (rejecting State’s proffered rationale as “makeweight” where they did not

question prospective juror on matter). Nonetheless, the State certainly

questioned Prospective Juror 89, a Hispanic woman, about her experience and

whether it would “bleed over into [her] feelings about the law.” 60 RR 23.

   2) Prospective Juror 100:

      The State’s laundry list of eight rationales for striking Prospective

Juror 100 similarly fails to withstand closer scrutiny. Like Prospective Juror

100, white Juror K.M. left numerous areas blank in response to questions

regarding imposition of the death penalty. See 2 Supp 5 CR 1185–87. She also

stated that she would hold the State to a higher burden—to prove its case

beyond the shadow of a doubt. 54 RR 51. And she believed in “giv[ing] mercy

to everybody.” 54 RR 52.




and/or neglect with safety, healing, and justice.”              Scotty’s   House,
https://www.scottyshouse.org/ (last visited Dec. 24, 2024).

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      Juror I.V. was a white male. 2 Supp. 3 CR 735. Like Prospective Juror

100, Juror I.V. stated he would disagree with the death penalty in cases of

mental illness, id. at 743, and wanted to know the defendant’s background and

“what triggered them” to commit the charged crime, 51 RR 45–48. He described

that he would only apply the death penalty in “special cases,” 51 RR 37, and

expressed reluctance because “innocent people could be sentenced to death,”

having read Innocence Project publications. 2 Supp. 3 CR 736; see also 736,

739. at 740. The State did not ask him about either of these assertions. He also

expressed that 18 year olds “don’t have the discernment that an adult person

or older person would have” and are “more easily influenced” by others. 51 RR

39.

             3. Other relevant circumstances further support a finding
                of invidious intent.

      The State seated Juror H.M immediately after defense counsel made the

first Batson challenge. 61 RR 49. In so doing, the State highlighted, “we’d like

to note for the record that Ms. [H.M.] is a Hispanic female.” Id. In the next

breath, the State moved to strike Prospective Juror 89. Id. Defense counsel

then raised his second Batson challenge. Id.

      But the State simply pointed to its newly accepted minority juror, H.M.,

stating that “just for the record, Ms. [H.M.], the last juror, is a Hispanic female.

We just accepted her.” Id. at 50. The State’s tokenizing of H.M. suggests its


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overall focus on race during voir dire. This focus “plainly belie[s] . . . that [the

State] exercised its strikes in a ‘color-blind’ manner.” Foster, 578 U.S. at 513.

And it suggests that not only was the State tracking juror race, but they were

exercising   strikes   to   “obscure   the    otherwise   consistent   pattern”   of

discriminatory strikes. Miller-El II, 545 U.S. at 250; see also Flowers, 588 U.S.

at 307. This is one post-Batson effect of which the Supreme Court has

cautioned. Miller-El II, 545 U.S. at 239–40; see also Batson, 476 U.S. at 105

(Marshall, J., concurring).

      The State’s laundry-listing of as many as eight proffered race-neutral

reasons at step two (e.g., 63 RR 70–71) is similarly suspect. See Foster, 578 U.S.

at 502; Johnson v. Finn, 665 F.3d 1063, 1075 n.6 (9th Cir. 2011). This tactic,

whereby prosecutors spout forth a litany of rationales for a given strike in the

wake of a Batson challenge, shields proffered rationales from scrutiny by

raising the odds that at least one espoused rationale will remain unrebutted.

      This process also renders comparative juror analysis more difficult. A

majority-race seated juror may have two or even three similarities to a

particular minority-race struck prospective juror. But when the State lists five,

six, or seven rationales, it becomes nearly impossible to find any comparator

jurors. Thus, when the state “laundry lists [] ‘whatever-neutral’ explanations

to plug into the second step,” it reduces the Batson analysis to a “three-step

danse macabre” which is destined to fail. Casarez v. Texas, 913 S.W.2d 468,

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489 (Tex. Crim. App. 1994) (en banc) (McCormick, J., dissenting) (citations

omitted), on reh’g (Dec. 13, 1995). Laundry listing at Batson’s step two is so

well suited to insulating strikes from scrutiny that the technique is “even

taught at CLE seminars.” Id.

             4. The trial court’s step-three rubberstamping of the
                State’s proffered rationales fell short of constitutionally
                required scrutiny.

      Batson’s step three is critical to effectuate constitutional protections

against invidious discrimination in jury selection. This step is “designed to

produce actual answers to suspicions and inferences that discrimination may

have infected the jury selection process.” Johnson, 545 U.S. at 172 (citing

Batson, 476 U.S. at 97–98 & n.20). The trial court must “undertake ‘a sensitive

inquiry into such circumstantial and direct evidence of intent as may be

available.’” Batson, 476 U.S. at 93 (quoting Arlington Heights v. Metro.

Housing Dev. Corp., 429 U.S. 252, 266 (1977)). But upon hearing the State’s

proffered race-neutral reasons, the trial court here only determined that the

stated rationales were “race-neutral.” 61 RR 48; see also id. at 54; 63 RR 72.

Far from fulfilling Batson’s promise, the trial court’s rulings show that it failed

to subject the proffered rationales to the scrutiny Batson requires.

      At step three, the trial court must assess whether the State’s proffered

rationale are persuasive and whether there is evidence of “purposeful

discrimination.” Johnson, 545 U.S. at 171 (citing Purkett v. Elem, 514 U.S. 765,

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768 (1995)). The trial court may not shirk this responsibility by

rubberstamping the State’s proffered race-neutral reasons or ignoring readily

available evidence of discriminatory motives. See Batson, 476 U.S. at 95 (“[T]he

trial court must undertake a ‘factual inquiry’ that ‘takes into account all

possible   explanatory    factors’   in   the   particular   case.”   (emphasis

added)(citations omitted)). This resort to evidence beyond the State’s proffered

reasons is key to any Batson analysis.

      But that did not happen in this case. Far from probing the record, the

prospective jurors’ responses at voir dire, or even responses in the written

questionnaires, the trial court demurred to the rationales that the State

proffered. The trial court examined only whether the rationales proffered were

implicated by race: “I’m going to find that there are race-neutral reasons, and

[Prospective Juror 80] is going to be excused.” 61 RR 48. The trial court gave

similar perfunctory rulings on the two additional Batson challenges that Mr.

Hall made. Id. at 54 (“I find there are race-neutral reasons for the strike” of

Prospective Juror 89); 63 RR 72 (“I find those all are race-neutral reasons. I

overrule your Batson objection” following strike of Prospective Juror 100).

      Importantly, the trial court’s actions consistently refused to examine the

“relevant circumstances” that the United States Supreme Court has found

particularly probative at step three. This demonstrates that the trial court did

not actually examine the proffered step-two reasons. After Prospective Juror

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80 was struck, Mr. Hall requested that the court “review the questioning by

both sides up to now in [the prospective juror’s] voir dire session.” 61 RR 40;

see also id. at 49–50; 63 RR 72. The parties each time offered to admit the

relevant juror questionnaire for court review. 61 RR 42, 49–50; 63 RR 70.

      Mr. Hall’s counsel then urged the trial court to examine the State’s

questioning of minority-race prospective jurors to assess disparate treatment.

61 RR 44–48, 53–54; 63 RR 72. But each time the trial court simply denied the

Batson motion without further scrutiny. 61 RR 48, 54; 63 RR 72. Because the

State claimed to have spoken with former coworkers of Prospective Juror 89,

Mr. Hall asked to question those former coworkers. 61 RR 52–54. And,

although the trial court originally acceded that counsel could question the

State and examine their jury selection notes, it ultimately denied the Batson

motion without allowing any of the questioning or examination that it had

offered only a moment earlier. Id.

      The trial court’s inquiry thus fell far short of what Batson requires. It

failed to probe beyond proffered reasons to determine whether they were the

actual reasons for striking minority-race jurors. It was never the law that “any

facially neutral reason sufficed to answer a Batson challenge.” Miller-El II, 545

U.S. at 240. Indeed, “[s]ome stated reasons are false, and although some false

reasons are shown up within the four corners of a given case, sometimes a court

may not be sure unless it looks beyond the case at hand.” Id. As such, Batson

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“requires the judge to assess the plausibility of [the proffered reason] in light

of all evidence with a bearing on it.” Id. at 251–52. The trial court failed to

adjudicate Mr. Hall’s Batson claims at step three. Had it done so, it would have

determined the State’s strikes were motivated by race. Mr. Hall’s Fourteenth

Amendment rights were violated by the State’s exercise of racially motivated

strikes. Because the State violated Batson, Mr. Hall is entitled to a new trial.

See id. at 235, 266.

        D. The Court can review the merits of this claim de novo.

      Mr. Hall presented this claim to the state courts as Claim Thirteen on

direct appeal. See Brief of Appellant at 180–91, Hall v. Texas, No. AP-77,062

(Tex. Crim. App. July 23, 2019). 28 U.S.C. § 2254(d) deference does not apply

to this claim because the state court did not afford Mr. Hall a full and fair

opportunity for review. See Panetti v. Quarterman, 551 U.S. 930, 952 (2007).

He is therefore entitled to de novo review of this claim.

      In the alternative, the Court can review this claim on the merits.

Mr. Hall can meet § 2254(d) as to Juror 89 and the allegation that the trial

court conflated steps two and three. He can also show that the CCA declined

to adjudicate the claim as to Juror 100 on the merits. In adjudicating this

claim, the CCA distinguished between the allegation that the trial court had

conflated Batson steps two and three and the allegation that the State violated

Batson. Hall, 663 S.W.3d at 40. The CCA adjudicated the former on the merits,

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but Mr. Hall can meet § 2254(d). He can meet § 2254(d)(1) because the state

court adjudication resulted in a decision that was contrary to, or involved an

unreasonable    application   of,   clearly   established   federal   law.   E.g.,

Batson,476 U.S. 79; Johnson, 545 U.S 162; Miller-El II, 545 U.S. 231. He can

also meet § 2254(d)(2) because the state court’s decision is based on an

unreasonable determination of the facts based on the record before it.

      The CCA also adjudicated the latter claim—that the State had violated

Batson—on the merits but only as to Juror 89. Hall, 663 S.W.3d at 42–43.

Mr. Hall can also meet § 2254(d) as to this claim. He can meet § 2254(d)(1)

because the state court adjudication resulted in a decision that was contrary

to, or involved an unreasonable application of, clearly established federal law.

E.g., Batson, 476 U.S. 79; Johnson, 545 U.S 162; Miller-El II, 545 U.S. 231. He

can also meet § 2254(d)(2) because the state court’s decision is based on an

unreasonable determination of the facts based on the record before it.

      The CCA, however, declined to adjudicate the allegation that the State

had violated Batson in striking Juror 100. Hall, 663 S.W.3d at 42 n.6. Because

the CCA declined to rule on this claim about Juror 100, Mr. Hall can rebut the

presumption that the state court adjudicated it on the merits, and this Court

can review that allegation de novo. Johnson, 568 U.S. at 301–02.




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Claim Nine: Counsel rendered ineffective assistance in violation of the
Sixth Amendment when they failed to object to the State’s gender-
based peremptory strikes.
      The State struck 9 female potential jurors. 50 RR 253; 54 RR 295;

58 RR 56; 61 RR 49, 259; 63 RR 69; 68 RR 123; 72 RR 36; 73 RR 225. Trial

counsel did not object to these strikes, claiming they were waiting for

additional invidiously discriminatory strikes to object. 58 RR 56. This failure

to object was deficient and deprived Mr. Hall of litigating meritorious J.E.B.

claims at trial and/or on direct appeal. This claim is unexhausted.

       A. Statement of Facts

      After the State exercised its first 3 strikes against female prospective

jurors, 50 RR 253; 54 RR 295; 58 RR 56, trial counsel asked the court to “take

note on this” and advised that a “a gender-based Batson” claim was possible.

58 RR 56. Trial counsel described that they declined to make a “gender-based

Batson” claim at that time because they were waiting for a “pattern . . . to

develop.” Id. Though the State continued to disproportionately strike female

jurors, trial counsel never objected that the State was unconstitutionally

striking potential jurors based on their gender. At the conclusion of voir dire,

the State had used 9 of its 11 peremptory strikes to remove women from the

jury in Mr. Hall’s case.




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       B. Legal Standard

      Trial counsel has a duty to bring knowledge and skill to bear upon his

client’s case. Strickland v. Washington, 466 U.S. 668, 688 (1984) (citing Powell

v. Alabama, 287 U.S. 45, 68–69 (1932)). Counsel’s ignorance about the law is a

“quintessential example” of unreasonable and deficient performance. Hinton v.

Alabama, 571 U.S. 263, 274 (2014) (citing Williams v. Taylor, 529 U.S. 362,

395 (2000) and Kimmelman v. Morrison, 477 U.S. 365, 385 (1986)). Where trial

counsel fails to make a meritorious motion or objection, the question is whether

the state of the law should have put counsel on notice that the motion or

objection was warranted. Kimmelman, 477 U.S. at 385.

      In J.E.B. v. Alabama, 511 U.S. 127 (1994), the Supreme Court extended

Batson’s prohibition against racially motivated peremptory strikes to the

gender context. 19 Under J.E.B./Batson, an objection or motion is warranted

where the pattern of strikes gives rise to the inference of discrimination.

Flowers v. Mississippi, 588 U.S. 284, 307 (2019) (citations omitted). But the

pattern of strikes is by no means the sole evidence that raises an inference of

invidious discrimination. See id. at 301–02 (citing Foster v. Chatman, 578 U.S.

488 (2016); Snyder v. Louisiana, 552 U.S. 472 (2008); Miller-El v. Dretke, 545




19 To the extent that this claim applies Batson’s framework, Mr. Hall
incorporates his discussion from Claim Eight, supra, by reference.

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U.S. 231 (2005) (Miller-El II); Batson v. Kentucky, 476 U.S. 79 (1986)). Indeed,

“the Constitution forbids striking even a single prospective juror for a

discriminatory purpose.” Snyder, 552 U.S. at 478 (internal quotation marks

and citations omitted); accord Batson, 476 U.S. at 95. A prima-facie J.E.B.

challenge—like a Batson challenge—is therefore a low bar; counsel can rely on

“‘any other relevant circumstance’” to raise the necessary inference. Johnson

v. California, 545 U.S. 162, 169 (2005) (quoting Batson, 476 U.S. at 96).

      A defendant is prejudiced by trial counsel’s deficiencies if there is a

reasonable likelihood that the result of the proceeding would have been

different had the motion been made. Kimmelman, 477 U.S. at 387. In the voir-

dire context, a defendant is prejudiced if there is a reasonable likelihood that

the court would have sustained the Batson motion. Nelson v. Davis, 952 F.3d

651, 679 (5th Cir. 2020) (citing Eagle v. Linahan 279 F.3d 926, 943 (11th Cir.

2001))(requiring showing that Batson claim would have shown strikes based

on invidious discrimination); Scott v. Hubert, 610 Fed. App’x 433, 434–35 (5th

Cir. 2015) (citing Strickland, 466 U.S. at 697).

       C. Argument

             1. Trial counsel was deficient in failing to make J.E.B.
                objections.

      The State’s 9 strikes of female potential jurors formed a pattern that

gave rise to an inference of gender discrimination. These strikes warranted an



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objection under J.E.B./Batson. But the State’s pattern of gender-motivated

strikes was not the sole evidence to show a J.E.B./Batson violation. Rather, a

Batson objection was warranted after the State first struck a female

prospective juror. And by the time trial counsel discussed raising a gender-

based J.E.B./Batson claim, the State’s three strikes of female prospective

jurors was a relevant circumstance, alone enough to make a prima-facie

challenge of invidious gender discrimination. See Miller-El II, 545 U.S. at 240–

41; see also Johnson, 545 U.S. at 169 (citations omitted).

      Trial counsel was mistaken in their belief that a pattern of

discriminatory strikes needed to emerge before they could object under

J.E.B./Batson. See Snyder, 552 U.S. at 478; Batson, 476 U.S. at 95. The state

of the law should have put defense counsel on notice that a Batson objection

was warranted after the State struck any of the 9 female prospective jurors.

Mr. Hall’s counsel therefore provided a quintessential example of unreasonable

and deficient performance.

      Moreover, trial counsel’s attempts to retain the State’s stricken female

jurors demonstrate that counsel lacked a strategic reason for acquiescing and

failing to object on J.E.B. grounds. See, e.g., 50 RR 248–51 (declining to agree

to excuse female Prospective Juror 18); 54 RR 295 (declining to question female

Prospective Juror 47); 61 RR 49–54 (making Batson race challenge to strike of

female Prospective Juror 89).

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             2. Mr. Hall’s J.E.B. claim was meritorious.

      The State used 11 strikes to remove 9 women and 2 men from the jury.

50 RR 253; 54 RR 295; 58 RR 56; 61 RR 49, 259; 63 RR 69; 68 RR 123; 72 RR 36;

73 RR 225. The State used 81% of their strikes against women. This is the kind

of disparity that “[h]appenstance is unlikely to produce.” See Miller-El v.

Cockrell, 537 U.S. 322, 342 (2003) (Miller-El I). But an analysis of the State’s

disparate questioning of comparable jurors is even more revealing than this

pattern. Together, these statistics demonstrate that the State’s strikes were

motivated by gender. See Flowers, 588 U.S. at 301–02 (listing statistical

evidence, disparate questioning, and comparative juror analysis as relevant

Batson factors).

                   a. The State used an accusatory script with female
                   jurors.

      The State used a more probing and skeptical script when questioning

female prospective jurors than it used for male prospective jurors. This

questioning pattern aids the State’s manufacture of pretextual rationales for

the strike. See Batson, 476 U.S. at 97. By asking a lot of questions about a

juror’s background, “a prosecutor can try to find some pretextual reason—any

reason—that the prosecutor can later articulate to justify” a discriminatory

strike. Flowers, 588 U.S. at 310.




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      Disparate questioning may also frustrate attempts at comparative juror

analysis. This is because disparate questioning can produce a record that is

“resistant to characteristic-by-characteristic comparisons” of struck versus

seated jurors. Id. The State’s script for female prospective jurors focused

disproportionately    on   individual    responsibility    for    the   sentencing

determination and more heavily scrutinized their ability to consider a death

sentence.


   1) Individualized Responsibility for the Ultimate Punishment:


      The State’s script for female jurors emphasized that they bore individual

responsibility for answering the special issues in a way that would result in a

death sentence. They used the following script disproportionately with nearly

every female prospective juror:

   • “Could you do it if you took the oath and go back and do all that one more

      time and make that decision? . . . [D]o you feel like you’re capable of doing

      that?” 50 RR 243 (female Prospective Juror 18);

   • “[C]an you answer these questions in a death penalty case in a way that

      would lead to that result? . . . So you could honestly answer that question

      even understanding the gravity of the situation and what that would

      mean?” 54 RR 281–82 (female Prospective Juror 47);




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  • “Can you answer that question honestly understanding that the answer

     to the question would mean that a person would be executed for the crime

     they committed?” 58 RR 40 (female Prospective Juror 67);

  • “[Y]ou could answer that question yes, knowing that that’s one step

     closer to the death of another human being? . . . Can you answer this

     question no, there’s not a sufficient mitigation—or there’s not sufficient

     mitigation to warrant life rather than death, knowing that that answer

     at that point would be the final step? . . . Can you answer that question

     if it’s going to end the life of another human being?” 60 RR 32, 37–38

     (female Prospective Juror 89);

  • “If you find—if you listen to the facts and you believe there’s a probability

     the Defendant would commit criminal acts of violence that would

     constitute a continuing threat to society, could you answer that special

     issue yes or no depending on the facts?” 61 RR 33 (female Prospective

     Juror 97);

  • “[C]an you answer these questions in a way that would end the life of

     another human being? . . . [C]an you answer that question no, knowing

     all those things; and you know what the impact of that verdict means,

     that that would be a death sentence at that time? . . . Could you answer

     those questions in such a way that would end the life of another human



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     being? Because that’s what we’re asking you to do.” 63 RR 233–34

     (female Prospective Juror 100);

  • “Do you feel like you could answer this question knowing that a yes

     answer to this would put you one step closer to that death penalty? . . .

     [A]nd if there isn’t a mitigating circumstance, that you could answer this

     question?” 68 RR 106, 108 (female Prospective Juror 125); and

  • “[C]an you answer that question knowing that you are sentencing this

     defendant to death?” 73 RR 200 (female Prospective Juror 199).

The State asked similar individualized-responsibility questions of the female

jurors it seated. 61 RR 86–87 (Juror M.P.); 72 RR 95–98 (Juror P.B.); 75 RR

169–71 (Juror J.D.); 75 RR 109–10 (Juror C.A.). This shows that this emphasis

resulted from gender and not the State’s perception that the struck

venirewomen were unfavorable.

     By contrast, the State’s script for questioning male prospective jurors

about their ability to consider the evidence and impose the death penalty was

far more muted. As shown below, it also removed any individual responsibility

for the determination:

     • “And then you decide, is there a mitigating circumstance? Okay? Is it

        mitigating or not mitigating, right? And then if you decide that there’s

        a mitigating circumstance, does it reduce the defendant’s moral

        blameworthiness? Is it sufficient, right? Is it sufficient to warrant a

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         life sentence? Do you see how that process works?” 46 RR 166–67

         (male Juror H.B.);

      • “Does that seem like a fair way to do things to make sure we’re double

         checking right up to the end and looking to see is there anything to

         mitigate in favor of life rather than death?” 51 RR 36 (male Juror

         I.V.);

      • “[I]s there anything that would warrant a sentence of life rather than

         death in the context of does it reduce the Defendant’s moral

         blameworthiness? Do you understand what I’m talking to you about?”

         62 RR 106 (male Juror A.A.); and

      • “Is there anything there that’s sufficient to warrant life rather than

         death, okay? . . . So just kind of to walk you through how that might

         work.” 69 RR 34 (male Juror B.B.).


   2) Skepticism that Female Jurors Could Vote in a Way that Results
      in Death:

      The State expressed doubt that female prospective jurors could answer

the special issues in a way that would result in a death sentence. Female

Prospective Juror 18 stated that, although she would not want to sentence

someone to death, she could do it if she took the oath. 50 RR 242–43. Yet the

State persisted, urging her to “tell [it] her feelings,” before asking whether she

was “capable” of answering the special issues in a way that would result in


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death and whether she could “answer these questions truthfully.” Id. at 242–

44.

      Female Prospective Juror 67 told the State that she believed she could

answer the questions in a manner resulting in death. Yet, the State insisted

that she had “to answer truthfully.” 58 RR 40. The State then asked, “I just

need to know at your core if the answer to [special issue two] is no that you

could be honest with the evidence and not let anything just that’s not brought

to you sway you to do something that’s not the true answer?” Id. at 40–41.

      Female Prospective Juror 125 had originally stated she would be

comfortable answering questions in a way leading to a death sentence. But the

State doubted her, too, stating “I’m just trying to get the root of making sure

that each one of these things is something you feel like you can actually

participate and do or it’s something you say, My feelings are going to impair

my ability to do that, and I don’t feel comfortable taking the oath.” 68 RR 107–

09; see also 54 RR 281–82 (female Prospective Juror 47); 60 RR 39 (female

Prospective Juror 89); 71 RR 114–15 (female Prospective Juror 154).

      The State questioned the female jurors it seated similarly. 58 RR 89–91

(female Juror H.M.); 60 RR 171–72 (female Juror R.G.); 61 RR 83–87 (female

Juror M.P.); 72 RR 104–06, 110–12 (female Juror P.B.); 75 RR 163–66, 169–71

(female Juror J.D.); 75 RR 100–03, 112–14 (female Juror C.A.) This



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demonstrates that the disparity was a product of gender and not the seated

jurors’ apparent favorability to the State.

      The State lacked similar skepticism with male prospective jurors, even

those who expressed concerns about the death penalty. For example, seated

male Juror H.B. expressed concern about Texas’s inconsistent application of

the death penalty. 46 RR 152. He also expressed concern about wrongful

convictions as evident from Innocence Project exonerations. Id. at 153, 176–78;

2 Supp. 1 CR 129, 131–32, 135. Moreover, he opined that the death penalty

lacked deterrent effect. 2 Supp. 1 CR 128, 131.

      But the State, after explaining Texas’s capital sentencing scheme, asked

if he understood how the process worked and had questions about it. 46 RR

166–69. This disparity, wherein the State didn’t question a juror who

expressed concern about the death penalty, held true for other male

prospective jurors. Compare 2 Supp. 3 CR 735, 738–40, 743 (Juror I.V.

expressing concerns that innocent people could be death sentenced and that

the death penalty does not deter in most cases) and 2 Supp. 13 CR 3056, 3060

(Juror A.A. describing himself as “hesitant” to return death verdict and that

he does not believe the death penalty deters crime), with 54 RR 35–36 (asking

Juror I.V. if scheme “make[s] sense” and “seem[s] like a fair way to do things”)

and 62 RR 106 (asking Juror A.A. if he understands sentencing scheme and

could apply it).

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             b. Comparison of struck female to seated male jurors
             shows discriminatory intent.

      When struck female prospective jurors are compared to seated male

jurors, the similarities are difficult to ignore. Features that could provide a

gender-neutral reason for the State’s strike of a female prospective juror are

echoed, if not more pronounced, in male jurors who the State did not strike.20

Such side-by-side comparison “is evidence tending to prove purposeful

discrimination.” Miller-El II, 545 U.S.at 241.

      The State struck female prospective jurors who expressed that the death

penalty should be reserved for the most extreme cases. Prospective Juror 67

stated she was in favor of the death penalty under certain conditions and that

it “can’t be taken lightly” because of the punishment’s severity. 58 RR 21. She

expressed, however, that she could give the penalty in some cases, particularly

acts of “cold hearted murder,” multiple murders, and serial murders. 2 Supp 9

CR 2028. She furthered answered that the death penalty was used too

seldomly and believed life without parole (LWOP) was appropriate only where

there were extenuating circumstances or where the accused expressed

remorse. Id. at 2030, 2033.




20 To the extent female jurors’ unfavorable characteristics appear more
pronounced, Mr. Hall asserts that disparate questioning formed the backdrop
for many of these over-pronouncements. Flowers, 588 U.S. at 310.

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      Female Prospective Juror 89 expressed similar views. She described the

death penalty as appropriate for extreme or heinous crimes and crimes where

the defendant lacks remorse. 60 RR 20. In these cases, she opined, society

should refrain from spending tax dollars “to allow them to live better than law

abiding persons living in poverty.” 2 Supp. 11 CR 2678. She described that

“some criminals are convicted of crimes so heinous they do not deserve to

continue living.” Id. at 2679. She also recognized that for “some with mental

health issues,” LWOP would be appropriate. Id. (emphasis added).

      And female Prospective Juror 125 described that, although she had been

raised in an abolitionist country and had been opposed to the death penalty

upon her arrival in the United States, she believed the United States was “the

best country in the world.” 68 RR 88. She further described that “I think if you

want to live in[] a safe and[] effective society and get all the amazing benefits

from being in this great country, then you have to respect the [death penalty]

process.” Id. at 89. She described being “comfortable” answering questions in a

way that would result in a death sentence. Id. at 107–09.

      On the other hand, seated male expressed greater concerns about the

death penalty. Juror H.B. described his issue with capital punishment “in that

Texas historically has a very bad record of how they plan the death penalty”

and described the penalty’s “inconsistent application.” 46 RR 152–53. He



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described that the punishment lacked deterrent effect and was misused in

some counties. 2 Supp. 1 CR 128, 131–32.

      Juror I.V. similarly expressed that he agreed with the death penalty in

“special cases,” 51 RR 37, focusing on those related to drugs, theft, and gangs,

as well as mass murderers, 2 Supp. 3 CR 737. However, he disagreed with the

death penalty for those with mental illness and could “accept” LWOP in those

cases. Id. at 743. Juror I.V. also raised concerns about wrongful convictions,

and about the need to consider a defendant’s background and “special events”

that could trigger “uncontrolled moments in their lives.” 51 RR 46, 48; 2 Supp.

3 CR 739.

      Finally, Juror A.A. described that he would not take the death penalty

decision lightly because “it’s a soul” and the spirit is “sacred.” 62 RR 85–86;

2 Supp. 13 CR 3056, 3068.

      The State conducted limited follow up with these death-hesitant male

jurors before ultimately accepting them onto the jury. They asked Juror H.B.

broadly about “the law of capital murder,” but asked almost no follow-up

questions when Juror H.B. stated that capital punishment was problematic in

some places. See 46 RR 152–53. Instead—and inconsistently with the State’s

questioning of female jurors—the State resolved any concerns with H.B.’s




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responses by suggesting to H.B. that he “just wanted to be sure” of guilt. Id. at

153. 21

          The State asked Juror I.V. only one question about his responses on this

topic, suggesting to Juror I.V. that his responses expressed that he was willing

to keep an open mind about cases where death wouldn’t be appropriate. 51 RR

36–37.

          And the State coached Juror A.A. by suggesting he could apply the death

penalty appropriately, rather than scrutinizing his expressed reluctance. 62

RR 107–08. These efforts stand in stark contrast to the State’s extensive

scrutiny of prospective female jurors.

          The State’s disparate treatment and strikes of female prospective jurors

demonstrate that they impermissibly exercised these strikes based on gender.

Trial counsel’s mistake of law prevented them from raising J.E.B. objections

as the State struck 9 female prospective jurors. Had they done so, his objections

would have been sustained. Alternatively, these objections would have

provided grounds for reversal on direct appeal. Mr. Hall was therefore




21 By contrast, the State asked female prospective jurors numerous questions

about whether they would subject evidence to greater scrutiny. It specifically
did so of those who expressed the need for greater certainty of guilt in a capital
case. E.g., 54 RR 275–79 (female Prospective Juror 47); 68 RR 96–99 (female
Prospective Juror 125).

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prejudiced by trial counsel’s failures in this regard. He is entitled to a new trial

before a jury empaneled without invidious discrimination.

        D. This claim is unexhausted.

      This claim is unexhausted. Mr. Hall anticipates filing a motion to stay

and abey these federal habeas proceedings so that he may return to the state

court to exhaust this and any other unexhausted claims. See Rhines v. Weber,

544 U.S. 269, 278–79 (2005). If the Court determines that this claim is

procedurally defaulted, Mr. Hall can also establish cause and prejudice to

excuse that default. See Coleman v. Thompson, 501 U.S. 722 (1991).


Claim Ten: Alternate jurors participated in deliberations in violation
of Mr. Hall’s Sixth and Fourteenth Amendment rights.

      At the conclusion of guilt-phase proceedings, the jury retired to

deliberate. Per the trial court’s instructions, the two alternate jurors were to

be held in a separate room from the deliberating jury and remain there until

the verdict was reached. They did not do so, but instead entered the jury room

and offered their opinions about Mr. Hall’s guilt. This extraneous influence

upon the jury and resulting verdict denied Mr. Hall his Sixth Amendment right

to a fair and impartial jury as well as due process of law. This claim is

unexhausted.




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       A. Statement of Facts

      Despite the court’s instruction to the contrary, the alternate jurors

participated in and influenced guilt-phase jury deliberations. Following guilt-

phase closing arguments, the trial court identified the two alternates, J.D. and

E.D., then excused the twelve remaining jurors to deliberate. 81 RR 38. The

court then requested that the bailiff escort the two designated alternates to

another room and advised that the court would provide some books or

something else to “occupy some of your time reading” while waiting for the jury

to reach a verdict. Id. at 39. The court advised the alternate jurors to “remain

in that room and keep the door closed” other than using the bathroom but did

not ask a bailiff to remain with either the deliberating jurors or alternates. Id.

at 38–39.

      Heather Montoya, who served as a juror on Mr. Hall’s capital trial,

reports that the two alternates were in fact present in the room while the jury

was deliberating. Ex. 11 at 135 ¶ 4 Moreover, because of the possibility that a

juror would need to be replaced at some point before punishment-phase

deliberations, the jurors asked the alternates to discuss their opinions about

Mr. Hall’s guilt during deliberations. Id. The alternates did so before the jury

rendered their guilt-phase verdict. Id.

      The alternates thereafter remained with the jury over the course of the

three-week punishment phase presentation. The court allowed the alternates

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to go home when the jury retired to begin punishment-phase deliberations,

though it kept them on standby in case they were needed. 100 RR 129–31.

         B. Legal Standard

        The participation by alternates in jury deliberations amounts to an

extraneous influence that violates the Sixth Amendment and the Due Process

Clause. Parker v. Gladden, 385 U.S. 363, 364 (1966). In a criminal proceeding,

participation in deliberations by alternate jurors is presumptively prejudicial.

United States v. Olano, 507 U.S. 725, 739 (1993); see also United States v.

Acevedo, 141 F.3d 1421, 1424 (11th Cir. 1998) (where alternate jurors actually

engage in deliberations, that is sufficient to demonstrate prejudice). Alternate

juror presence in the jury room during deliberations prejudices the accused

where the alternates have “actually participated in the deliberations, verbally

or through ‘body language’” or their presence creates a “‘chilling’ effect” on the

actual jurors. Olano, 507 U.S. at 739.

         C. Argument

        In Mr. Hall’s case, the alternate jurors actually participated in his guilt-

phase     deliberations.   The   alternates’   participation   during   guilt-phase

deliberations is inherently prejudicial. Mr. Hall was entitled to a jury

composed of twelve—not fourteen. Tex. Const. art. 5 § 13; see also Tex. Code

Crim. Proc. art. 36.22; Tex. R. App. Proc. 21.3. Once an alternate opened his or

her mouth to discuss the case during guilt-phase deliberations, it is impossible

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to tell whether “the final verdict did not reflect the independent judgment of

the jurors rendering the verdict, but instead reflected an amalgamation of the

judgments of every juror who participated at some point during the jury’s

deliberations.” Acevedo, 141 F.3d at 1425–26. Because of this violation of both

his Sixth Amendment and Due Process Clause rights, Mr. Hall is entitled to a

new capital trial.

       D. This claim is unexhausted.

      This claim is unexhausted. Mr. Hall anticipates filing a motion to stay

and abey these federal habeas proceedings so that he may return to the state

court to exhaust this and any other unexhausted claims. See Rhines v. Weber,

544 U.S. 269, 278–79 (2005). If the Court determines that this claim is

procedurally defaulted, Mr. Hall can also establish cause and prejudice to

excuse that default. See Coleman v. Thompson, 501 U.S. 722 (1991).


Claim Eleven: Counsel rendered ineffective assistance in violation of
the Sixth Amendment when counsel mistakenly believed that the law
prevented Mr. Hall from pleading guilty.

      Counsel mistakenly believed that Mr. Hall could not plead guilty without

the State’s consent to such. That belief, however, was mistaken. Because trial

counsel mistakenly believed that there was no way around the State’s

extensive guilt-phase presentation, the jury sat through days of largely

unrebutted and graphic testimony and exhibits.


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      This claim is unexhausted.

       A. Statement of Facts

      In the first argument in closing, trial counsel attempted to point jurors

to “the whole story.” 81 RR 30. But counsel had failed to present any guilt-

phase case at all. Counsel did not call any witnesses, did not introduce any

exhibits, and cross-examined just three of the State’s witnesses. Meanwhile,

the State presented 22 witnesses and introduced 308 exhibits. Counsel’s

direction to the jury in argument did not align with their actions at trial

because counsel had prepared no guilt-phase theory of the case.

      The State’s evidence against Mr. Hall was robust. Law enforcement

described a violent crime scene. E.g., 78 RR 127; 79 RR 61, 175–85. The medical

examiner testified to severe wounds. See, e.g., 78 RR 176, 180, 186. The State

showed numerous photographs of the crime scene and of the Shaars’ wounds.

See, e.g., 78 RR 174–77; 79 RR 142–66; 122 RR 33, 35, 47, 51, 53, 55. Mr. Hall

had confessed to the offense. 123 RR 178. But throughout the State’s multi-day

evidence presentation, trial counsel largely remained silent.

      Notably, counsel did not object to Mrs. Shaar’s improper victim-impact

testimony about her three children with Mr. Shaar and their “six healthy,

beautiful grandchildren,” their 50-year marriage, and Mr. Shaar’s Navy career.

80 RR 167, 168–69. Nor did counsel object to the State’s improper argument at



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guilt that Mr. Hall was a future danger because he had allegedly planned to

commit further offenses. 81 RR 134.

      Had Mr. Hall pleaded guilty, it would have prevented the jury from being

exposed to days of unchallenged evidence of a violent offense. Counsel, however,

believed that Mr. Hall could not enter a guilty plea without the State’s consent.

That belief was wrong. Mr. Hall did not need the State’s permission to plead

guilty.

          B. Legal Standard

      Mr. Hall incorporates by reference the legal standard governing

ineffective assistance of counsel claims as set out in Claim Four, supra.

Additionally, “An attorney’s ignorance of a point of law that is fundamental to

his case combined with his failure to perform basic research on that point is a

quintessential example of unreasonable performance under Strickland.”

Hinton v. Alabama, 571 U.S. 263, 274 (2014). Thus, an attorney performs

deficiently when he fails to pursue a strategy because he mistakenly believes

that the law does not permit that strategy. Id. at 274; Williams v. Taylor, 529

U.S. 362, 395 (2000).

      Both the Supreme Court and Fifth Circuit have emphasized that

attorney representation at the plea stage is critical. This is because of the

impact that the decision to accept or decline a plea may have on further

proceedings. See Lee v. United States, 582 U.S. 357, 364 (2017); Lafler v. Cooper,

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566 U.S. 156, 164–65 (2012); Anaya v. Lumpkin, 976 F.3d 545, 552–53 (5th Cir

2020).

         C. Argument

             1. Counsel’s mistake           of   law   constitutes    deficient
                performance.

      Counsel here believed that Mr. Hall could not plead guilty without the

State’s consent in a Texas capital case. This drove the decision to proceed to a

guilt-phase trial. However, this belief was erroneous under CCA precedent

that was well settled before counsel’s appointment in Mr. Hall’s case. See

Fuller v. Texas, 253 S.W.3d 220, 225–27 (Tex. Crim. App. 2008) (rejecting

argument that Tex. Code Crim. Proc. art. 1.13 prohibits guilty plea in capital

case); Williams v. Texas, 674 S.W.2d 315, 318–19 (Tex. Crim. App. 1984).

      Counsel had no theory for this phase. Instead, they just conceded guilt

at voir dire, 44 RR 239, and at opening statement, 78 RR 86. Counsel’s ensuing

silence throughout the State’s guilt case shows that counsel lacked a

comprehensive plan for a cohesive presentation that included both guilt and

punishment. This lack of strategy became apparent during guilt-phase closing

argument, where counsel attempted to provide the jury with information about

“what happened in [Mr. Hall’s] life that laid the path that led him to commit

the acts on October 20th, 2011. 81 RR 28. The State repeatedly objected as

counsel attempted to provide facts not offered in the guilt-phase proceedings.



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Id. at 30–31. In sustaining these objections, the court admonished counsel that

“This is not opening statement at the next phase. . . . This is final argument at

the first phase.” Id. Counsel’s efforts to introduce their punishment-phase

evidence in closing shows they lacked a guilt-phase strategy. And this lack of

strategy was premised on counsel’s ignorance of the law. Because of counsel’s

mistake of law, counsel could not formulate or give effect to any theory of the

case that focused on “an explanation” for the crime. Id. at 29. Counsel’s

ignorance of the law on this “fundamental” issue constitutes deficient

performance. Hinton, 571 U.S. at 274.

             2. Mr. Hall was prejudiced by trial counsel’s mistake of
                law.

      Prejudice is clear-cut. Their deafening silence through the State’s case

shows that counsel had no other theory of the case at guilt. Because of counsel’s

mistaken belief of law and the absence of any other strategy, counsel was

unable to give effect to their theory of the case: that Mr. Hall was guilty but

deserving of a sentence less than death.

      Furthermore, a guilty plea shows acceptance of responsibility, which

provides powerful mitigating evidence. The capital-murder trial of Arturo

Garza provides one recent example of how a guilty plea can affect capital




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sentencing outcomes. 22 And the Supreme Court has emphasized the soundness

of a guilty plea in a capital murder trial as it focuses the jury on sentencing

only. Florida v. Nixon, 543 U.S. 175, 190–91 (2004). Here, the State made

Mr. Hall’s apparent lack of remorse a central theme of its case for death. 100

RR 43 (“Was he remorseful? Was he sorry? No.”). A guilty plea would have

provided powerful rebuttal evidence and undercut much of the State’s case.

      Counsel failed to obviate the State’s graphic case at guilt because they

erroneously believed that Mr. Hall could not plead guilty without the State’s

permission. Counsel’s deficient performance prejudiced Mr. Hall, and he is

therefore entitled to a new trial.

        D. This claim is unexhausted.

      This claim is unexhausted. Mr. Hall anticipates filing a motion to stay

and abey these federal habeas proceedings so that he may return to the state

court to exhaust this and any other unexhausted claims. See Rhines v. Weber,

544 U.S. 269, 278–79 (2005). If the Court determines that this claim is

procedurally defaulted, Mr. Hall can also establish cause and prejudice to

excuse that default. See Coleman v. Thompson, 501 U.S. 722, 750 (1991).




22 Eleanor Dearman, Arturo Garza Sentenced to Life in Prison Without

Parole, CALLER TIMES, March 14, 2019,
https://www.caller.com/story/news/crime/2019/03/14/arturo-garza-gets-life-
killing-pregnant-girlfriend/3162687002/

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Claim Twelve: Counsel’s statement to the jury panel that Mr. Hall
“killed Mr. Shaar” violated Mr. Hall’s Sixth Amendment right to
counsel; counsel did not have Mr. Hall’s consent to concede guilt.
      Counsel’s statement conceded Mr. Hall’s guilt before an impartial jury

had been selected. Because this concession was tantamount to the objectives of

counsel’s representation—whether to maintain innocence or proceed to trial—

counsel’s failure to obtain Mr. Hall’s consent was ineffective assistance in

violation of the Sixth Amendment.

      This claim is unexhausted.

       A.   Statement of Facts

      Mr. Hall incorporates here by reference all facts alleged under Claim

Eleven, supra. Counsel told the jury panel that “Gabriel Hall killed Mr. Shaar

and he badly wounded his wife, Linda Shaar.” 44 RR 239. Counsel emphasized

that this was “the first thing” that they wanted the jury to know. Id. Counsel

thus conceded Mr. Hall’s guilt prior to even selecting a jury. Counsel, however,

acted without Mr. Hall’s consent, thus violating his Sixth Amendment right to

make that fundamental decision about his case.

       B. Legal Standard

      The Sixth Amendment right to counsel includes a defendant’s “right to

make the fundamental choices about his own defense.” McCoy v. Louisiana,

584 U.S. 414, 428 (2018). Indeed, “certain decisions regarding the exercise or

waiver of basic trial rights” are so critical that an attorney cannot make that

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decision for the defendant. Florida v. Nixon, 543 U.S. 175, 187 (2004).

Moreover, “The right to defend is given directly to the accused.” Faretta v.

California, 422 U.S. 806, 819–20 (1975). The Sixth Amendment’s counsel

provision “speaks of the ‘assistance’ of counsel, and an assistant, however

expert, is still an assistant.” Id. at 820. The decision to concede guilt belongs

firmly to the defendant, McCoy, 584 U.S. at 422–23, along with the decision to

plead guilty, forego trial by an impartial jury, and other similar rights, Jones

v. Barnes, 463 U.S. 745, 751 (1983). Counsel may thus not concede a

defendant’s guilt or forego the right to a fair trial by an impartial jury without

at least “consult[ing] with the defendant and obtain[ing his] consent to the

recommended course of action.” Nixon, 543 U.S. at 187.

       C. Argument

      Mr. Hall did not agree to concede guilt to the jury panel. Nor did Mr. Hall

agree to taint the panel and relieve the State of its burden of proof before an

impartial jury could be seated. Upon information and belief, counsel did not

consult with Mr. Hall on these issues at all and acted unilaterally. Counsel

thus failed to fulfill his obligation to both consult and obtain consent from

Mr. Hall before conceding guilt and abdicating Mr. Hall’s right to an impartial

jury. See Nixon, 543 U.S. at 187, 189. In doing so, counsel violated Mr. Hall’s

Sixth Amendment right to counsel. Because counsel’s concession of guilt

violated Mr. Hall’s “Sixth Amendment secured autonomy” to make this

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fundamental decision, this type of error is structural and not subject to

harmless-error or prejudice determinations. McCoy, 584 U.S. at 427.

      In the alternative, should this Court determine instead to evaluate

counsel’s   failure   to   consult   and    obtain   consent   under   Strickland’s

ineffectiveness standard, Mr. Hall can establish deficiency and prejudice.

Counsel had a duty to consult with Mr. Hall and obtain his consent on trial

objectives and critical decisions. See Nixon, 543 U.S. at 187; see also Haynes v.

Cain, 298 F.3d 375, 382 (5th Cir. 2002). Counsel’s failure to do so constitutes

deficient performance.

      As to prejudice, the Cronic framework governs. Because counsel failed to

consult with Mr. Hall about conceding guilt to the jury panel, prejudice is

presumed. See United States v. Cronic, 466 U.S. 648, 659 (1984); Barbee v.

Davis, 728 Fed. App’x. 259, 264 (5th Cir. 2004) (“[T]he Strickland standard

applies to cases in which counsel informs the client of her strategic decision to

concede guilt and focus on the penalty phase.”). Mr. Hall is accordingly entitled

to a new trial.

      Even if Mr. Hall needed to demonstrate prejudice, he could do so here.

Counsel’s ineffectiveness prejudiced Mr. Hall in two ways. First, it tainted the

entire panel and sacrificed Mr. Hall’s Sixth Amendment right to an impartial

jury. When asked whether they had formed an opinion on guilt, several

potential jurors answered during individual voir dire that they had, based on

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counsel’s earlier statement. 70 RR 10; 73 RR 47–48, 193. Second, counsel’s

statement relieved the State of its burden of proof before even the selection of

an impartial jury.

      Counsel’s errors undermined the confidence of the jury’s decisions. And

if counsel had not tainted the jury during voir dire—and undermined counsel’s

own credibility in the process—there is a reasonable probability that the

outcome of the guilt-innocence and/or the punishment phase would have been

different. See Strickland, 466 U.S. at 694; Wiggins v. Smith, 539 U.S. 510, 537

(2003). These factors rendered Mr. Hall’s trial fundamentally unfair, thus

establishing prejudice. See Strickland, 466 U.S. at 686; see also Weaver v.

Massachusetts, 582 U.S. 286, 294-95 (2017).

        D. This claim is unexhausted.

      This claim was not presented to the state court on direct appeal or in

state habeas. Mr. Hall anticipates filing a motion to stay and abey these federal

habeas proceedings so that he may return to the state court and exhaust this

and any other unexhausted claims. See Rhines v. Weber, 544 U.S. 269, 278–79

(2005). Should, however, this Court determine that this claim is procedurally

defaulted, Mr. Hall can establish cause and prejudice to excuse that default

because he is not at fault for the failure to present this claim to the state court.

See Coleman v. Thompson, 501 U.S. 722, 750 (1991).



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Claim Thirteen: Counsel told the jury panel that Mr. Hall was guilty
of capital murder, in violation of Mr. Hall’s Sixth Amendment right to
counsel.
      Trial counsel failed to consult with Mr. Hall about whether to blurt out

his guilt to the jury panel. This failure violated Mr. Hall’s Sixth Amendment

right to counsel.

      This claim is unexhausted.

       A.   Statement of Facts

      Counsel unequivocally stated to the jury panel that Mr. Hall was guilty

of capital murder:

      The first thing I want to do after I introduced our team and Gabriel
      Hall is I want to tell you this: Gabriel Hall killed Mr. Shaar and
      he badly wounded his wife, Linda Shaar.

44 RR 239. The State immediately objected to this statement as a violation of

the court’s in limine ruling prohibiting counsel from expressing any opinion as

to the guilt or innocence of Mr. Hall. 44 RR 239–240; see 10 Amend. CR 2274.

The trial court sustained the State’s objection and warned counsel to not

violate the court’s ruling again. 44 RR 240–42. The trial court further

instructed the jury to disregard counsel’s statement. Id. at 242.

      As made clear by venire members’ later answers on individual voir dire,

counsel’s statement tainted their impartiality. For example, when asked about

their prior knowledge of the case, several venire members answered that they

had no prior knowledge of the case or had not formed an opinion as to

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Mr. Hall’s guilt or innocence until counsel’s statement to the panel that

Mr. Hall was guilty of capital murder and of further attacking the victim’s wife.

70 RR 10 (answering “well, the attorney when we were at the courthouse”);

73 RR 47–48 (answering that had already decided on guilt because of “the

things that were said when we were being picked for the jury – or when we

came to jury duty.”); id. at 193 (answering “there’s already kind of been a throw

out of guilt” based on counsel’s statement, when asked juror whether would

hold State to burden of proof).

      Counsel’s statement that Mr. Hall had “killed Mr. Shaar and [] badly

wounded his wife, Linda Shaar” thus committed venire members to an opinion

on Mr. Hall’s guilt, relieved the State of its burden of proof, and deprived

Mr. Hall of access to a fair trial by an impartial jury.

       B. Legal Standard

      Counsel’s “presence is essential because they are the means through

which other rights of the person on trial are secured.” United States v. Cronic,

466 U.S. 684, 653 (1984). The Sixth Amendment conception of counsel is thus

closely intertwined with the further right to a fair trial by an impartial jury.

Id. at 658 (“the right to the effective assistance of counsel is recognized not for

its own sake, but because of the effect it has on the ability of the accused to

receive a fair trial”); Strickland v. Washington, 466 U.S. 668, 685 (1984) (“Thus,

a fair trial is one in which evidence subject to adversarial testing is presented

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to an impartial tribunal for resolution of issues defined in advance of the

proceedings.”). Counsel plays a critical role in ensuring a defendant’s Sixth

Amendment right to a fair trial by an impartial jury, including through

counsel’s role in jury selection. See Virgil v. Dretke, 446 F.3d 598, 607 (5th Cir.

2006).

      Relatedly, “counsel’s function, as elaborated in prevailing professional

norms, is to make the adversarial testing process work in the particular case.”

Strickland, 466 U.S. at 690; see Cronic, 466 U.S. at 656–57 (“The right to the

effective assistance of counsel is thus the right of the accused to require the

prosecution's case to survive the crucible of meaningful adversarial testing.”).

Indeed, a defendant’s apparent guilt does not relieve counsel of his duty to hold

the State to its burden of proof. Cronic, 466 U.S. at 656-57 n.19 (“Even when

no theory of defense is available, if the decision to stand trial has been made,

counsel must hold the prosecution to its heavy burden of proof beyond

reasonable doubt.”).

      In short, “[t]hat a person who happens to be a lawyer is present at trial

alongside the accused, however, is not enough to satisfy the constitutional

command” of the Sixth Amendment right to counsel. Strickland, 466 U.S. at

685. Where counsel deprives the defendant of the further right to a fair trial

by an impartial jury and entirely relieves the State of any burden, the



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defendant has in effect been deprived of counsel as guaranteed by the Sixth

Amendment.

       C. Argument

             1. Counsel’s statement effectively deprived Mr. Hall of
                counsel in violation of the Sixth Amendment.

      Here, counsel’s statement to the panel that Mr. Hall had “killed

Mr. Shaar and [] badly wounded his wife, Linda Shaar” in effect deprived

Mr. Hall of the effective assistance of counsel in violation of the Sixth

Amendment. Cronic, 466 U.S. at 657 (describing Sixth Amendment violated

where “the [trial] process loses its character as a confrontation between

adversaries”). As made clear by several potential jurors’ opinions that Mr. Hall

was guilty, counsel’s blunt statement tainted the panel and hindered access to

an impartial jury. Counsel’s statement further relieved the State of its burden

of proof and rendered the adversarial process illusory.

      The timing of counsel’s statement—to the panel—exacerbates its effect

on Mr. Hall’s Sixth Amendment right to a fair trial by an impartial jury

especially egregious. Whereas circumstances may arise where counsel may

strategically concede guilt at trial, no such reasoning applies here. Counsel’s

statement that the defendant “killed” the victim and “badly wounded” another

occurred before Mr. Hall’s Sixth Amendment right to an impartial jury was

secured. This concession occurred at a stage of trial which permitted no



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argument and no evidence. Counsel’s actions here cannot be credited as

strategy. Doing so would endorse counsel’s decision to decimate a Mr. Hall’s

Sixth Amendment guarantee to a fair trial by an impartial jury.

             2. Prejudice is presumed because Mr. Hall was in effect
                deprived of counsel.

      Counsel’s statement deprived Mr. Hall of the Sixth Amendment right to

a fair trial by an impartial jury. Counsel further abandoned any pretense to

the adversarial process that is at the heart of our conception of a fair trial.

Mr. Hall was thus deprived of the very “substance” of the Sixth Amendment

right to counsel. Cronic, 466 U.S. at 655. Prejudice is therefore presumed. Id.

at 659.

      Because Mr. Hall was deprived of the right to counsel in violation of the

Sixth Amendment, he is entitled to a new trial.

             3. In the alternative, Mr. Hall can show he was prejudiced.

      If the Court determines that Mr. Hall must establish prejudice from

counsel’s actions, he can do so here. See Strickland, 466 U.S. at 687. Counsel’s

ineffectiveness prejudiced Mr. Hall in two ways. First, it tainted the panel and

harmed Mr. Hall’s access to an impartial jury. When asked whether they had

formed an opinion on guilt, several potential jurors answered during individual

voir dire that they had based on counsel’s statement. 70 RR 10; 73 RR 47–48,

193. Second, and relatedly, counsel’s statement relieved the State of its burden



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of proof before even selecting an impartial jury. Both factors rendered

Mr. Hall’s trial fundamentally unfair, thus establishing prejudice. See

Strickland, 466 U.S. at 686; see also Weaver v. Massachusetts, 582 U.S. 286,

294–95 (2017).

       D. This claim is unexhausted.

      This claim was not presented to the state court on direct appeal or in

state habeas. Mr. Hall anticipates filing a motion to stay and abey these federal

habeas proceedings so that he may return to the state court and exhaust this

and any other unexhausted claims. See Rhines v. Weber, 544 U.S. 269, 278–79

(2005). Because a state court avenue for relief exists, any procedural default of

this claim would be premature. Should, however, this Court determine that

this claim is procedurally defaulted, Mr. Hall can establish cause and prejudice

to excuse that default because state habeas counsel was ineffective for failing

to present this substantial claim for relief. See Coleman v. Thompson, 501 U.S.

722, 750 (1991).


Claim Fourteen: Counsel rendered ineffective assistance of counsel in
violation of the Sixth Amendment in failing to move for a change of
venue based on the effect of pre-trial publicity on potential jurors.

      Trial counsel was ineffective for failing to move for a change of venue

from Brazos County, and Mr. Hall was prejudiced by this failure. See

Strickland v. Washington, 466 U.S. 668 (1984). This was a high-profile, highly


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publicized case in a relatively small community. It should have been

imperative for Mr. Hall’s trial team to have the case moved into a different

venue to secure unbiased jurors. This claim is unexhausted.


          A. Statement of Facts

      This was a high-profile case that had a profound effect on the Brazos

County community, the seat of Texas A&M University. 78 RR 77–79. The

deceased victim, Ed Shaar, was a Navy veteran and retired Texas A&M

professor. 79 RR 19; 80 RR 169; 99 RR 149; 10 Amend. CR 2256. The surviving

victim, Linda Shaar, had been Ed Shaar’s wife for nearly 50 years at the time

of his death. 80 RR 168.

      Mr. Hall’s adoptive mother, Karen Kruse Hall, testified that she

considered herself to be a victim along with the Shaar family. 95 RR 124.

Mrs. Hall’s father, Ed Kruse, is an A&M alumnus and the retired President

and CEO of Blue Bell Creameries. 87 RR 135–36. Mrs. Hall ran an

international mission and adoption agency in Brazos County. 89 RR 15. Her

husband, Wes Hall, was an attorney who had previously served as a justice of

the peace for 12 years. 94 RR 167–68. Wes Hall was also Mr. Hall’s adoptive

father.

      The crime resulted in a “massive” police manhunt. 78 RR 79–80. As

defense counsel described in their opening statement, “This is a case about

pain and fear and anger. This is a case about the pain and fear inflicted on
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Edwin and Linda Shaar.” Id. at 85–86. Counsel further described, “This is

about the ripple effect of that pain and fear and anger that this crime sparked

in their family, in their friends, and in this entire community as a whole.” Id.

(emphasis added). In closing argument, the State emphasized the effects of this

crime on the community. They described that the community had been

“powerless to understand, and to foresee and see what was coming.” 100 RR

107. The State then personalized its message, reminding the jurors that they

each were members of the community, and following the crime, “We were

powerless.” Id. The State then offered a more personal anecdote, “I pulled up

to my house last night. I got out of my car at about 1:00 o’clock in the morning

after getting ready to do this, and the first thing I did was lower my garage

[door].” The State concluded that, “[this event changed our community

forever.” Id.

      The crime’s pervasive impact on the community—which was bombarded

by media coverage—was evident at the start of jury selection. On the first day,

September 27, 2015, the court summonsed 250 potential jurors. 44 RR 15. The

court asked the prospective jurors to complete written questionnaires, which

had questions regarding the publicity they had seen or heard about the case,

as well as their familiarity with persons connected to it. See generally 2 Supp

1–28 CR (completed questionnaires). After the court and counsel conducted



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general voir dire, the court called back potential jurors for individual voir dire

over the ensuing twenty-two days. See generally 46–47, 49–64, 67–76 RR.

      Before individual voir dire began, trial counsel filed a Motion to Conduct

Initial Individual Jury Voir Dire Regarding the Effect of Publicity upon

Deliberations Before Other Questioning. 10 Amend. CR 2256–60. That motion

described the “large amount of publicity and word of mouth discussion about

this case” in the community. Id. at 2256. It requested that the court question

prospective jurors about pre-trial publicity before permitting further voir dire.

Id. at 2257–60. During the first day of individual voir dire, it quickly became

evident that it would be difficult to seat an unbiased jury in Brazos County.

Trial counsel even noted, “I think we have a number . . . large number, Judge,

of people who are going to be potential cause [] challenges” for hearing pre-trial

publicity. 46 RR 22–23. They approximated this number was 12 to 15 of the

first 50 prospective jurors. Id.

      At the next day of individual voir dire—after yet another potential juror

discussed what she had previously heard about the case—the judge sua sponte

stated: “Well, I mean, they [trial counsel] have asked for change of venue here,

and I still have that under advisement.” 49 RR 67. Trial counsel responded, “I




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haven’t actually filed that, but you read our minds.” 23 Id. They further stated,

“I think a change of venue motion might become perfectly ripe in this case if it

continues . . . . We’re in the information-gathering stage of the change of venue.

I can tell the Court if this pattern continues, we are very likely to file that

motion.” Id. at 67–68, 69.

      In the following days and weeks, the court removed for cause a stream

of additional potential jurors who had been biased by pre-trial publicity and/or

were connected to the people and institutions involved in the case. E.g., 50 RR

113–14; 47 RR 64–67; 49 RR 42–43 (pre-trial publicity); 49 RR 60–61

(connection to schools Mr. Hall attended); 50 RR 81 (connection to Texas A&M);

52 RR 8 (connection to the Shaars); 54 RR 57 (connection to judge or

prosecution); 54 RR 226 (connection to Texas A&M); 56 RR 82–85 (connection

to judge or prosecution); 2 Supp. 1 CR 46; id. at 101 (connection to schools

Mr. Hall attended); 2 Supp. 3 CR 707 (connection to the Halls). In fact, the

court had to summons three additional jury panels to attempt to seat twelve

jurors and two alternates. 76 RR 7. But counsel never moved to change venue,

despite this evidence of a continuing pattern, and despite having already

drafted the motion.



23 The  court believed that trial counsel previously stated that they were
“headed in that direction” of filing for a change of venue, though trial counsel
did not confirm this. 46 RR 70–71. No such statement appears on the record.

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       B. Legal Standard

      Mr. Hall incorporates by reference the legal standard for ineffective

assistance of counsel claims set forth in Claim Four, supra, as though set forth

fully herein. Specifically, counsel is deficient for failing to file a motion for

change of venue where a change of venue was warranted and supported in fact

and law. See Kimmelman v. Morrison, 477 U.S. 365, 384–87 (1986).

      In Texas, “[a] change of venue may be granted . . . on the written motion

of the defendant, supported by his own affidavit and the affidavit of at least

two credible persons, residents of the county where the prosecution is

instituted,” where “there exists . . . so great a prejudice against him that he

cannot obtain a fair and impartial trial . . . .” Tex. Code Crim. Proc. art. 31.03

(repealed 2025). When “pretrial publicity is so pervasive and prejudicial as to

create a reasonable probability that an impartial jury cannot be empaneled

even with the most careful voir dire,” “a change of venue is compelled by the

Fourteenth Amendment’s due process clause.” Narvaiz v. Texas, 840 S.W.2d

415, 428 (Tex. Crim. App. 1992) (citing Rideau v. Louisiana, 373 U.S. 723

(1963)).

      A defendant is prejudiced by trial counsel’s failure to seek a change of

venue where, because of counsel’s failure, the defendant proceeds to trial in a

prejudicial atmosphere. Prejudice may be presumed where the record shows

that the trial took place in an inherently prejudicial atmosphere pervaded by

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“vivid, unforgettable information . . . particularly likely to produce prejudice.”

Skilling v. United States, 561 U.S. 358, 384 (2010). Where a jury’s utter

corruption is not obvious, a habeas petitioner may instead show prejudice by

demonstrating that the jurors seated in his case were biased in a manner

attributable to the pre-trial publicity. Moore v. Johnson, 225 F.3d 495, 504 (5th

Cir. 2000).

       C. Argument

              1. Trial counsel was deficient in failing to investigate and
                 file a motion for change of venue.

      Under Texas law, a motion for change of venue was both justified and

necessary in Mr. Hall’s case, and trial counsel were deficient for failing to seek

a change of venue. As evidenced by the written questionnaires and individual

voir dire of the potential jurors, trial counsel would have had no difficulty in

securing the affidavits required under article 31.03 to substantiate a change of

venue motion.

      Trial counsel described themselves as being in the “information-

gathering stage” early during individual voir dire. Nonetheless, counsel

advised that if the “pattern continues,” and a significant number of prospective

jurors advised they were impacted by pre-trial publicity, trial counsel were

“very likely to file that motion.” 49 RR 69. But the pattern did continue; the

court required that multiple additional jury panels be brought in because



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numerous potential jurors had been exposed to pre-trial publicity. 74 RR 115;

76 RR 7, 92. Having seen the extent to which pre-trial publicity biased

potential jurors, counsel should have filed a motion for change of venue during

the individual voir dire process. This motion would have been deemed timely.

See Faulder v. Texas, 745 S.W.2d 327, 338 (Tex. Crim. App. 1987) (noting that

art Tex. Code Crim. Proc. art. 28.01 pre-trial timeliness requirements are

inapplicable to motion for change of venue given constitutional considerations).

Yet, despite this pattern and the court’s remark that a motion for change of

venue was warranted, trial counsel did not file one.

      Changing venue would have enabled counsel to seat a jury in Mr. Hall’s

case that was not biased by pre-trial publicity. Trial counsel had ample basis

to seek a change of venue, and their recognition at trial that they would do so

if the “pattern continues” shows they had no strategic reason for failing to do

so. See Strickland, 466 U.S. at 681.


             2. Mr. Hall was prejudiced by counsel’s failure to litigate a
                change of venue.

      Had Mr. Hall’s counsel filed a motion for change of venue, there is a

reasonable probability that it would have been granted. The court’s sua sponte

comments indicate that it anticipated counsel would be filing such a motion.

49 RR 67. There is a reasonable probability that the motion would have been

granted.


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      At the outset, the size and characteristics of the community from which

the court would summon the jury suggested that it would be difficult to

empanel 12 impartial jurors. See Skilling, 561 U.S. at 382. At the time of trial,

Brazos County had a population of 215,891. 24 The student enrollment at Texas

A&M at the time was roughly 25% of the county’s overall population. 25 A&M’s

physical presence was similarly impactful. Texas A&M’s College Station

campus is one of the largest college campuses in the United States. 26 After Mr.

Hall’s arrest and as his case proceeded to trial, Texas A&M opened its new

baseball complex, sponsored by and affixed with the Blue Bell name. 27 Texas

A&M’s omnipresence—given Mr. Shaar’s ties to the institution, and its own

ties to Karen Hall (who did not support Mr. Hall)—permeated the environment

in which the trial took place.




24 Texas State Library & Archive Commission, Population Estimates for Texas

Counties,      2010-2017:       Arranged      in     Descending           Order,
https://www.tsl.texas.gov/ref/abouttx/popcnty201011.html.
25Texas A&M, Office of Academic and Business Performance Analytics,
Historical Enrollment, https://abpa.tamu.edu/getattachment/d341b8a7-7925-
46b2-9602-6a10ad79cb13/Overall_Enrollment_Historical.pdf.
26     Texas      A&M       University,    History   and       Development,
https://catalog.tamu.edu/undergraduate/general-information/history-
development/ (last visited Jan. 31, 2025).
27      12th     Man        Foundation,        Blue        Bell     Foundation,
https://12thman.com/facilities/blue-bell-park/2 (last visited Jan. 31, 2025).

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      Coverage also included significant details of Mr. Hall’s confession and

“blatantly prejudicial information of the type readers or viewers could not

reasonably be expected to shut from sight.” Skilling, 561 U.S. at 382. The day

after Mr. Hall’s arrest, the front page of the local paper carried his adoptive

father, Wes Hall’s, statements conceding Mr. Hall’s guilt shortly after the

arrest. Ex. 12 at 137–38, Michelle Casady, Teen Jailed in Man’s Death, BRYAN-

COLLEGE STATION EAGLE, Oct. 22, 2011, at A1, A4. 28 Further coverage showed

that Karen and Wes Hall, despite their affluence, were not supporting their

adopted son; they refused to provide funds for his defense and did not appear

at pre-trial proceedings in the case. Ex. 12 143–44, Maggie Kiely, Court

Appoints Lawyer for Hall, BRYAN-COLLEGE STATION EAGLE, Nov. 3, 2011, at

A1, A6. By contrast, the coverage described Mr. Shaar as a “hero,” with one

acquaintance detailing that “he couldn’t have asked for better neighbors” than

the Shaars. Ex. 12 at 137–38, Casady, Teen Jailed, supra at A4. The coverage

further detailed salacious details of the offense—namely that Mr. Hall had

confessed and that he had made efforts to conceal his involvement, both by

denying his role and by covering his fingertips with super glue. Ex. 12 at 139–

40, Rosalee Getterman, Teen Says He Killed CS Man, BRYAN-COLLEGE




28 This and other newspaper articles cited in this claim are included in the

exhibits filed with this petition (for the convenience of the court).

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STATION EAGLE, Oct. 23, 2011, at A1, A4; see also Ex. 12 at 141–42, Maggie

Kiely, Hall Cites “Killer Instinct,” BRYAN-COLLEGE STATION EAGLE, Oct. 28,

2011, at A1, A5 (recounting detailed confession). A week after the homicide,

the local paper’s front page bore a detailed description of Mrs. Shaar’s 9-1-1

call and testimony from the lead detective Kirk Webb describing Mr. Hall’s

“killer instinct.” Ex. 12 at 141–42, Kiely, Hall Cites “Killer Instinct,” supra, at

A1, A5; see also Ex. 12 at 146, Grand Jury Indicts Student, BRYAN-COLLEGE

STATION EAGLE, Dec. 21, 2011, at A7; Ex. 12 at 147, Maggie Kiely, Defense

Wants Delay in Capital Murder Trial, BRYAN-COLLEGE STATION EAGLE, May

3, 2013, at A7. A subsequent front-page headline described Mr. Hall’s “violent

tendencies.” Maggie Kiely, Documents Lay Out Violent Tendencies of Gabriel

Hall, Suspect in Murder Trial, BRYAN-COLLEGE STATION EAGLE, Aug. 25, 2013,

at A1.

         The newspaper also detailed facts not admitted at trial. For example, the

local paper reported that Mr. Hall had sought DNA testing and, in particular,

had sought to test samples to look for sperm—a revelation suggesting that Mr.

Hall had implicated Mr. Shaar in a sexual relationship. Ex. 12 at 160, Maggie

Kiely, Judge Rules on DNA Testing in Murder Case, BRYAN-COLLEGE STATION

EAGLE, Oct. 29, 2013, at A5; see also Ex. 12 at 159, Evidence List Finalized in

Capital Murder Trial, BRYAN-COLLEGE STATION EAGLE, Oct. 5, 2013, at A9.



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      Around the same time, the local paper’s front page detailed that Brazos

County would no longer subscribe to the Regional Public Defender Office

(RPDO) program for representation in capital cases. Ex. 12 at 157, Maggie

Kiely, County Cuts Ties to Public Defender, BRYAN-COLLEGE STATION EAGLE,

Sept. 22, 2013, at A1. The article shared that, as of 2013, trial counsel had

already expended approximately $427,000 in county funds on Mr. Hall’s case,

with one District Judge commenting that he had been “taken off guard by the

enormity” of a similar expenditure in another local RPDO-represented capital

case. Ex. 12 at 157, Kiely, County Cuts Ties, supra at A4; see also Ex. 12 at 155,

Maggie Kiely, Hall Murder Trial Could Be Delayed up to a Full Year, BRYAN-

COLLEGE STATION EAGLE, Aug. 28, 2013, at A1, A8 (detailing “[s]o far, about

$353,000 in county funds has been paid out to the defense in Hall’s case”);

Keily, Documents Lay Out, supra, at A5 (same); Ex. 12 at 151, Maggie Kiely,

Delay Sought in Murder Trial, BRYAN-COLLEGE STATION EAGLE, Aug. 6, 2013,

at A1, A5 (describing depositions conducted in the Philippines to save taxpayer

expense). In summer 2013—well before trial commenced—the local paper

detailed that Mr. Hall’s biological father had been convicted and imprisoned

for murder, and that the State intended to introduce evidence of unadjudicated

offenses that Mr. Hall had supposedly committed. Many of these were not

ultimately admitted during the trial’s punishment phase. See Ex. 12 at 149,



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Maggie Keily, Travel for Hall Trial in the Works, BRYAN-COLLEGE STATION

EAGLE, July 3, 2013, at A1, A7; Keily, Documents Lay Out, supra, at A5.

      Because of the community size and characteristics, the seated jurors

were more likely to be prejudiced against Mr. Hall. See Skilling, 561 U.S. at

382. Jurors M.H. and M.P. had attended Texas A&M. 2 Supp 6 CR 1263;

2 Supp. 12 CR 2783. Juror M.H. also knew District Attorney Jarvis Parsons

from the community and had spoken alongside him at a press conference about

domestic violence. Id. at 1266. Juror R.S. worked at Texas A&M and had done

so for more than a decade. 2 Supp. 4 CR 841. Juror H.B. had worked at A&M

for 18 years until his retirement 8 years prior. 2 Supp. 1 CR 144. Juror H.M.

worked at the same grocery store where Mr. Hall had worked before his arrest.

59 RR 67.

      The jurors in Mr. Hall’s case were so prejudiced by pretrial publicity that

trial counsel’s failures denied Mr. Hall a fair and impartial jury. Seated jurors

had heard about the case from media coverage, and numerous jurors displayed

pre-trial knowledge garnered from the media, but the trial court closed its

inquiry after the juror stated the media would not influence their verdict. For

example, though Juror E.D. professed knowledge of the case from the news,

the information he relayed was inconsistent with the State’s case at trial.

76 RR 25–26. The trial court did question him as to whether he had formed an

opinion about Mr. Hall’s innocence. However, it did not inquire whether he

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would be able to set any inconsistencies aside and rely on the evidence

presented if he later recalled information or found something in the trial

inconsistent with his recall. 29 See id. Similarly, though Jurors M.H. and M.P.

stated that they had formed some opinion about Mr. Hall based on the

information each had read or heard in the media, both jurors believed they

could set those opinions aside. 54 RR 56–57; 61 RR 58–59; 2 Supp 12 CR 2767;

see also 52 RR 27 (Juror R.S. acknowledging prior case knowledge); 2 Supp. 3

CR 737 (Juror I.V. knew about case from TV and websites); 2 Supp. 10 CR 2447

(Juror H.M. read about case); 2 Supp 19 CR 4997 (Juror P.B. reports hearing

about the case on TV); 2 Supp 25 CR 6201 (same for Juror C.A.). But the trial

court failed to admonish these jurors about how to handle conflicts between

the evidence presented and the facts the media had reported.

      The media coverage continued as trial began. 30 See Skilling, 561 U.S. at

383. On the eve of trial, the local newspaper again broadcast the cost of

Mr. Hall’s trial. It detailed that according to the Brazos County Auditor, trial




29 Although the court designated Juror E.D. as an alternate, he nevertheless

participated in guilt-phase deliberations. See Claim Ten, supra.
30 The record reflects that the court provided the jury with a handbook that

contained an admonition to not consult media coverage about the case, 120 RR
10, but the court directed the jurors’ attention to a different section of the
handbook, not including this admonition, and only one time at the outset of the
trial, 87 RR 74.

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counsel had thus far spent nearly $822,000 defending Mr. Hall. Ex. 12 at 161,

Jake Walker, Hall Trial Moving Ahead, BRYAN-COLLEGE STATION EAGLE, July

1, 2015, at A9. And the local newspaper featured a live blog of the proceedings

on its website. See Ex. 12 at 164, Jake Walker, Adoptive Mother Accused,

BRYAN-COLLEGE STATION EAGLE, Sept. 24, 2015, at A1. Other articles

included, for example, information about insult comedian Jeff Ross’s interview

of Mr. Hall and trial counsel’s attempts to suppress it because it purportedly

showed Mr. Hall “‘making light of the crime.’” Ex. 12 at 162, Jake Walker,

Evidence in Question, BRYAN-COLLEGE STATION EAGLE, Aug. 21, 2015, at A7,

A9. Notably, this coverage of Mr. Hall’s statements—which the State sought to

admit during the trial’s punishment phase—was published even before guilt-

phase opening statements. See 78 RR 74 (jury sworn Sept. 8, 2015).

      Trial counsel’s failure to file a change of venue motion prejudiced

Mr. Hall. The pervasive and prejudicial publicity both before and during

Mr. Hall’s trial rendered the trial nothing more than a “hollow formality” in

violation of Mr. Hall’s due process rights. See Rideau, 373 U.S. at 726.

Moreover, information disclosed by jurors during voir dire and press coverage

continuing throughout trial shows that jurors were prejudiced by this media

exposure. Moore, 225 F.3d at 504.




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       D. This claim is unexhausted.

      This claim is unexhausted. Mr. Hall anticipates filing a motion to stay

and abey these federal habeas proceedings so that he may return to the state

court to exhaust this and any other unexhausted claims. See Rhines v. Weber,

544 U.S. 269, 278–79 (2005). If the Court determines that this claim is

procedurally defaulted, Mr. Hall can also establish cause and prejudice to

excuse that default. See Coleman v. Thompson, 501 U.S. 722 (1991).


Claim Fifteen: Trial counsel rendered ineffective assistance when
they failed to adequately consult with and call for the testimony of
retained expert Dr. Ruben Gur.
      Prior to trial, counsel retained Dr. Ruben Gur, a psychologist specializing

in neuroimaging, to review data obtained from testing conducted on Mr. Hall.

Trial counsel’s decision to not call Dr. Gur as a witness at trial was

unreasonable and not the product of a constitutionally adequate investigation.

Mr. Hall was prejudiced by counsel’s failure in this regard.

      This claim was presented in state court as Claim Six in Mr. Hall’s state

habeas petition and adjudicated on the merits. Ex Parte Hall, No. WR-86,568-

01, 2024 WL 467871, at *2 (Tex. Crim. App. Feb. 7, 2024). Mr. Hall can satisfy

section § 2254(d) because the state court’s adjudication resulted in a decision

that was contrary to, or involved an unreasonable application of, clearly




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established federal law and that was based on an unreasonable determination

of the facts light of the state court record.

        A. Statement of Facts

      At the punishment phase, counsel presented the testimony of

Dr. Richard Adler, a clinical and forensic psychiatrist, who had evaluated

Mr. Hall. 86 RR 58. Dr. Adler testified to both the behavioral imaging and

quantitative analysis that Dr. Ruben Gur had conducted. Id. at 65, 66. Because

Dr. Adler had not conducted these aspects of the testing, he consulted with

Dr. Gur to “make sure not only did I understand the findings, but [that] I have

incorporated them and presented them in a way that is accurate and complete.”

Id. at 70. But the record reflects that Dr. Adler spoke with Dr. Gur only one

time and for an hour. SHCR 105. This consultation did not occur until after

Dr. Adler had already testified to Dr. Gur’s conclusions at punishment phase.

See 97 RR 31–57 (Dr. Adler testimony Oct. 2, 2015); SHCR 105.

      Similarly, trial counsel spent a total of one hour consulting with Dr. Gur.

SHCR 103, 105. Counsel’s first call with Dr. Gur was on April 25, 2013, more

than two years before Mr. Hall’s trial. Id. at 103. At the time of this phone call,

Dr. Gur had yet to generate a report. Id. at 95–99, 103. Counsel did not consult

again with Dr. Gur until after they rested at punishment. Id. at 105; 98 RR

129. Even then, trial counsel spent only thirty minutes speaking with Dr. Gur.

SHCR 105.

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      As punishment phase proceedings commenced, trial counsel asserted

that they did not need to present Dr. Gur’s testimony. At this time, trial

counsel had not spoken with Dr. Gur in more than two years, including after

they received his report. See 86 RR 109. Trial counsel maintained that they

only intended to present Dr. Adler because he could sufficiently testify to

Dr. Gur’s conclusions. See id. The State indicated that it would object to

Dr. Adler “being the strawman to get all of Dr. Gur’s data” before the jury. Id.

Trial counsel requested that the State preview whether they would object to

Dr. Adler’s testimony to Dr. Gur’s conclusions. Id. at 112. The record does not

reflect further discussion on this issue; Dr. Adler testified to Dr. Gur’s

conclusions, and the State did not object. See 97 RR 6–100. Having evaded the

potential hearsay objection for which they were braced, defense counsel rested

without calling Dr. Gur. See 98 RR 129.

      In state habeas proceedings, Mr. Hall argued that trial counsel should

have presented Dr. Gur’s expert testimony at the punishment phase. At the

evidentiary hearing on the matter, trial counsel John Wright revealed that

they had retained Dr. Gur despite knowing that the expert had significant

credibility problems and should not testify. SHRR 13, 18–22. Mr. Wright

testified that counsel’s credibility concerns stemmed from: 1) cases from other

jurisdictions where Dr. Gur’s testimony had been found not credible and 2)



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recommendations from his “expert on experts,” Dr. Cecil Reynolds, that Dr.

Gur would not make a good witness. Id. at 11, 18–19, 27–30.

       Despite these concerns, trial counsel chose to retain Dr. Gur. Counsel

used Dr. Adler as the straw man to explain Dr. Gur’s complex algorithmic

mapping and resultant conclusions and withstand cross-examination on these

subjects. And although Dr. Gur’s testing and conclusions were beyond

Dr. Adler’s expertise. SHRR 29–31, 33–34. After Dr. Adler testified to

Dr. Gur’s conclusions without drawing an objection from the State, trial

counsel did not believe there were any lingering concerns as to whether

Dr. Gur’s conclusions had been presented. SHRR 13-14. Counsel rested

without calling Dr. Gur.

        B. Legal Standard

       Mr. Hall incorporates the legal standard governing ineffective assistance

of counsel claims as set forth in Claim Four, supra, and incorporates it here.

        C. Argument

             1. Trial counsel failed to investigate and consider whether
                Dr. Gur’s testimony became necessary as trial unfolded.

       Though courts must defer to trial counsel’s decisions, decisions made

after a less-than-complete investigation “are reasonable precisely to the extent

that   reasonable    professional   judgments   support   the    limitations   on

investigation.” Strickland v. Washington, 466 U.S. 668, 691 (1984). Where

counsel truncates his inquiry down a particular investigative path, this choice
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“must be directly assessed for reasonableness in all the circumstances.”

Strickland, 466 U.S. at 691. Counsel’s decision not to call Dr. Gur (or a

similarly qualified expert) was based on a truncated and deficient

investigation.

      Mr. Wright testified that, following Dr. Adler’s testimony, counsel

decided not to call Dr. Gur in part because they “didn’t want the baggage” of

calling an expert who could be easily impeached. SHRR 14. But trial counsel

was aware when they retained Dr. Gur years earlier that his credibility had

been questioned in other jurisdictions. Id. at 13, 18–22. Despite this

awareness, they did little to explore alternatives. They relied on Dr. Reynolds’s

assessment of Dr. Gur, instead of meeting with Dr. Gur to determine his

effectiveness as a witness. Id. at 27. And because they relied on this

determination at the outset, they made no effort to determine whether they

could call Dr. Gur to testify, if needed.

      Moreover, counsel did not examine whether there were other witnesses

who could conduct the same or similar testing. Nor did they inquire how

Dr. Gur might respond to questions about other jurisdictions’ credibility

findings. See id. at 28 (counsel testifies they did not interview Dr. Gur or get

sense of how he would play to jury). Trial counsel testified that they did not

have concerns about whether Dr. Adler ably covered Dr. Gur’s conclusions. But

counsel could not have known if they should have concerns because they had

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not consulted with Dr. Gur to know the extent of what he could provide. Id. at

13–14; 1 SHCR 103, 105. They thus could not make an informed determination

about how the scope of Dr. Adler’s testimony compared with Dr. Gur’s range of

conclusions. Trial counsel had to keep their fingers crossed that: 1) the State

would not object to Dr. Adler serving as a straw man for Dr. Gur’s conclusions

and that 2) Dr. Adler would be able to convey these conclusions fully and

competently to the jury, and defend them against the State’s cross-

examination. Having succeeded at the former, trial counsel lacked information

to determine the latter. Counsel’s decision not to call Dr. Gur was not the

product of an informed investigation and was therefore deficient.

             2. Mr. Hall was prejudiced by trial counsel’s failures.

      As a forensic psychiatrist, Dr. Adler conducted physical and neurological

evaluations of Mr. Hall. 97 RR 6–8. For neuroimaging, however, he relied on

consultations with other experts who conducted the testing and furnished

Dr. Adler with ultimate conclusions. Id. at 1–32, 51, 123. Dr. Adler had not

conducted similar brain imaging without Dr. Gur’s assistance. Id. at 129. This

meant that Dr. Adler was not only less versed in the scientific foundations of

the testing, but less facile with the results of Mr. Hall’s testing.

      On cross-examination, Dr. Adler’s lack of familiarity with Dr. Gur’s

behavioral imaging and algorithmic mapping became apparent. For example,

when asked which area of the brain was tasked with grip strength (a

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neurological test on which Mr. Hall had scored poorly), Dr. Adler testified that

it was “probably” the pre-central gyrus and drew a circle as to where that

structure was “probably” located on an image of Mr. Hall’s brain. Id. at 123–

24. He was unable to answer questions about which structures are responsible

for empathy and sympathy. Id. at 132. And he was unable to respond to

questions about why a dead fish would show results when subjected to

functional magnetic resonance imaging (fMRI). 31 Id. at 132–33. In closing

argument, the State reiterated Dr. Adler’s lack of expertise to ridicule the

neuroimaging testing, “And in fact, the test that they gave—the one that

Dr. Adler, their expert—the one with the fish brain up here, talked about?” 100

RR 45; see also id. at 46 (“And you know that the MRI that’s done in Texas at

UTMB . . . says that the MRIs are unremarkable”), id. at 117 (same).

      Dr. Adler’s inexperience with conducting and evaluating neuroimaging

results moreover permitted the State to present the jury with a false




31 Unlike a traditional MRI, an fMRI tracks blood flow in various parts of the

brain, thereby showing activity in various parts of the brain. Cleveland Clinic,
Functional                               MRI                            (fMRI),
https://my.clevelandclinic.org/health/diagnostics/25034-functional-mri-fmri
(last visited Jan. 4, 2025). The “dead salmon” study highlights why researchers
should use statistically valid models to eliminate background noise from fMRI
results. See Mun Keat Looi, A Deep Flaw Has Been Discovered in Thousands
of Neuroscience Studies. So Why Aren’t Neuroscientists Freaking Out? QUARTZ,
https://qz.com/725746/a-deep-flaw-has-been-discovered-in-thousands-of-
neuroscience-studies-so-why-arent-neuroscientists-freaking-out.

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interpretation of Dr. Gur’s data. In response to cross-examination, Dr. Adler

testified that the activity shown on a positron emission tomography (PET) scan

of Mr. Hall’s brain may indicate that Mr. Hall was thinking about killing

people to relax himself. 97 RR 133. That the frontal lobe, rather than the

pleasure-seeking portion, of the brain fluoresced during this testing

demonstrates that Dr. Adler’s testimony was inaccurate. See id. at 64. Were

Mr. Hall fantasizing about killing people, the pleasure-seeking area of the

brain—the amygdala—would be fluorescing. See, e.g., 11 Amend. CR 2550.

      The State also used Dr. Gur’s absence to denigrate the foundations of the

behavioral imaging conducted. The State asserted that Dr. Gur’s testing was

only supported by “three articles that say it’s good,” and that all the supporting

articles were authored by Dr. Gur himself. 97 RR 128. The State then used this

to argue in closing that Dr. Gur’s imaging lacked any scientific basis. 100 RR

116 (“[T]his isn’t some super special thing. This is taking what Dr. Nussbaum

said was subtle signs and what Dr. Price said is totally normal and putting

colors to it to make it look: Whoa, what’s going on?”), id. at 117 (“This is not

some earth-shattering science. And if it was, you would have heard from

Dr. Gur.”). Trial counsel’s failure to call Dr. Gur at trial thus prevented the

jury from understanding the significance of the analysis he had conducted and

failed to refute the State’s denigration of the analysis. Mr. Hall is thus entitled

to a new punishment phase.

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       D. The Court can review the merits of this claim de novo.

      Mr. Hall raised this claim as Claim Six in his state habeas application.

SHCR 73–80. The trial court ordered a hearing on this claim, and Mr. Hall

called trial counsel John Wright and Jim Drummond to testify. SHRR 7, 75.

Following this hearing, the trial court recommended the claim be denied, and

the CCA denied relief. Ex Parte Hall, 2024 WL 467871, at *2.

      28 U.S.C. § 2254(d) deference does not apply to this claim because the

state court did not afford Mr. Hall a full and fair opportunity for review. See

Panetti v. Quarterman, 551 U.S. 930, 952 (2007). Following his hearing

testimony, Mr. Wright approached the court, reminded it that he intended to

seek appointment in capital cases in that very same court, and asked it to keep

him in mind when making such appointments. 2 SHRR 30. Such statements,

on the heels of Mr. Wright’s testimony, and juxtaposed with Texas Code of

Criminal Procedure article 26.052 (which requires counsel be removed from

the list of those eligible for capital-case appointments upon a finding of

ineffectiveness), “inherently creates an incentive for a trial lawyer to misstate

what his motivations and actions were at the time of a trial if that lawyer

desires further appointment.” 2 SHRR 10. As Mr. Wright’s statements during

the state habeas hearing and to the trial court following his testimony

demonstrate, he would not—and arguably could not—be forthcoming when

responding to allegations of his ineffectiveness. Because this conflict impacted

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the evidence that could be adduced at the state habeas hearing, Mr. Hall is

entitled to de novo review of this claim.

      Although this claim was adjudicated on the merits, Mr. Hall can meet

both § 2254(d)(1) and § 2254(d)(2). He can meet § 2254(d)(1) because the state

court adjudication resulted in a decision that was contrary to, or involved an

unreasonable application of, clearly established federal law. Hinton v.

Alabama, 571 U.S. 263 (2014); Rompilla v. Beard, 545 U.S. 374 (2005);

Strickland, 466 U.S. 668. He can also meet § 2254(d)(2) because the state

court’s decision is based on an unreasonable determination of the facts based

on the record before it.


Claim Sixteen: Mr. Hall’s death sentence violates the Eighth and
Fourteenth Amendments because science and statistics show that the
future-dangerousness assessment is fundamentally unreliable.

      Texas is the only state to espouse a future-dangerousness assessment as

part of its death-penalty scheme. 32 However, this future dangerousness

determination injects arbitrariness and unreliability into capital sentencing in

violation of the Eighth and Fourteenth Amendments. This claim was raised as




32 In 2019, Oregon removed future dangerousness from its capital sentencing

scheme, striking language identical to Texas’s future-dangerousness provision
from the Oregon statute. See OR. REV. STAT. 163.150(1)(b)(B) (amended Sept.
29, 2019).

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Claim Six on direct appeal, but the CCA declined to adjudicate it on the merits.

This Court can therefore review this claim de novo.

       A. Statement of Facts

      Additional evidence since the Supreme Court’s decision in Barefoot v.

Estelle, 463 U.S. 880 (1983), establishes that it is functionally impossible for

the adversarial process to meaningfully assess future dangerousness. Studies

show error rates as high as 90 to 95% in Texas future dangerousness

assessments. Carla Edmondson, Nothing is Certain But Death: Why Future

Dangerousness Mandates Abolition of the Death Penalty, 20 LEWIS & CLARK L.

REV. 857, 898 (2016); Jaymes Fairfax-Columbo & David DeMatteo, Reducing

the Dangers of Future Dangerousness Testimony: Applying the Federal Rules of

Evidence to Capital Sentencing, 25 WM. & MARY BILL RTS. J. 1047, 1060 (2017);

Jessica L. Roberts, Note, Futures Past: Institutionalizing the Re-Examination

of Future Dangerousness in Texas Prior to Execution, 11 Tex. J.C.L. & C.R. 101,

121 (2005) (citations omitted). And actuarily, there are very low rates of

expected violence for Texas inmates convicted of capital murder and serving

life sentences. See Jonathan R. Sorensen & Rocky L. Pilgrim, An Actuarial

Risk Assessment of Violence Posed by Capital Murder Defendants, 90 J. CRIM.

L. & CRIMINOLOGY 1251, 1261, 1264 (2000) (overall likelihood of inmate-on-

inmate homicide 0.02% and likelihood of aggravated assault on a correctional

officer at 0.1%). Together, these studies show that actual instances of future

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dangerousness are rare; correspondingly, it is virtually impossible to

accurately predict them.

      Unsurprisingly, the future-dangerousness inquiry generates a lot of false

positives; predictions regularly misidentify non-dangerous defendants as

dangerous. One study examined the prison conduct of 155 Texas inmates

convicted of capital murder, where State experts had testified to their violent

propensities at trial. John F. Edens et al., Predictions of Future Dangerousness

in Capital Murder Trials: Is it Time to “Disinvent the Wheel?,” 29 L. & HUM.

BEHAV. 55, 61 (2005). Of these 155, 65 had been executed by the time of the

study, 42 remained on death row, and 48 were no longer on death row. 33 Id. Of

the 155, none committed homicide in prison, and only 8 (5.2%) had committed

a serious assaultive act. Id. at 62. The overwhelming majority had only minor

infractions, and over 20% had no write-ups at all. Id. at 62–63; see also Brittany

Fowler, A Shortcut to Death: How the Texas Death-Penalty Statute Engages the

Jury’s Cognitive Heuristics in Favor of Death, 96 TEX. L. REV. 379, 383–85

(2017).

      Another study compared 92 former Texas death-row prisoners (who later

became general population inmates) to other capital-murder defendants who




33 Of these, 2 were exonerated, and the remaining were resentenced to life or

a term of years in prison. Edens et al, supra at 61 n.10.

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were sentenced to life. Inmates originally sentenced to death were no threat to

institutional order; they had a slightly lower rate of assaultive misconduct than

those never deemed a future danger. And the former death row inmates’ rate

of violent prison misconduct was lower than that of the general prison

population. See James W. Marquart, Sheldon Ekland-Olson & Jonathan

Sorensen, Gazing into the Crystal Ball: Can Jurors Accurately Predict

Dangerousness in Capital Cases?, 23 L. & SOC’Y REV. 449, 461 (1989).

      Additional studies show that jurors cannot meaningfully distinguish

which defendants will pose a future danger from those who will not. The first

study tracked 72 male federal capital defendants whose trials involved a jury

finding about likely future violence. Mark D. Cunningham, Jon R. Sorensen &

Thomas J. Reidy, Capital Jury Decision-Making: The Limitations of

Predictions of Future Violence, 15 PSYCHOL. PUB. POL’Y & L. 223, 232–34

(2009). Jurors labeled 34 of these defendants “future dangers.” Id. at 234. Yet

those defendants and the 38 not so labeled had virtually identical rates of

subsequent violence. Id. at 236 (Table 3). In other words, juror speculation was

wrong 97% of the time. Id. at 240; see also Edmondson, supra, at 910–11. A

second study examining 115 Oregon inmates convicted of capital murder

similarly found that the death sentenced had identical violence rates (5.9

incidents per year per 100 inmates) to capital offenders sentenced to life.

Thomas J. Reidy, Jon R. Sorensen & Mark D. Cunningham, Probability of

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Criminal Acts of Violence: A Test of Jury Predictive Accuracy, 31 BEHAV. SCI.

L. 286, 292–98 (2013); see also Edmondson, supra, at 908–10.

       B. Legal Standard

      The Supreme Court sanctioned the modern-era Texas death penalty

statute in Jurek v. Texas, 428 U.S. 262 (1976). There, the Court found that the

fact that a future-dangerousness “determination is difficult, however, does not

mean that it cannot be made.” Id. at 274–75. Seven years later, the Supreme

Court remained unconvinced that future-dangerousness determinations were

so unreliable that their use in capital sentencing determinations violated the

Eighth Amendment. Barefoot, 463 U.S. at 899–902.

      Because the death penalty is “different in kind from any other

punishment imposed under our system of criminal justice,” it cannot be

imposed under sentencing procedures that create a substantial risk that it will

be inflicted “in an arbitrary and capricious manner.” Gregg v. Georgia, 428 U.S.

153, 188 (1976). To guard against this, the Supreme Court has established that

accurate sentencing information is indispensable “to a reasoned determination

of whether a defendant shall live or die by a jury of people who may never

before have made a sentencing decision.” Id. at 190. The sentencer has “a vital

need for accurate information about a defendant and the crime he committed

in order to be able to impose a rational sentence in the typical criminal case.”

Id. (emphasis added).

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       But the Supreme Court’s decision in Gregg must be understood in

conjunction with its later ruling in Barefoot. The Barefoot Court considered

whether psychiatrists, who struggle to reliably predict future dangerousness,

may opine on this factor in a capital trial. 463 U.S. at 898–903, 905–06. The

justices concluded that expert future-dangerousness predictions appear

accurate about one-third of the time. See id. at 899-901 & n.7. The Court

ultimately affirmed the lower court’s holding that this future-dangerousness

testimony was admissible because, “at least as of now,” the adversarial process

could be trusted “to sort out the reliable from the unreliable evidence.” Id. at

901.

        C. Argument

       The demonstrable inaccuracy and random application of future-

dangerousness    determinations     in     capital   sentencing   renders   them

unconstitutional. As the only state requiring a future-dangerousness

assessment as part of its death-penalty scheme, Texas’s sentencing procedures

create a substantial risk that death will be inflicted in an arbitrary and

capricious manner. Jurors cannot accurately predict who will pose a future

danger in a prison setting. Cunningham, et al, Capital Jury Decision-Making,

supra at 233–39; Reidy et al, Probability of Criminal Acts of Violence, supra at

296–300. The choice of whether the jury will find the accused to be a future

danger results in the capricious death-sentencing of defendants in a manner

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that is cruel, unusual, and violative of the Eighth Amendment. See Furman v.

Georgia, 408 U.S. 238, 309–10 (1972) (Stewart, J., concurring) (“The

petitioners are among a capriciously selected random handful upon whom the

sentence of death has in fact been imposed.”).

      This growing body of evidence further indicates that—contrary to the

Supreme Court’s belief in Barefoot—the adversarial process fails to sort out

this unreliable evidence. And the numbers have worsened since Barefoot;

jurors correctly assess future dangerousness as rarely as 5% of the time. E.g.,

Edmondson, supra, at 898. Texas’s sentencing statute, which expressly focuses

juror deliberations on future dangerousness in capital cases, see Tex. Code

Crim. Proc. art. 37.071 § 2(b)(1), amplifies the risks of unreliability. Texas’s

outlier status in this regard underscores this factor’s unreliability. See Penry

v. Lynaugh, 492 U.S. 302, 339–40 (1989) (listing other states’ rejections of

“mental age” sentencing consideration as evidence of unreliability); Lockett v.

Ohio, 438 U.S. 586, 604–05 (1978) (examining “wide acceptance” of

individualized sentencing in other states as evidence of reliability). This cannot

comport with Eighth Amendment standards of heightened reliability.

      Nor is the future-dangerousness special issue protected by its

similarities to other dangerousness assessments, such as those used for pre-

trial detention or involuntary mental commitments. The balance the Barefoot

Court struck in sanctioning future-dangerousness assessments in the capital

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context could not account for these newer studies demonstrating abject

unreliability. 463 U.S. at 897–98 (citations omitted).

      Against this new backdrop of unreliability, comparisons with other

contexts in which future dangerousness is assessed lose much of their value.

Both pre-trial detention and involuntary commitment proceedings focus on

current not speculative future dangerousness. United States v. Salerno, 481

U.S. 739, 744, 748 (1987); United States v. McKown, 930 F.3d 721, 728 (5th

Cir. 2019) (citing 18 U.S.C. § 4246(d)).

      And    both    are   temporary    assessments—the      pre-trial   detention

evaporates when the criminal case is adjudicated, and an involuntary

commitment ceases where the rationale for such measures cease to exist.

O'Connor v. Donaldson, 422 U.S. 563, 574–76 (1975). Moreover, an

involuntarily committed person “has the right to treatment, periodic review of

his condition, and immediate release when no longer deemed to be a danger to

himself or others.” Addington v. Texas, 441 U.S. 418, 422 (1979) (citing Texas

v. Turner, 556 S.W.2d 563 (1977)). By contrast, because the death penalty is

different in finality from both other contexts, “there is a corresponding

difference in the need for reliability.” Woodson v. North Carolina, 428 U.S. 280,

305 (1976). The now-known inherent unreliability of future dangerousness

cannot be reconciled with the Eighth Amendment’s dictates applicable to death

penalty proceedings.

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         D. The Court can review the merits of this claim de novo.

        Mr. Hall raised this claim as Claim Six on direct appeal. In its review of

Mr. Hall’s direct appeal, the CCA declined to rule on the merits of Mr. Hall’s

claim on the ground that the issue should be resolved by the Legislature. Hall

v. Texas, 663 S.W.3d 15, 38 (Tex. Crim. App. 2021) (“The normative character

of the future-dangerousness special issue means that concerns over its

predictive accuracy ‘should be addressed to the Legislature’ rather than this

Court.” (citations omitted)). Because the CCA dd not adjudicate this claim on

the merits, § 2254(d) does not apply, and the Court can review this claim de

novo.

        In the alternative, should the claim be deemed to have been adjudicated

on the merits, Mr. Hall can meet both § 2254(d)(1) and § 2254(d)(2). He can

meet § 2254(d)(1) because the state court adjudication resulted in a decision

that was contrary to, or involved an unreasonable application of, clearly

established federal law. See Woodson, 428 U.S. 280; Gregg, 428 U.S. 153. He

can also meet § 2254(d)(2) because the state court’s is decision is based on an

unreasonable determination of the facts based on the record before it.


Claim Seventeen: Mr. Hall’s jury was unconstitutionally instructed
that it should not consider mitigation lacking a nexus to the crime.

        The trial court instructed Mr. Hall’s jury that it could only consider

“evidence that a juror might regard as reducing the defendant’s moral

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blameworthiness” in determining whether there were “sufficient mitigating

circumstances” to justify a life sentence. 15 Amend. CR 3466–67. This “moral

blameworthiness” language is mandated by Texas Code of Criminal Procedure,

article 37.071 § 2(f)(4) (§ 2(f)(4)). In Mr. Hall’s case, the State seized upon this

language to argue that any mitigation had to relate to the commission of the

capital crime. This statutory language was unconstitutionally applied in Mr.

Hall’s case in violation of the Eighth Amendment. Specifically, the State’s voir

dire questioning and argument informed jurors that, pursuant to § 2(f)(4), they

could not consider any mitigating evidence divorced from the offense. Tennard

v. Dretke, 542 U.S. 274 (2004). Mr. Hall raised this claim as Claim Twelve on

direct appeal and it was adjudicated on the merits. Mr. Hall can satisfy

§ 2254(d) and is entitled to de novo review of this claim.

        A. Statement of Facts

      In discussing mitigating evidence during voir dire, the State repeatedly

drew prospective jurors’ attention to § 2(f)(4)’s “moral blameworthiness”

language and linked it to mitigation tied to the offense. See, e.g., 46 RR 165; 47

RR 27. Repeatedly, the State tied “mitigation” to the charged offense via a

scenario in which a hypothetical defendant kills a man who assaulted his

daughter. For example, purportedly to “highlight how that [the moral

blameworthiness instruction] would work,” the State offered this illustration:

      [T]here’s a gentleman who’s 40 years old. Worked his whole life.

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      Never had a problem. He has one daughter. She’s his world. And
      he goes to work every day to put food on [the] table, and he comes
      home and finds that his daughter is near death’s door. He finds
      her on death’s door . . . brutally attacked, raped by three men.
      Takes her to the hospital. And in brief moments of consciousness,
      she’s able to identify who those three men [are]. As soon as he
      knows she’s stable, he goes home.

      And right then he in his mind knows absolutely what he’s doing.
      He gets his gun. So this is a premeditated act. He gets his gun. He
      goes straight to the first guy’s house. He kicks in the door and he
      shoots him dead.

      And as he reloads the gun, he walks out the door, gets in his car,
      headed to the second house, okay? Right then the police stop him.

51 RR 32–33; see also 53 RR 30-32, 134–36; 56 RR 35–37.

      The analogy improperly implied the precise “nexus” requirement

repudiated in Tennard. The putative mitigating circumstance (the defendant’s

rage and grief) bore a direct causal connection to the murder. Citing Tennard,

trial counsel objected to the State’s repeated use of the same hypothetical. 50

RR 38–47; 51 RR 32, 56; 52 RR 44. The trial court permitted the State to

continue using this hypothetical but granted the defense a running objection.

46 RR 47–49.

      At punishment, the State continued to urge that evidence only mitigated

when it had a nexus to the crime. In examining its primary mental-health

expert Dr. Proctor, for example, the State questioned whether, with respect to

of Mr. Hall’s background, Dr. Proctor “[c]ould . . . find any connection between

the Philippines and Ed and Linda Shaar?” 99 RR 142. The State similarly

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asked Dr. Proctor whether, in his overall evaluation of Mr. Hall’s mental

health, he had found “any connection at all with Ed and Linda Shaar in this

entire case?” I d. at 142; see also, e.g., id. at 110–11 (pointing out, through Dr.

Proctor, that while evaluation disclosed Mr. Hall had some “personality issues,”

those “issues” suggested no “reason somebody would commit a murder like

this”).

          Most significantly, the State urged this nexus requirement in

characterizing Mr. Hall’s mitigation presentation. They asked Dr. Proctor

whether, assuming Mr. Hall had post-traumatic stress disorder (PTSD), he

had “see[n] anything [in evaluating Mr. Hall] that would lead you to believe

that there was some triggering event at that Shaar residen[ce] that created . . .

Was there a trigger here where he was reliving a flashback or something like

that?” 99 RR 143 (emphasis added). This questioning clearly communicated to

the jury that, even if they agreed with the defense mental-health experts that

Mr. Hall suffered from PTSD, they should not consider that disorder a basis for

sparing his life unless it could be tied directly to the attack on the Shaars.

      Trial counsel objected to the “moral blameworthiness” instruction—both

pre-trial and again at the punishment phase—as violating Tennard. Counsel

argued that it rendered jurors likely to disregard aspects of the case in

mitigation for Mr. Hall where such evidence was not offered to excuse the

crime. 16 Amend. CR 3428. The statutory language tying “blameworthiness”

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to which mitigating evidence the jury may consider at sentencing “encourages,

if it does not require the jurors to disregard evidence unrelated [to] the instant

offense.” Id.

      At punishment-phase closing argument, the State pressed this

“blameworthiness” language to urge the jury not to consider evidence lacking

a direct connection to the crime. The State reminded the jury about mitigation

hypotheticals that it had offered at voir dire as examples of those that “decrease[] moral

blameworthiness,” specifically identifying, “[i]f it’s a crime of passion,” when

“emotion takes over” and “a fit of rage” causes violence. 100 RR 39–40.

      Again, the State urged jurors to consider mitigating evidence alongside

the circumstances of the offense by asking “[w]hat circumstance drove him to

this?” id. at 41. Against this backdrop, the State pressed the jury to find “there

are none,” (i.e., mitigating circumstances) because Mr. Hall never said, “Karen

Hall is the reason why I did this.” Id.; id. at 42 (neither “anger” nor a “rage

problem” triggered the crime against the Shaars); id. at 52 (arguing that

Mr. Hall’s traumatic background in the slums of the Philippines “is not

sufficient mitigation” because “if it was, then all of them [who endured similar

experiences] would be going around hurting people,” i.e., the experience would

have had the same causal impact on their behavior).

      In summing up its initial closing argument, the State offered a strikingly

clear example of mitigation as requiring a causal link to the crime. It argued

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that “the answer to [the mitigation special issue] is that there is nothing

sufficient to warrant what he did to Ed Shaar, and there’s nothing sufficient to

warrant what he did to Linda Shaar.” 100 RR 54 (emphasis added). The State’s

final summation returned to the theme that Mr. Hall’s alleged mitigating

circumstances failed to show a “line between Gabriel Hall and Ed and Linda

Shaar. There is not a line. There’s not a connection.” Id. at 118. And the State

further urged the jury to not consider evidence of Mr. Hall’s upbringing

because it “doesn’t answer Ed and Linda Shaar; . . . [Mr. Hall] has never once

said that that had anything to do with Ed and Linda Shaar, and [the defense’s]

experts even admit [it].” Id. at 120. In short, the State made clear to the jury

that it should confine its review of mitigation only to evidence linked directly

to the offense: “This is he is a future danger, but then you go back and you look

at this and you say: Is there mitigation? And it is based on this crime. The

question is: How do we sentence the Defendant in this crime?” Id. at 117.

       B. Legal Standard

      A State must not prohibit “the sentencer from considering any relevant

mitigating evidence that the defendant proffers in support of a sentence less

than death . . . . [V]irtually no limits are placed on the relevant mitigating

evidence   a   capital     defendant   may    introduce    concerning    his   own

circumstances.” Tennard, 542 U.S. at 285 (internal citations, parallel citations,

and internal quotation marks omitted). The question for an as-applied

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statutory challenge is thus “whether there is a reasonable likelihood that the

jury instructions,” in the context of the entire trial, “precluded the jury from

giving full consideration and full effect to the defendant’s mitigating evidence.”

Nelson v. Quarterman, 472 F.3d 287, 315–16 (5th Cir. 2006); see also

Sandstrom v. Montana, 442 U.S. 510, 514 (1979) (“for whether a defendant has

been accorded his constitutional rights depends on the way in which a

reasonable juror could have interpreted the instruction”). In Tennard, the

Supreme Court rejected the Fifth Circuit’s nexus-to-the-crime test used to

define “constitutionally relevant mitigating evidence.” 542 U.S. at 289, 281

(internal quotation marks omitted).

      A claim that the State precluded the jury from giving “full effect to a

capital defendant’s mitigating evidence” is not subject to harmless error

analysis. Nelson, 472 F.3d at 314; accord Johnson v. Texas, 509 U.S. 350, 367

(1993). Nor may an appellate court “substitute its own moral judgment for a

moral judgment that the jury was unable to make.” Nelson, 472 F.3d at 315.

Instead, because this error “deprives the jury of a vehicle for expressing its

reasoned moral response to the defendant’s background, character, and crime,

which precludes it from making a reliable determination that death is the

appropriate sentence,” a defendant so harmed is entitled to a new punishment-

phase proceeding. Id. at 314–15 (internal citations and quotation marks

omitted).

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       C. There is a reasonable likelihood that Mr. Hall’s jury
          understood the scope of mitigation to be limited to evidence
          with a nexus to the crime.

      Mr. Hall’s challenge that § 2(f)(4) was unconstitutionally applied in his

capital trial is cognizable within this Circuit’s precedent upholding the general

constitutionality of the “blameworthiness” language. 34 See Nelson, 472 F.3d at

294; Franklin v. Lynaugh, 487 U.S. 164, 184–185 (1988) (O’Connor, J.,

concurring in judgment) (although Jurek held Texas statute facially

constitutional, as applied challenge remains available). And it is reasonably

likely—given the State’s arguments from nose to tail urging the jury to

discount any mitigating evidence not directly tied to the offense—that the jury

believed itself precluded from considering the bulk of the mitigation case

presented.

      Section 2(f)(4)’s plain language requires jurors to consider mitigating

evidence where “a juror might regard [the evidence] as reducing the

defendant’s moral blameworthiness.” Tex. Code Crim. Proc. art. 37.071

§ 2(f)(4). As the Fifth Circuit has described, that language is further modified

by § 2(e)(1)’s delineation that jurors may consider “the circumstances of the




34 The Fifth Circuit has previously rejected facial attacks to Texas's definition

of mitigating evidence. See, e.g., Hummel v. Davis, 908 F.3d 987, 994 (5th Cir.
2018); Rockwell v. Davis, 853 F.3d 758, 763 (5th Cir. 2017); Blue v. Thaler, 665
F.3d 647, 666 (5th Cir. 2011).

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offense, the defendant’s character and background, and the personal moral

culpability of the defendant.” Blue, 665 F.3d at 665 (citing Texas Code Crim.

Proc. art. 37.071 § 2(e)(1)). But the balance to be struck between these two

provisions is weighted by the moral blameworthiness language of § 2(f)(4).

“Moral” is generally understood to connote the choice between “good and bad

conduct” or “right and wrong behavior.” Moral, Black’s Law Dictionary (12th

ed. 2024) (emphasis added). Black’s Law Dictionary similarly defines “blame”

as akin to culpability or responsibility. Blame, id. “[C]areful attention to the

words actually spoken to the jury” shows that § 2(f)(4) centers on culpability.

See Sandstrom, 442 U.S. at 514.

      The State relentlessly pressed its interpretation throughout trial. It

specifically argued that Mr. Hall’s trauma in the Philippines, his mental

illness, and the abuse he experienced in his adopted family were insufficiently

connected to the commission of the crime to be considered as mitigation. 99 RR

142 (background); id. at 142–43 (mental illness); 100 RR 41, 51-52, 120

(emotional abuse in adopted family). Alongside § 2(f)(4)’s at-best-ambiguous

moral blameworthiness language, the State’s arguments that the jury should

disregard non-nexus evidence in mitigation “carried with it the imprimatur of

the Government” and increased the likelihood that the jury “trust[ed] the

Government’s judgment rather than its own view” of what the law required.

United States v. Young, 470 U.S. 1, 18–19 (1985). And the jury did not receive

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a written instruction that the language of the jury charge should govern over

the State’s arguments. 15 Amend. CR 3465–69. Together these circumstances

sent a message to the jury that the bulk of Mr. Hall’s mitigation case was

beyond their consideration. In other words, it is reasonably likely that

Mr. Hall’s jury believed that a nexus limitation existed here, given the

prosecutor’s arguments. See Tennard, 542 U.S. at 288–89 (finding likelihood

that jury misunderstood law, stressing that “the prosecutor’s comments

pressed exactly the most problematic interpretation of the special issues”).

Thus, Mr. Hall’s Eighth Amendment rights under Tennard were violated.

      Thus, the conclusion that there is a reasonable likelihood that Mr. Hall’s

jury understood the law to restrict the scope of mitigation it could consider

ends the inquiry into the Eighth Amendment violation. Mr. Hall is thus

entitled to a new punishment phase.

       D. This Court can review the merits of this claim de novo.

      Mr. Hall raised this claim as Claim Twelve on direct appeal and it was

adjudicated on the merits. See Brief of Appellant at 169-79, Hall v. Texas, No.

AP-77,062 (Tex. Crim. App. July 8, 2019); Hall v. Texas, 663 S.W.3d 15, *43

(Tex. Crim. App. July 23, 2019). Although the state court adjudicated this

claim on the merits, Mr. Hall can meet both § 2254(d)(1) and § 2254(d)(2). He

can meet § 2254(d)(1) because the state court adjudication resulted in a

decision that was contrary to, or involved an unreasonable application of,

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clearly established federal law. See Tennard, 542 U.S. 274 (2004). He can also

meet § 2254(d)(2) because the state court’s is decision is based on an

unreasonable determination of the facts based on the record before it.

                          PRAYER FOR RELIEF

      WHEREFORE, Gabriel Paul Hall, requests that this Court consider his

Petition for Writ of Habeas Corpus and grant the following remedies and such

other relief as the Court deems appropriate:

   1. Issue a writ of habeas corpus to have him brought before it, to the end

      that he may be discharged from his unconstitutional confinement and

      restraint and be relieved of his unconstitutional sentence of death;

   2. Allow Mr. Hall leave to conduct discovery pursuant to Rule 6 of the Rules

      Governing 28 U.S.C. § 2254 Cases to more fully develop the factual bases

      demonstrating the constitutional infirmities in his conviction and

      sentence;




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  3. Conduct an evidentiary hearing pursuant to Rule 8 of the Rules

     Governing 28 U.S.C. § 2254 Cases; and

  4. Grant such other relief as law and justice require.



DATED: February 4, 2025            Respectfully submitted,

                                   JASON D. HAWKINS
                                   Federal Public Defender

                                   JEREMY SCHEPERS
                                   Supervisor, Capital Habeas Unit

                                    /s/ Rachel G. Schaefer
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                            EXHIBIT INDEX

     Exhibit 1         Mark D. Cunningham et al., Capital Jury Decision
                       Making-Limitations, 15 PSYCHOL., PUBLIC POL’Y & L.
                       223 (2009)

     Exhibit 2         John F. Edens et al., Predictions of Future
                       Dangerousness in Capital Murder Trials: Is it Time to
                       “Disinvent the Wheel?,” 29 L.& HUM. BEHAV. 55
                       (2005)

     Exhibit 3         Thomas J. Reidy et al., Probability of Criminal Acts
                       of Violence: A Test of Jury Predictive Accuracy, 31
                       BEHAV. SCI. & L. 286 (2013)

     Exhibit 4         Dr. William Orrison, Invoices for August and October
                       2015

     Exhibit 5         Email Message from John Wright & Dr. Timothy
                       Proctor (Oct. 7, 2015)

     Exhibit 6         Mr. Gabriel Hall UTMB Radiology Report, MRI
                       Brain & Stem (March 4, 2013)

     Exhibit 7         Excerpts – Brazos County Sheriff’s Office (BCSO)
                       Classification Records of Jeffrey Dukes

     Exhibit 8         Excerpt – BCSO Stanley Catalino (Dec. 18, 2014)

     Exhibit 9         Excerpts – BCSO Jimmy Blackstone

     Exhibit 10        Excerpt of Email Message between Bill Hicks,
                       College Station Independent School District and
                       District Attorney Jarvis Parsons (July 31, 2013)

     Exhibit 11        Declaration of Juror Heather Montoya (Jan. 23, 2025)

     Exhibit 12        Bryan-College Station Eagle Articles




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                     VERIFICATION BY ATTORNEY
      I, the undersigned, am an attorney at the office appointed by this Court

pursuant to 18 U.S.C. § 3599 to represent Petitioner Gabriel Hall in these

proceedings. Our office has met with Mr. Hall, consulted with other staff in the

Federal Defender’s Office regarding the case, and we have directed experts and

investigators regarding the circumstances of Mr. Hall’s conviction and

sentence of death. It is in that capacity that I verify this Petition. I declare

under penalty of perjury that the foregoing allegations in this Petition are true

and correct to the best of my knowledge and that this Petition for Writ of

Habeas Corpus is being filed using this Court’s CM/ECF system on February

4, 2025.


                                     Subscribed by me February 4, 2025,
                                                       in Dallas, Texas.

                                                  /s/ Rachel G. Schaefer
                                                      Rachel G. Schaefer




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                      CERTIFICATE OF SERVICE

     I hereby certify that a true and correct copy of the foregoing Petition for

a Writ of Habeas Corpus has been served by CM/ECF upon counsel for

Respondent on February 4, 2025:

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                                                 /s/ Rachel G. Schaefer
                                                     Rachel G. Schaefer




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